        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 1 of 123




             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
__________________________________________
                                           )
AETC II PRIVATIZED HOUSING, LLC,          )
et al.,                                    ) Nos. 22-345C; 22-346C; 22-348C;
                                           ) 22-349C; 22-350C; 22-351C;
                  Plaintiffs,              ) 22-352C; 22-353C; 22-354C;
                                           ) 22-355C; 22-356C; 22-357C;
        v.                                 ) 22-358C; 22-359C; 22-360C;
                                           ) 22-361C; 22-362C; 22-363C
THE UNITED STATES OF AMERICA,              )
                                           ) Senior Judge Horn
                  Defendant.               )
__________________________________________)

                 DEFENDANT’S POST-ORAL ARGUMENT RESPONSE

       Defendant, the United States, respectfully submits this filing in response to questions

posed by the Court during the October 26, 2022 oral argument on defendant’s omnibus motion to

dismiss consolidated plaintiffs’ complaints (ECF No. 22).

       1.      Identify how the consolidated cases should be regrouped in the event the

Court determines that the cases should not remain consolidated. The cases are properly

consolidated because the Lease Agreements largely establish the following undisputed facts,

which necessitate dismissal of consolidated plaintiffs’ breach of contract and taking claims:

(1) consolidated plaintiffs agreed to cap the tenant rent they can charge service members based

on the Basic Allowance for Housing (BAH) received by service members; (2) the Department of

Defense (DoD) unilaterally sets BAH annually, such that tenant rent fluctuates annually and

based on service members’ pay grade and dependency status; (3) the Government is not

responsible for making tenant rent payments to consolidated plaintiffs; (4) the Government is not

obligated to reimburse consolidated plaintiffs for any costs and expenses associated with their

ownership, operation, and management of the rental units; and (5) occupancy of the housing

units was never guaranteed.
        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 2 of 123




       However, if the Court determines that the cases should no longer be consolidated as one

matter, the Government proposes that the cases be consolidated by military branch because the

contract language is largely consistent within each branch. For example, most of the Air Force

agreements contain an identical provision at paragraph 19.4 of the Property Leases, explaining

that the Government does not guarantee occupancy of privatized military housing. See Exhibit

A.

       2.      Identify key contractual provisions that the Court should review when

examining the merits of the motion to dismiss. We provide, in Exhibit A, a table comparing

the relevant contract provisions (described above) as they appear across the contracts, divided by

military branch. Also relevant to the Court’s analysis is the definition of BAH, which—when

defined—varies across contract and service.

       As explained in our motion to dismiss, all of the Lease Agreements reference BAH;

however, some agreements do not define BAH. The AETC II and Hunt Lease Agreements

(including the Operating Agreements and Master Development and Management Agreement

(MDMA)) do not define BAH. Similarly, the BLB Property Lease and related documents do not

define BAH. The RFP for the BLB project provided the following definition for BAH:

               The sum allotted to each service member to cover the cost of
               housing, including utilities and personal property insurance. The
               respective amount corresponds with the service member’s rank and
               dependent status. Refer to Internet Web site http://www.military.
               com/Resources/ResourcesContent/0, 13964,30825,00.html for
               additional information.

BLB RFP, Appendix A at 2. See Def.’s Appendix to Mot. Dismiss Pls.’ Compl. at 1123, ECF

No.22-1 (Def.’s MTD Appx)). However, it does not appear that the RFP or this definition are

incorporated in the Lease Agreement. The Operating Agreement identifies all of the

incorporated documents, as does the MDMA, but the RFP is not among the documents



                                                2
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 3 of 123




identified. See BLB Operating Agreement ¶ 2 (Def.’s MTD Appx at A917); BLB MDMA ¶ 3.1

(Def.’s MTD Appx at A786).

       The Property Leases in the Buckley and Dover agreements use the definition of BAH

provided in the BLB RFP, though referencing a different website:

              [T]he sum allotted to each service member to cover the cost of
              housing, including utilities and personal property insurance. The
              respective amount corresponds with the service member's rank and
              dependent status. Refer to the internet Web site http://www.dtic.
              mil/perdiem/bah.html for additional information.

Buckley Property Lease ¶ 19.5 (Def.’s MTD Appx at 1170); Dover Property Lease ¶ 19.5 (Def.’s

MTD Appx at A1549).

       The Kirtland and Wright Property Lease and the De Luz Operating Agreement define

BAH or “Housing Allowance” as:

              BAH, with dependents, or such other sum as is allotted to each
              service member by the Government to cover the cost of housing to
              be used as a personal residence, as such amount is established and
              published by the Government in the Federal Register or elsewhere.

Kirtland Property Lease ¶ 20.2 (Def.’s MTD Apppx at A1757); Wright Property Lease ¶ 20.2

(Def.’s MTD Appx at A2158); De Luz Operating Agreement ¶ 6(a)(i) (Def.’s MTD Appx at

A2545).

       In the AFA, Nellis, Robins, and Scott Lease Agreements, BAH is defined as follows:

              [W]ith respect to an active duty military member, the entitlement
              of such member to cover the cost of housing, including utilities and
              personal property insurance, pursuant to 37 U.S.C. Chapter 7,
              Section 403. Such amount corresponds to such service member’s
              Pay Grade and dependent status. These values are set annually by
              the Department of Defense and published on the web site
              http://dtime.mil.




                                               3
        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 4 of 123




AFA Property Lease ¶ 34.2 (Def.’s MTD Appx at A704); Nellis Property Lease ¶ 19.5 (Def.’s

MTD Appx at A1830); Robins Property Lease ¶ 34.2 (Def.’s MTD Appx at A1995); Scott

Property Lease ¶ 19.5 (Def.’s MTD Appx at A2068).

       The Army Ground Leases—Fort Lee and Redstone—define BAH as “[t]he Basic

Allowance for Housing for United States military service personnel based on their assigned

installation.” Fort Lee Ground Lease at F-1 (Def.’s MTD Appx at A2430); Redstone Ground

Lease at F-1 (Def.’s MTD Appx at A2430).

       In the Navy agreements, BAH is defined as “the basic allowance for housing for military

personnel announced from time to time by the United States Department of Defense or, if ‘BAH’

is no longer applicable, the successor to BAH.” Hampton OMMP at 180 (Def.’s MTD Appx at

A6938); Midwest Housing LLC Operating Agreement at A-2 (Def.’s MTD Appx at A7075);

Ohana LLC Operating Agreement at A-3 (Def.’s MTD Appx at A7279); Pacific Northwest LLC

Operating Agreement at A-2 (Def.’s MTD Appx at A7539).

       3.        Provide DoD policies, memorandums, and other publicly available

information identifying how BAH is defined. The Government attaches the following DoD

documents (unless otherwise noted) to assist the Court in assessing how BAH is defined and

calculated:

       •      Exhibit B: A Primer on Basic Allowance for Housing for the Uniformed Services,

              dated July 2002

       •      Exhibit C: DoD Releases 2020 Rates for Basic Allowance for Housing, Basic

              Allowance for Subsistence, and Basic Pay

       •      Exhibit D: 2020 BAH Rates Frequently Asked Questions




                                                 4
     Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 5 of 123




     •   Exhibit E: GAO Report to Congressional Committees, Military Housing, Actions

         Needed to Improve the Process for Setting Allowances for Servicemembers and

         Calculating Payments for Privatized Housing Projects, dated January 2021

     •   Exhibit F: A Primer on the Basic Allowance for Housing (BAH) for the Uniformed

         Services, dated January 2022

     •   Exhibit G: DoD Releases 2022 Basic Allowance for Housing Rates

     •   Exhibit H: 2022 BAH Frequently Asked Questions



                                                Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General

                                                PATRICIA M. McCARTHY
                                                Director

                                                /s/ Elizabeth M. Hosford
                                                ELIZABETH M. HOSFORD
                                                Assistant Director

                                                /s/ Ebonie I. Branch
                                                EBONIE I. BRANCH
                                                Trial Attorney
                                                U.S. Department of Justice
                                                Civil Division
                                                Commercial Litigation Branch
                                                P.O. Box 480
                                                Ben Franklin Station
                                                Washington, DC 20044
                                                Telephone: (202) 353-7578
                                                Facsimile: (202) 305-7644

November 18, 2022                               Attorneys for Defendant




                                            5
        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 6 of 123




                                  CERTIFICATE OF SERVICE

       I hereby certify that, on this 18th day of November 2022, a copy of the foregoing

“DEFENDANT’S POST-ORAL ARGUMENT RESPONSE” was filed electronically. I

understand that notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.


                                        /s/ Ebonie I. Branch
                                       EBONIE I. BRANCH




                                                  6
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 7 of 123




                        Exhibit A
                       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 8 of 123




                               TABLE OF DISPOSITIVE CONTRACT PROVISIONS


                                                                                               The
                                                        DoD                              Government is
                               Consolidated
                                                 unilaterally sets                       not obligated to
                             plaintiffs agreed                              The
                                                  BAH annually,                            reimburse
                             to cap the tenant                        Government is
                                                 such that tenant                         consolidated        Occupancy of
                               rent they can                          not responsible
                                                  rent fluctuates                       plaintiffs for any     the housing
                              charge service                            for making
Case No.         Contract                          annually and                             costs and           units were
                              members based                             tenant rent
                                                 based on service                           expenses              never
                                on the BAH                             payments to
                                                  members’ pay                           associated with       guaranteed.
                                received by                            consolidated
                                                     grade and                          their ownership,
                                  service                                plaintiffs.
                                                    dependency                           operation, and
                                 members.
                                                       status.                           management of
                                                                                        the rental units.

                                                    Air Force Cases

22-345     AETC II           AETC II Rental      AETC II Rental      AETC II-           AETC II-             AETC II-
                             Rate                Rate                Columbus           Columbus             Columbus
                             Management          Management          Property Lease     Property Lease       Property Lease
                             Plan ¶ 2 (Def.’s    Plan ¶ 8 (Def.’s    ¶ 19.4 (Def.’s     ¶ 19.3 (Def.’s       ¶ 19.4 (Def.’s
                             MTD Appx at         MTD Appx at         MTD Appx at        MTD Appx at          MTD Appx at
                             A604)               A607)               A552)              A551)                A552)
22-346     AFA               AFA Unit            AFA Property        AFA Property       AFA Property         AFA Property
                             Occupancy Plan      Lease ¶ 34.2        Lease ¶ 19.4       Lease ¶ 19.3         Lease ¶ 19.4
                             ¶ 4.0 (Def.’s       (Def.’s MTD         (Def.’s MTD        (Def.’s MTD          (Def.’s MTD
                             MTD Appx at         Appx at A704)       Appx at A682)      Appx at A682)        Appx at A682)
                             A764)
22-350     Buckley           Buckley Rental      Buckley Rental      Buckley Unit       Buckley Property     Buckley Property
                             Rate                Rate                Occupancy Plan     Lease. ¶ 19.3        Lease ¶ 19.4
                             Management          Management          ¶ 13 (Def.’s

                                                            1
                    Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 9 of 123




                          Plan ¶ 1 (Def.’s    Plan ¶ 3 (Def.’s    MTD Appx at         (Def.’s MTD         (Def.’s MTD
                          MTD Appx at         MTD Appx at         A1503)              Appx at A1169)      Appx at A1170)
                          A1497)              A1497)
22-349   BLB              BLB Rental Rate     BLB Rental Rate     BLB-Barksdale       BLB-Barksdale       BLB-Barksdale
                          Management          Management          Property Lease      Property Lease      Property Lease
                          Plan ¶ 1 (Def.’s    Plan ¶ 7 (Def.’s    ¶ 19.4 (Def.’s      ¶ 19.3 (Def.’s      ¶ 19.4 ((Def.’s
                          MTD Appx at         MTD Appx at         MTD Appx at         MTD Appx at         MTD Appx at
                          A976)               A979)               A961)               A961)               A961)
22-352   Dover            Dover Rental        Dover Rental        Dover Unit          Dover Property      Dover Property
                          Rate                Rate                Occupancy Plan      Lease ¶ 19.3        Lease ¶ 19.4
                          Management          Management          ¶ 13 (Def.’s        (Def.’s MTD         (Def.’s MTD
                          Plan ¶ 1 (Def.’s    Plan ¶ 6 (Def.’s    MTD Appx at         Appx at A1548)      Appx at A1548)
                          MTD Appx at         MTD Appx at         A1600)
                          A1585)              A1587)
22-348   Hunt             Hunt Rental Rate    Hunt Rental Rate    Hunt-Arnold         Hunt-Arnold         Hunt-Arnold
                          Management          Management          Property Lease      Property Lease      Property Lease
                          Plan ¶ 2 (Def.’s    Plan ¶ 8 (Def.’s    ¶ 19.3 (Def.’s      ¶ 19.1 (Def.’s      ¶ 19.3 (Def.’s
                          MTD Appx at A       MTD Appx at         MTD Appx at         MTD Appx at         MTD Appx at
                          1689)               A1693)              A1640)              A1640)              A1640)
22-355   Kirtland         Kirtland Rental     Kirtland Rental     Kirtland Property   Kirtland Property   Kirtland Property
                          Rate                Rate                Lease ¶ 19.3        Lease ¶ 19.3        Lease ¶ 20.5.1
                          Management          Management          (Def.’s MTD         (Def.’s MTD         (Def.’s MTD
                          Plan at 1 (Def.’s   Plan at 1 (Def.’s   Appx at A1755)      Appx at A1755)      Appx at A1759)
                          MTD Appx at         MTD Appx at
                          A1783)              A1783)
22-358   Nellis           Nellis Rental       Nellis Property     Nellis Operating    Nellis Property     Nellis Property
                          Rate                Lease ¶ 19.5        Agreement ¶ 2(b)    Lease ¶ 19.3        Lease ¶ 19.4
                          Management          (Def.’s MTD         (Def.’s MTD         (Def.’s MTD         (Def.’s MTD
                          Plan ¶ 1 (Def.’s    Appx at A1830)      Appx at A1786)      Appx at A1829)      Appx at A1829)
                          MTD Appx at
                          A1873)



                                                        2
                    Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 10 of 123




22-361   Robins            Robins Rental       Robins Property      Robins Property     Robins Property   Robins Property
                           Rate                Lease ¶ 34.2         Lease ¶ 19.4        Lease ¶ 19.3      Lease ¶ 19.4
                           Management          (Def.’s MTD          (Def.’s MTD         (Def.’s MTD       (Def.’s MTD
                           Plan ¶ 1 (Def.’s    Appx at A1995)       Appx at A1976)      Appx at A1976)    Appx at A1976)
                           MTD Appx at
                           A2005)
22-362   Scott             Scott Property      Scott Property       Scott Operating     Scott Property    Scott Property
                           Lease ¶ 19.10       Lease ¶ 19.5         Agreement ¶ 2(b)    Lease ¶ 19.3      Lease ¶ 19.4
                           (Def.’s MTD         (Def.’s MTD          (Def.’s MTD         (Def.’s MTD       (Def.’s MTD
                           Appx at A2069)      Appx at A2068)       Appx at A2021)      Appx at A2067)    Appx at A2067)
22-363   Wright            Wright Military                          Wright Operating    Wright Property   Wright Property
                           Lease ¶ 4 (Def.’s                        Agreement ¶ 2(b)    Lease ¶ 19.2      Lease ¶ 20.5.1
                           MTD Appx at                              (Def.’s MTD         (Def.’s MTD       (Def.’s MTD
                           A2116)                                   Appx at A2127)      Appx at A2157)    Appx at A2159)

                                                    Army Cases

22-353   Fort Lee          Fort Lee Military   Fort Lee Military    Fort Lee Military   Fort Lee Ground
                           Lease ¶ 2 (Def.’s   Lease ¶ 2 (Def.’s    Lease ¶ 2 (Def.’s   Lease ¶ 13(a)
                           MTD Appx at         MTD Appx at          MTD Appx at         (Def.’s MTD
                           A2309)              A2309)               A2309)              Appx at A2379)
22-360   Redstone          Redstone Ground     Redstone CDMP,                           Redstone Ground   Redstone CDMP
                           Lease ¶ 15(d)       Volume 4, ¶ 7.F                          Lease ¶ 13(a)     Volume 4 ¶ 5.A
                           (Def.’s MTD         (Def.’s MTD                              (Def.’s MTD       (Def.’s MTD
                           Appx at A2381)      Appx at A2348)                           Appx at A2379)    Appx at A2338)

                                                    Navy Cases

22-351   De Luz            De Luz Operating    De Luz               De Luz              De Luz Ground     De Luz
                           Agreement           Operating            Operating           Lease ¶ 12.2      Operating
                           ¶ 6(a)(i) (Def.’s   Agreement            Agreement ¶ 6(b)    (Def.’s MTD       Agreement
                           MTD Appx at         ¶ 6(a)(iv) (Def.’s   (Def.’s MTD         Appx at A2506)    ¶ 6(g)(ii) (Def.’s
                           A2545)                                   Appx at A2546)

                                                          3
                     Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 11 of 123




                                             MTD Appx at                                     MTD Appx at
                                             A2545)                                          A2547)

22-354   Hampton Roads       Hampton OMMP                                  Hampton Ground    Hampton OMMP
                             at 76 (Def.’s                                 Lease ¶ 14.1      at 77 (Def.’s
                             MTD Appx at                                   (Def.’s MTD       MTD Appx at
                             A6834)                                        Appx at A2755)    A6835)
22-356   Midwest                             Midwest                       Midwest Housing
                                             Housing LLC                   Ground Lease
                                             Operating                     ¶ 13.1 (Def.’s
                                             Agreement at                  MTD Appx at
                                             A-2 (Def.’s MTD               A6996)
                                             Appx at A7075)
22-359   Ohana                                                             Ohana Ground
                                                                           Lease ¶ 13.1
                                                                           (Def.’s MTD
                                                                           Appx at A7189)
22-357   Pacific Northwest                   Pacific
                                             Northwest LLC
                                             Operating
                                             Agreement at
                                             A-2 (Def.’s MTD
                                             Appx at A7539)




                                                      4
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 12 of 123




                         Exhibit B
      Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 13 of 123




               A Primer on Basic Allowance for Housing
                     for the Uniformed Services



                                        July 2002




                                       Introduction

The purpose of this primer on the Basic Allowance for Housing (BAH) program is to explain
to members how their housing allowances are determined. We have sought to write for a broad
audience and to cover the entire process. We have focused on what we believe to be the most
important aspects of the program based on feedback obtained from service members and
housing office professionals during our visits to installations throughout the country. We
welcome comments on how this document can be made more useful to both members and
housing officials.
  Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 14 of 123




                                         Contents



Basic Allowance for Housing                                                      3
  Purpose and Goal                                                               3
  Benefits of BAH Versus Other Methods                                           3
  Out-of-Pocket Expenses                                                         3
  Rate Protection                                                                4
  Individual Rate Protection                                                     4
  Geographic Rate Protection                                                     5
Data Collection                                                                  6
   Types of Data Collected                                                       6
   Rental Data Sources & Validation                                              6
   Utilities                                                                     7
   Renters Insurance                                                            7
   Quality Assurance                                                             7
Local Input in the Data Collection Process                                       9
   Tapping Local Expertise                                                       9
   Typical Data Collection Timeline                                              9
   Geographically Separated Activities                                           9
   Individual Service Member Input                                               9
Rate Computations                                                                10
  Housing Profiles and Standards                                                 10
  BAH Housing Standards & Interpolation Between Anchor Points                    11
  Setting the Rates                                                              11
Frequently Asked Questions                                                       13
  Why doesnt BAH cover all my housing costs? Or my mortgage payment?            13
  Why is BAH based on my duty station rather than where I live?                  13
  Why can I get a bigger or better residence on-base/post?                       14
  Is square footage a factor in BAH?                                             14
  How do you define a "reasonable" commuting distance?                           14
  What is the basis for the current definition of my MHA?                        14
  What method do you use to calculate BAH in locations that are not in an MHA?   14
  Where can I obtain more information on BAH?                                    15
Glossary of Terms                                                                16
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 15 of 123




Basic Allowance for Housing

Purpose and Goal
The purpose of the Basic Allowance for Housing (BAH) program is to provide fair housing
allowances to service members. Since the goal is to help members cover the costs of housing in the
private sector, rental-housing costs in the private sector are the basis for the allowance. Members
receive a housing allowance when government quarters are not available. DoD determines the
correct housing allowance to enable members to afford suitable rental housing within a reasonable
distance of their duty location. The allowance is set based on geographic duty location, pay grade,
and dependent status.

Benefits of BAH Versus Other Methods
The BAH program measures rental-housing costs in the civilian market rather than measuring how
much members spend on housing. This approach prevents the "Death Spiral" in allowances seen
with the old Basic Allowance for Quarters and Variable Housing Allowance (BAQ/VHA) program.
The cause of the downward spiral was that many members scrimped on housing and then reported
low housing expenditures. This drove down already low allowances. In general, junior members
with limited income often were forced to accept inadequate housing and, in turn, reported lower costs
on their housing surveys, which would cause their housing allowances to drop even further. A
similar, but opposite, effect occurred for some senior officer/enlisted grades. They often spent a
greater share of their income for more costly housing and reported higher expenses, thereby
"inflating" their reported costs and their allowances.

The Department of Defense and the Services designed the Basic Allowance for Housing program to
provide more accurate housing allowances by basing them on the market price of rental housing
(rather than member-reported rents). This new method ensures a better correlation between
allowance payments and rental prices.

In 2002, BAH covered all but 11.3 percent of average housing costs. In 2003, BAH covers all but
7.5 percent. These out of pocket costs were as high as 22 percent prior to starting the BAH program.
However, the Department is committed to eliminating them by 2005.

Out-of-Pocket Expenses
BAH is designed to be fair for all service members in all locations in the United States. Although
housing costs and BAH rates vary by location, average out-of-pocket costs are designed to be the
same for members of the same rank with typical rental expenses. The typical service member in a
given grade and dependent status who arrives at a new duty station will have the same monthly out-
of-pocket costs regardless of the location. For example, if the out-of-pocket cost for a typical E-5
with dependents is $106, the typical (median) E-5 with dependents can expect to pay $106 out-of-
pocket for housing if assigned to Miami, New York, San Diego, or any duty location in the United
States.
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 16 of 123




In the following chart, the height of each bar represents the local median cost of housing, which
equals the sum of median out-of-pocket cost and BAH.

              1600
                                                                         E-5 with Dependents
              1400

              1200

              1000

               800   1382
                                        1265             1222                                                                                                           1162
               600
                                                                            892
                                                                                             776
               400                                                                                             617                622                580

               200
                      106               106              106                106              106               106                106                106                  106
                 0
                                                         San Diego, CA




                                                                                                                                                                       Lauderdale, FL
                      Los Angeles, CA




                                                                            Tacoma, WA




                                                                                                                                  Fort Hood, TX
                                        Washington, DC




                                                                                                               Fort Stewart, GA
                                                                                         Norfolk/Portsmouth,




                                                                                                                                                  Twenty Nine Palms,




                                                                                                                                                                         Miami/Fort
                                                                                                  VA




                                                                                                                                                         CA
                                                     Median out-of-pocket                                            2002 BAH rate
However, for a given individual, the actual out-of-pocket expense may be higher or lower than the
typical. For example, a service member who chooses a bigger or more costly home than the median
will spend more out-of-pocket. The opposite is true if a service member chooses to occupy a smaller
or less costly home. Only for the member with median costs do we say that out-of-pocket expense is
the same for a given pay grade and dependent status in any given location.

Rate Protection
Rate protection ensures that decreases in a housing market do not affect members. Rate protection
operates on both an individual and geographic level.

Individual Rate Protection
Individual rate protection prevents decreases in housing allowances, as long as the status of a service
member remains unchanged. This means that service members are entitled to the 1 January
published BAH rate or the amount of housing allowance they were paid on 31 December, whichever
is larger. Rate protection continues until the status of a service member changes due to:

       Permanent Change of Station (PCS)
       Reduction in paygrade
       Change in dependent status

Note that the definition of change of status does not include promotions. Also, note that BAH
distinguishes between with-dependents and without-dependents, not the number of dependents.
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 17 of 123




In other words, after a service member arrives at a new duty station, rate protection applies. The
service member will receive any published increase, but no decrease, in BAH. When new BAH rates
take effect at the given duty station, rate protection guarantees that the service members typical out-
of-pocket costs may be less, but never more, than upon arrival.

Geographic Rate Protection
Until 2005, when the transition from the old Basic Allowance for Quarters and Variable Housing
Allowance (BAQ/VHA) to BAH is complete, BAH rates will not decrease at any location. After
that, however, BAH rates will follow the increases and decreases of market rental costs. However,
individual rate protection will still apply.
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 18 of 123




Data Collection

Types of Data Collected
In computing BAH, we include local price data of:
      rental housing
      utilities (including electricity, gas, oil, water, & sewer)
      renter's insurance

We employ a contractor to collect the data annually for approximately 400 Military Housing Areas
(MHAs) in the United States, including Alaska and Hawaii. DoD and the Services define these
MHAs by sets of ZIP Codes.
Data collection occurs in the spring and summer when housing markets are most active. Rental costs
are collected on apartments, townhouses/duplexes, and single-family rental units of varying bedroom
sizes. The different types of units are referred to as profiles or anchor points. The contractor
collects representative housing costs in specific neighborhoods
The six standard housing profiles used as anchor points for BAH are:

Profile                                                       Abbr.     Grade With   Grade Without
                                                                        Dependents   Dependents
1 Bedroom Apartment                                           1br APT                E-4
2 Bedroom Apartment                                           2br APT                O-1
2 Bedroom Townhouse                                           2br TH    E-5          O-1E
3 Bedroom Townhouse                                           3br TH    E-6          O-3E
3 Bedroom Single Family Detached House                        3br SFD   W-3          O-6
4 Bedroom Single Family Detached House                        4br SFD   O-5

Rental Data Sources & Validation
Current, valid rental costs are crucial to accurate BAH rates. We use data from multiple sources to
provide a "checks and balances" approach. This ensures reliability and accuracy. We obtain current
residential vacancies from local newspapers and real estate rental listings. We also contact apartment
and real estate management companies to identify units for rental pricing.

We consult with real estate professionals in each MHA to confirm market rental prices and obtain
additional data. Where available, we also contact fort/post/base housing referral offices and
installation leadership. We tap the local housing office knowledge and gain insights into the
concerns of our members. (Please refer to the Installation Input in Data Collection Process section
for more details.)
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 19 of 123




Properties are subjected to screening (please refer to the Quality Assurance section) and validation
processes. During telephone interviews, we:
       Establish the availability and location of each unit in the survey sample
       Verify the current rental rates
       Identify any utility inclusions in the rental rates
       Determine if discounts are available when signing a years lease

We do not include inadequate units in determining allowances, such as
      Mobile homes
      Efficiency apartments
      Furnished units
      Income-subsidized complexes
      Age-restricted facilities
      Seasonal units

We gather enough data to attain a statistical confidence level of 95% or higher.

Utilities
In each MHA, we contact the major local utility provider and collect their service fees and utility rate
data. We gather rate information for both the current season and the most extreme heating and
cooling seasons for each MHA. We also obtain scheduled rate increases from the utility provider.

The Bureau of the Census conducts an annual American Housing Survey (AHS). We use data from
the AHS to determine consumption of utilities for each dwelling type. From the National Oceanic
and Atmospheric Administration (NOAA) we gather climate information for each area. Once we
have consumption and climate data for each area, we apply the appropriate local rates to calculate
average monthly utility expenses.

In sum, we base the utility portion of BAH on service fees, utility rates, and consumption data for
different housing types. All data is sensitive to geography and climate.

Renters Insurance
The renters insurance portion of BAH covers the value of household contents. These values are
correlated with selected incomes and dwelling types.

Quality Assurance
We recognize the importance of accurate rates and make every effort to obtain maximum reliability.
At each step in the process, we:
       Employ numerous levels of quality assurance
       Analyze statistics to spot problems
       Apply common sense tests to the data

For example, we employ a multi-tiered screening process when we select specific units to measure.
We ensure that the units are acceptable, and that they are located in neighborhoods where members
would typically choose to reside. We obtain input on suitable housing and unacceptable areas from
Military Housing Offices (MHOs) and installation leadership. We also use an income screening
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 20 of 123




process to identify appropriate neighborhoods. We then eliminate locations where the typical civilian
income is not comparable to members incomes. For comparison purposes, civilian salary
equivalents are compared to each paygrades Regular Military Compensation, which consists of basic
pay, average BAH, BAS, and the tax advantage that comes with BAH and BAS being untaxed.

As another quality assurance step, DoD and the Services conduct on-site evaluations at selected
locations. These reviews confirm the reliability and accuracy of the rental data. During these visits,
we also evaluate the criteria used for screening neighborhoods and areas.
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 21 of 123




Local Input in the Data Collection Process

Tapping Local Expertise
DoD and the Services value local expertise in the data collection process. We contact the local
military housing referral office (MHO) and command leadership at each installation to provide them
the opportunity to contribute to the BAH data collection effort. The expertise and knowledge of the
referral office is crucial, and the information they provide is critical to the process.

Housing referral offices and installation leadership have the opportunity to:
      Provide local rental housing referrals, excluding any inadequate units
      Identify specific geographic areas that contain unacceptable housing

To determine BAH rates, DoD:
       Conducts telephone interviews of the rental listings provided by MHOs
       Excludes unacceptable housing areas from the survey
       Conducts on-site reviews at selected locations
       Prescribes BAH rates based on data input and DoD housing standards policy

Typical Data Collection Timeline

      M ar Apr M ay               Jun     Jul A ug            Sep   O ct N ov        D ec   Jan


    P a c k e ts     1 st M H O             3 rd M H O                   S e rv ic e s        DoD
     s e n t to    s u b m is s io n      s u b m is s io n           b e g in r e v ie w   b e g in s
     MHOs                due                    due                   o f p ro p o s e d    p a y in g
                                                                            ra te s           new
                                                                                             ra te s
                                  2 nd M H O          D o D b e g in s
                                s u b m is s io n           ra te
                                      due             c a lc u la t io n


Geographically Separated Activities
In some instances, a geographically isolated command (such as a recruiting office or a MEPS station
in a remote location) does not have a housing referral office. These remote offices may submit data
on their own behalf during the data collection process. They may also collaborate with the closest
MHO. However, they should request approval to do so through their chain of command to Service
headquarters. Final approval is obtained from each Services Military Compensation office. (Refer
to the FAQ Where can I obtain more information? for contact information.)

Individual Service Member Input
The BAH process does not require input from individual service members. Service members with
questions or issues regarding BAH rates should submit questions through their chain of command to
their Service Compensation Representative. (Refer to the FAQ Where can I obtain more
information? for contact information.)
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 22 of 123




Rate Computations

Housing Profiles and Standards
The Services have agreed to housing standards that allow members to receive a BAH that correlates
to what civilians who earn comparable amounts would pay for housing. That is, we use housing
standards to link housing costs with a particular paygrade. Of course, members are free to choose
where to live and in what type of dwelling. The standards are necessary to enable the Services to
forecast BAH costs for budgeting purposes. Actual member choices, however, do not influence the
determination of rates.

We determine standard profiles for each anchor point shown below. For these paygrades, the local
median housing cost of that profile is the local median housing cost for the particular paygrade.
Local median costs for other paygrades are determined by interpolating (or filling in) between the
anchor points. The standards for E-4 personnel (both with and without dependents) are the minimum
and apply to grades E-1 to E-3. To interpolate rates for non-anchor grades, we calculate the
difference between anchors and add a percentage of that difference to the lower anchor rate.

For example: From the housing standards table, we can determine that an E-7 with dependents should
receive an allowance for a three-bedroom townhouse, plus 36% of the difference between the next
lowest profile, a 3 bedroom townhouse, and the next higher, a 3-bedroom SFD. To calculate the
BAH for an E-7 with dependents, we first identify the rate for the neighboring anchor points: the E-6
with dependents and the W-3 with dependents. Second, we calculate the dollar difference between
the two anchor points. Next, we apply the specified percentage to the lower anchor point to
determine the dollar difference, which we add to the lower anchor point.

           Description                                         Formula    Example
           E-6 with dependents local housing cost (3br TH):    A          1000
           W-3 with dependents local housing cost (3br SFD):   B          1200
           Difference:                                         C: B  A   1200 - 1000 =
           36% of that difference:                             D: C x %    200 x .36 = 72
           E-7 with dependents interpolation:                  A+D        1000 + 72 =
             Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 23 of 123




       BAH Housing Standards & Interpolation Between Anchor Points

With                        Calculate local cost difference   Without                 Calculate local cost difference
                                  between anchors.                                          between anchors.
Dependents                  Add % of difference to anchor     Dependents              Add % of difference to anchor
Grade      Hsg Type          BAH Interpolation                Grade      Hsg Type      BAH Interpolation
E-1         2br          Midpoint of 2br APT and 2br TH       E-1        1br APT             Same as E-4
E-2         2br                                               E-2        1br APT             Same as E-4
E-3         2br                                               E-3        1br APT             Same as E-4
E-4         2br                                               E-4        1br APT               Anchor
E-5         2br TH                   Anchor                   E-5        1br APT                67%
O-1         2br TH                    11%                     O-1        2br APT               Anchor
O-2         2br TH                    98%                     E-6        2br APT                 7%
E-6         3br TH                   Anchor                   W-1        2br APT                31%
W-1         3br TH                     1%                     E-7        2br APT                53%
E-7         3br TH                    36%                     O-2        2br APT                83%
O-1E        3br TH                    44%                     O-1E       2br TH                Anchor
W-2         3br TH                    52%                     W-2        2br TH                 19%
E-8         3br TH                    75%                     E-8        2br TH                 20%
O-2E        3br TH                    93%                     O-2E       2br TH                 44%
O-3         3br TH                    98%                     E-9        2br TH                 51%
W-3         3br SFD                  Anchor                   W-3        2br TH                 54%
E-9         3br SFD                   16%                     O-3        2br TH                 64%
W-4         3br SFD                   22%                     O-3E       3br TH                Anchor
O-3E        3br SFD                   26%                     W-4        3br TH                  9%
W-5         3br SFD                   48%                     O-4        3br TH                 40%
O-4         3br SFD                   58%                     W-5        3br TH                 45%
O-5         4br SFD                  Anchor                   O-5        3br TH                 63%
O-6         4br SFD                Same as O-5                O-6        3br SFD               Anchor
O-7         4br SFD                Same as O-5                O-7        3br SFD             Same as O-6


  Setting the Rates
  After rental, utility, and insurance data are collected and median housing costs calculated, DoD and the
  Services:
          Determine the national median housing costs for each profile or anchor point
          Review the local median housing costs for each MHA
          Appraise MHA and profile-specific utility and renter's insurance data
          Prescribe BAH rates based on data input and DoD housing standards policy

  To calculate BAH rates, we:
      1) Determine the total housing costs for each MHA for all the anchor points
      2) Subtract the national median out-of-pocket expense from each anchor point in each MHA
      3) Calculate (using the Housing Standards table above) a separate BAH rate for each of twenty-seven
         distinct pay grades that correspond to military ranks for members with and without dependents.
           Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 24 of 123


The law specifies the amount of BAH to be paid in a geographic location. Currently (2002), it is the local
median monthly housing cost minus 11.3% of the nation-wide median monthly cost of housing for that
pay grade. We are gradually decreasing this percentage, with the goal that, in 2005, the average member
will have no out-of-pocket costs.

For example, the following calculations are performed for each anchor point:
                                                             Low Cost City A       High Cost City B
A: Local Median Housing Cost For Selected Grade              $599                  $929
B: National Median Housing Cost For Selected Grade           $743                  $743
C: Planned Out-of-pocket Expense (Mandated Percentage of B)  $84                   $84
D: BAH = A-C                                                 $515                  $845
Out-of-pocket expenses for the median member in each location are equal.
           Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 25 of 123



Frequently Asked Questions

Why doesnt BAH cover all my housing costs? Or my mortgage payment?
One of the common misconceptions regarding BAH is that it was intended to cover all of a service
members housing costs. The original BAH law stated that the allowance could cover no more than 80%
of housing costs. Accordingly, the average service member had at least 20% in out-of-pocket expenses.
In 2000, the Secretary of Defense committed to reducing the average out-of-pocket expense for the
median member to zero by 2005. In 2002, it is 11.3%. Continuing, we expect 7.5% for 2003, 3.5% for
2004 and 0% for 2005.

As noted previously, the actual out-of-pocket expense for an individual may be higher or lower than the
typical, based on his/her actual choice of housing. For example, if a service member chooses a bigger or
more costly residence than the median, he or she will have larger out-of-pocket expenses. The opposite is
true if a service member chooses to occupy a smaller or less costly residence. Only for the member with
median costs do we say that out-of-pocket expense is the same for a given pay grade and dependent status
in any location in the United States.

By design, BAH does not consider mortgage costs. Homeowners' monthly mortgage payments do not
necessarily relate directly to rent, so we do not use them in the calculations. Mortgage payments are
affected by:
        Expected appreciation in the value of the residence
        Amount of down payment
        Opportunity costs of interest from down payments
        Settlement costs
        Tax savings due to the deduction of interest payments

In contrast, BAH reflects current rental market conditions, not the historical circumstances surrounding
existing mortgage loans.

Why is BAH based on my duty station rather than where I live?
BAH compensates members for typical housing costs within a reasonable commuting distance of their
duty location. Once the duty station is known, the BAH is fixed, regardless of where the member chooses
to live. If the location of the member's residence were used as a basis for the entitlement, members who
commute from lower cost areas would have lower BAH rates, even though their commuting expenses
were higher. The BAH rate is determined by the duty station so that members may live near their duty
location, but they remain free to live where they choose. Actual member choices, remember, do not
influence the calculation of rates.

The opportunity for service members to choose their off-base housing is important to DoD. Each member
has the freedom to decide how to allocate his or her income (including housing allowance) without a
penalty for deciding to conserve some dollars on rent to pay other expenses.

One such choice that members frequently make is to trade-off a longer commute to work for either a
larger or less expensive house in an outlying area. For example, two members assigned to a downtown
duty station may make drastically different housing choices. One member may choose to use all of his or
her housing allowance to rent an apartment in the city, with a commute time of only 10 minutes to the
downtown duty station. The second member might prefer to rent a less expensive three-bedroom house in
            Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 26 of 123


an outlying neighborhood and commute to that same downtown duty station from 20 or 30 miles away.
Both members are free to choose the situation that best suits them.

Why can I get a bigger or better residence on-base/post?
Two reasons. First, government housing (especially privatized housing) often surpasses typical local
community housing in quality and size. Second, family size is the basis for on-base housing assignment.
That is, Services house families with more dependents in units with enough bedrooms to meet their family
needs. The BAH approach is based on comparing a members compensation with that of civilians who
earn the same. That is, members at higher grades are entitled to more bedrooms and larger dwelling
types. The only distinction is with or without dependents, not the number of dependents.

Is square footage a factor in BAH?
BAH rates reflect the typical square footage of rental housing in each MHA; that is, BAH rates and
square footage are specific to each location. Typical housing square footage varies so greatly across the
country that nation-wide standards should not be formulated. For example, a typical one-bedroom
apartment in New York City is much smaller than a one-bedroom apartment in Pocatello, Idaho.

How do you define a "reasonable" commuting distance?
Generally within twenty miles or one hour's drive in rush hour traffic. The goal is that members receive a
BAH that is sufficient to permit them to live a reasonable distance from their duty station. Of course,
members are free to choose a neighborhood that suits their individual needs.

It should be noted that Military Housing Areas often contain several military installations or activities,
and, therefore, multiple cities. BAH research includes housing costs for each of the cities in the MHA

What is the basis for the current definition of my MHA?
Military Housing Areas (MHAs) were originally defined using the Defense Enrollment Eligibility
Reporting System (DEERS) data. DEERS data provided information on where members at each
installation were currently living. This created a data set that naturally excluded undesirable
neighborhoods, which members had already avoided. However, DoD and the Services realize that
populations, neighborhoods, and housing conditions can change over time. Periodic re-examining of
MHA boundaries is an important and on-going part of the BAH process.

What method do you use to calculate BAH in locations that are not in an MHA?
BAH is defined for every location in the United States, even though some locations may have no military
population, because we must be prepared to pay BAH in case a member or dependent ever establishes
eligibility in that location. Collecting rental data for all such locations is not practical. To handle these
situations, we combine these areas with other MHAs of similar cost for which we have sufficient rental
cost data. Pooling the data in this manner gives us sufficient data to establish statistically reliable housing
costs and BAH rates.

We determine comparable housing costs using Fair Market Rents (FMRs) published annually for all
counties by the Department of Housing and Urban Development (HUD). After grouping or pooling the
data, the result is a set of counties with comparable housing costs and BAH rates called a County Cost
Group (CCG). There are about 30 CCGs. Each group includes a statistically sufficient quantity of rental
cost data to calculate average housing costs by size and type of dwelling for that group of counties.
Although half the US counties (about 1,500) are in County Cost Groups, these counties contain less than
two percent of military members eligible to receive BAH.
            Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 27 of 123


Where can I obtain more information on BAH?
For an overview of BAH, visit www.dtic.mil/perdiem/ and militarypay.dtic.mil. You can look up
individual rates at this site, calculate your tax advantage, and review additional Frequently Asked
Questions regarding the program.

To review the BAH section of the DoD Financial Management Regulation (FMR), read Volume 7A,
Chapter 26 at www.dtic.mil/comptroller/fmr/07a/07AIC14-99.pdf

To review BAH Law, refer to Title 37 USC § 403 at www4.law.cornell.edu/uscode/37/403.html

For issues regarding your BAH, contact your Service Compensation Representative through your chain of
command:
Service Name                     COM Phone          DSN          E-mail
Air         Major Karyn Wright (703) 695-1113 225-1113           Karyn.Wright@pentagon.af.mil
Force
Army        Major Leslie Gerald (703) 697-9027 222-5943          Leslie.Gerald@hqda.army.mil
Coast       Cliff Samuels        (202) 267-2210 N/A              Csamuel@comdt.uscg.mil
Guard
Marines Major Andy               (703) 784-9386 278-9388         GilmoreAJ@manpower.usmc.mil
            Gilmore
Navy        Lt Benjamin Bryant (703) 695-3304 225-3304           n130c4@bupers.navy.mil
           Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 28 of 123



Glossary of Terms

ANCHOR POINT - A profile for which cost data is collected. BAH rates are calculated for anchor
points, then extrapolated for non-anchor point grades.
APARTMENT (APT) - A rental unit located in a larger building. Apartment buildings are typically
multi-storied, and there are usually common hallways providing entrance to each unit.
INSTALLATION - A military fort, post, base, camp, or station.
MEDIAN - The 50th percentile; calculated by finding the "middle" value when values are sorted from
low to high. Unlike a mean, the median is not strongly influenced by very large or very low values in the
set. By definition, half the values will be higher than the median and half will be lower. The median is
the customary scientific measure for describing housing costs.
MILITARY HOUSING AREA (MHA) - The defined housing area surrounding an installation or
activity.
MILITARY HOUSING OFFICE (MHO) - A housing referral office at a military installation.
OUT-OF-POCKET (OOP) EXPENSE - The portion of a members housing expense that is not covered
by BAH.
PROFILE - The various types of housing used in the study. For example, a two-bedroom apartment is a
profile. There are six housing profiles.
SINGLE FAMILY DETACHED (SFD) HOUSE - A dwelling that is not attached to any other
dwellings.
TOWNHOUSE (TH) - A rental unit that is attached to similar units. There are common (or shared)
walls between the units. Each unit has a separate entrance; that is, there are no common hallways.
Typically, townhouses are multi-storied, but may be one story. Duplexes are included with townhouses in
this study.
UTILITIES - Electricity, heat (such as gas or oil), and water and sewer.
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 29 of 123




                         Exhibit C
        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 30 of 123




    DoD Releases 2020 Rates for Basic Allowance for
   Housing, Basic Allowance for Subsistence, and Basic
                          Pay
The Department of Defense has released the 2020 Rates for Basic Allowance for Housing, Basic
Allowance for Subsistence, and Basic Pay. These rates will take effect on January 1, 2020. Basic
Allowance for Housing rates will increase an average of 2.8 percent, Basic Allowance for Subsistence rates
will increase 0.9 percent, and Basic Pay will increase 3.1 percent over the entire force.

For Basic Allowance for Subsistence, enlisted members will now receive $372.71 per month (an increase
of $3.32) and officers will receive $256.68 per month (an increase of $2.29). Specific Basic Pay rates are
expected to be released via Executive Order shortly.

Balancing the growth in compensation costs, the 2020 Basic Allowance for Housing program continues
the member cost-sharing element (out-of-pocket expense). An estimated $22 billion will be paid to
approximately one million Service members. Based on the authority provided in the FY 2016 National
Defense Authorization Act, the cost-sharing element was increased to five percent for 2019. For 2020, a
typical member will continue to absorb five percent of the national average housing cost by pay grade.
The out-of-pocket amounts incorporated in the 2020 Basic Allowance for Housing rates vary by grade and
dependency status and range from $68 to $148 monthly. This rate computation change balances the
growth of certain military pay and benefits in a fair, responsible, and sustainable way. Even with these
nominal changes, the overall military pay and benefits package remains robust and healthy.

Housing cost data are collected annually for over 300 military housing areas in the United States,
including Alaska and Hawaii. An important part of the Basic Allowance for Housing process is the
cooperation from the Services and local military housing offices in the data collection effort. Input from
local commands is used to determine in what neighborhoods data is collected and to direct the data
collection effort towards adequate apartment complexes and individual housing units.

Median current market rent and average utilities (including electricity, heat, and water/sewer) comprise
the total housing cost for each military housing area and are included in the Basic Allowance for Housing
computation. Total housing costs are developed for six housing profiles (based on dwelling type and
number of bedrooms) in each military housing area. Basic Allowance for Housing rates are then
calculated for each pay grade, both with and without dependents.

An integral part of the Basic Allowance for Housing program is the provision of individual rate protection
to all members. No matter what happens to measured housing costs – including the out-of-pocket
adjustment, an individual member who maintains uninterrupted Basic Allowance for Housing eligibility in
a given location will not see his/her Basic Allowance for Housing rate decrease. This ensures that
members who have made long-term commitments in the form of a lease or contract are not penalized if
the area's housing costs decrease.

The Department is committed to the preservation of a compensation and benefit structure that provides
members with a suitable and secure standard of living to sustain a trained, experienced, and ready force
now and in the future.

For more information on Basic Allowance for Housing, including the 2020 Basic Allowance for Housing
rates and 2020 Basic Allowance for Housing rate component breakdown, visit
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 31 of 123


https://www.defensetravel.dod.mil/site/bah.cfm. Service members can calculate their BAH payment by
using the Basic Allowance for Housing calculator at: http://www.defensetravel.dod.mil/site/bahCalc.cfm.
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 32 of 123




                         Exhibit D
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 33 of 123


                              2020 BAH Rates Frequently Asked Questions

1. Why are overall rates increasing this year?

   No one factor can be attributed to the increase in Basic Allowance for Housing rates. Basic Allowance
   for Housing rates are based on the combination of local costs for rent and utilities for various housing
   types. Any fluctuation of one or more of those factors in a given location will affect Basic Allowance for
   Housing rates for that location.

2. How many Basic Allowance for Housing recipients will see a decrease in their Basic Allowance for
   Housing rates because median rents in their area decreased?

   While Basic Allowance for Housing rates will decrease for about twenty-two percent of the military
   housing areas (sixty-seven housing areas), not all members stationed in those locations will see a
   decrease in their monthly Basic Allowance for Housing payment. No matter what happens to the
   computation method or measured housing costs, an individual member already assigned and living in a
   given location will not see his/her Basic Allowance for Housing rate decrease as long as he/she does not
   have a reduction in pay grade or change in dependency status. This rate protection policy ensures
   members who have made long-term commitments in the form of a lease or contract are not penalized
   if the area's housing costs decrease. It is primarily those members who are relocating to an area who
   will receive the new, lower rate, but they also have the ability to obtain lower-cost housing.

3. Do national housing statistics compare to the average increase in Basic Allowance for Housing?

   Many factors can account for a change in the Basic Allowance for Housing rate for an area. Market
   rents and utility costs are the primary factors. Additionally, data collection areas are specifically defined
   for the rate-setting process, and can vary greatly from generally defined metropolitan and local
   statistical areas. For these reasons, it is not practical to compare average increases in Basic Allowance
   for Housing with local or national statistics on rental housing costs.

4. What areas experienced the largest Basic Allowance for Housing rate increases?

   Based on an average of Basic Allowance for Housing ‘With Dependents’ rates for each military housing
   area, the locations with the largest increases are:

Largest Increases
                                                  Overall
                                                                              2020        2019        2018
                                                  Average         BAH
  MHA Code                 MHA Name                                          Average     Average     Average
                                                  Change       Population
                                                                            BAH w dep   BAH w dep   BAH w dep
                                                 2019 – 2020
   TX272                   Austin, TX              28%          1127         2564        1979        1964
   ID086            Mountain Home AFB, ID          21%          2990         1734        1431        1212
   OR242                 Coos Bay, OR              16%          326          1745        1509        1503
   TX278            Laughlin AFB/Del Rio, TX       15%          1138         1551        1360        1425
   ME136                Brunswick, ME              14%          243          2273        1992        1935
   GA071                  Atlanta, GA              14%          2137         2433        2115        1908
   FL063                Panama City, FL            13%          2323         2127        1920        1706
   OR245                 Corvallis, OR             13%          182          2244        1988        1844
   OR246                  Eugene, OR               13%          155          1983        1760        1706
   AL004                   Mobile, AL              13%          1119         1617        1410        1369
        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 34 of 123




      3000


      2500


      2000


      1500


      1000


        500


          0
               TX272     ID086    OR242      TX278      ME136        GA071      FL063       OR245       OR246     AL004

                    2020 Average BAH w dep      2019Average BAH w dep                2018 Average BAH w dep


    Based on an average of Basic Allowance for Housing ‘With Dependents’ rates for each military housing
    area, the locations with the largest decreases are:

Largest Decreases
                                                      Overall
                                                                                  2020        2019          2018
                                                      Average         BAH
  MHA Code                 MHA Name                                              Average     Average       Average
                                                      Change       Population
                                                                                BAH w dep   BAH w dep     BAH w dep
                                                     2018 – 2019
   KY430                 Paducah, KY                   -9%           44          1199         1338         1341
   ME141              Coastal Maine, ME                -8%           310         1811         1935         1727
   LA115                 Fort Polk, LA                 -8%          5299         1238         1333         1311
   OH229                Cleveland, OH                  -7%           679         1675         1834         1859
   NJ198                Cape May, NJ                   -6%           940         1837         1970         2000
   OK237             Fort Sill/Lawton, OK              -6%          6105         1212         1284         1395
   AK403               Kodiak Island, AK               -6%           984         2270         2377         2411
   IL090                   Peoria, IL                  -6%           325         1734         1844         1828
   ND189                  Fargo, ND                    -5%           275         1557         1663         1609
   TN269                 Nashville, TN                 -5%           891         2151         2254         2139
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 35 of 123



  2500


  2000


  1500


  1000


   500


      0
            KY430   ME141      LA115    OH229     NJ198      OK237   AK403   IL090    ND189       TN269

               2020 Average BAH w dep       2019Average BAH w dep        2018 Average BAH w dep




6. What are the areas with the highest BAH rates?

   Based on an average of Basic Allowance for Housing ‘With Dependents’ rates for each military housing
   area, the locations with the highest average are:

Highest Average BAH Rates (MHAs with BAH populations greater than 800)
                                             Average BAH rate With
     MHA                Location
                                                  Dependents

 CA019          SAN FRANCISCO, CA                   $4,933
 NY219          NEW YORK CITY, NY                   $3,990
 NY218          LONG ISLAND, NY                     $3,857
 MA120          BOSTON, MA                          $3,831
 CA018          OAKLAND, CA                         $3,721
 CA027          MARIN/SONOMA, CA                    $3,646
 MA377          HANSCOM AFB, MA                     $3,474
 FL069          FLORIDA KEYS, FL                    $3,426
 CA039          MONTEREY, CA                        $3,339
 HI408          HONOLULU, HI                        $3,280
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 36 of 123



    6000

    5000

    4000

    3000

    2000

    1000

       0




7. Explain the Basic Allowance for Housing legislative proposal approved in the Fiscal Year 2015 and
   2016 National Defense Authorization Acts?

   The 2015 National Defense Authorization Act (NDAA) included a change to the Basic Allowance for
   Housing Program that allows the Department to reintroduce an out-of-pocket component (member
   cost-sharing), not to exceed one percent of national average housing costs by grade. The 2016 NDAA
   expands the out-of-pocket amount by one percent each year until it reaches five percent, in 2019. For
   2020, the authorized out-of-pocket amount remains at five percent of national average housing costs
   by grade.

8. Why did DoD decide to reduce the rate of growth of the Housing Allowance?

   The DoD faces significant budget challenges given the implications of the Budget Control Act (also
   known as sequestration). The one-third of the defense budget consumed by military personnel and
   health care costs must be considered in determining how savings might be gleaned. Mindful of this
   context, the Department requested authorization to slow annual BAH growth by reintroducing a
   member cost-sharing element from the housing rate calculation. Even with these modest adjustments
   to the computation method for setting Basic Allowance for Housing rates, members will still have
   sufficient means to obtain suitable housing.

9. Has an out-of-pocket ever been used in the Basic Allowance for Housing program?

   An about-of-pocket amount was incorporated early in the Basic Allowance for Housing program to limit
   Basic Allowance for Housing rates to a defined budget. These out-of-pocket costs were reduced from
   nearly 20% in 2000 to elimination in 2005.

10. What is the out-of-pocket amount and how will the out-of-pocket be administered?

   For 2020, a typical member will need to absorb five percent of the national average housing costs. The
   cost-sharing will be administered by using an absorption rate. An absorption rate is a defined
   percentage computed so that similar pay grades in every military housing area have a Basic Allowance
   for Housing rate set at the same dollar amount below the median cost. This ensures members of the
   same pay grade/dependency status pay a similar amount out-of-pocket regardless of their location;
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 37 of 123


   however, depending on members’ actual housing choices, they may or may not actually have to pay
   out-of-pocket for their housing.

11. How will the cost-sharing (out-of-pocket) impact service members?

   The cost-sharing amounts incorporated in the 2020 Basic Allowance for Housing rates vary by grade
   and dependency status and range from $68 to $148 monthly. The actual member impact of the
   changes to Basic Allowance for Housing computations will vary depending on a member’s housing
   choices. Members who rent a median-priced property will have to pay a small amount above their
   Basic Allowance for Housing rate. Members who choose to economize in their housing choices may
   have all their housing expenses covered by Basic Allowance for Housing. Some members, renting
   properties above the median price for the area, have already been paying some housing costs out of
   pocket.

12. Does rate protection apply with these methodology changes?

   Yes, members currently receiving the Basic Allowance for Housing for a location will be rate protected
   at the previous year’s the Basic Allowance for Housing rate (if higher). If Basic Allowance for Housing
   rates decrease (whether due to the expansion of the member cost-sharing element, declining
   rental/utility prices in the area, or any combination), members already receiving Basic Allowance for
   Housing for the area will be rate protected at the previous year’s Basic Allowance for Housing rate.

   No matter what happens to measured housing costs, an individual member already assigned and living
   in a given location will not see his/her Basic Allowance for Housing rate decrease as long as he/she
   does not have a reduction in pay grade or change in dependency status. This ensures members who
   have made long-term commitments in the form of a lease or contract are not penalized if the area's
   housing costs decrease. It is primarily those members who are relocating to an area who will receive
   the new rate.
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 38 of 123




                         Exhibit E
             Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 39 of 123
                               United States Government Accountability Office
                              Report to Congressional Committees




January 2021
                              MILITARY HOUSING

                              Actions Needed to
                              Improve the Process
                              for Setting Allowances
                              for Servicemembers
                              and Calculating
                              Payments for
                              Privatized Housing
                              Projects




GAO-21-137
                    Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 40 of 123
                                                  January 2021

                                                  MILITARY HOUSING
                                                  Actions Needed to Improve the Process for Setting
                                                  Allowances for Servicemembers and Calculating
Highlights of GAO-21-137, a report to             Payments for Privatized Housing Projects
congressional committees




Why GAO Did This Study                            What GAO Found
DOD spent about $20 billion in fiscal             The Department of Defense (DOD) has established a process to determine basic
year 2019 on BAH—often one of the                 allowance for housing (BAH) rates, which help cover the cost of suitable housing
largest components of military pay.               in the private sector for servicemembers. However, DOD has not always
BAH is designed to cover a portion of             collected rental data on the minimum number of rental units needed to estimate
servicemembers’ housing rental and                the total housing cost for certain locations and housing types. GAO analysis
utility costs in the private sector.              found that 44 percent (788 of 1,806) of locations and housing types had fewer
Starting in 2015, DOD reduced BAH                 than the minimum sample-size target. Until DOD develops ways to increase its
rates so that servicemembers share a              sample size, it will risk providing housing cost compensation that does not
portion of housing costs. The majority
                                                  accurately represent the cost of suitable housing for servicemembers.
of servicemembers rely on the civilian
housing market, while others rely on              DOD followed congressional requirements for calculating BAH reductions and
government housing or privatized                  payments to privatized housing projects. However, while the 2019
housing projects. These projects rely             congressionally mandated payments lessened the financial effects of BAH
on BAH as a key revenue source. In                reductions, as intended, they did not do so commensurate with the amount of the
2018-2020, Congress required DOD to
                                                  BAH reduction. GAO found that privatized housing projects received payments
make payments to these projects to
                                                  that were either over or under the amount of revenue lost from reductions made
help offset the BAH reduction.
                                                  to BAH, in some cases by $1 million or more. (see figure)
Senate Report 116-48 included a
provision for GAO to review DOD’s                 Number of Privatized Housing Projects and Amounts That Congressionally Mandated
BAH process. This report evaluates,               Payments Were Above or Below the Basic Allowance for Housing (BAH) Reduction Estimate
among other things, the extent to                 (in 2019)
which (1) DOD established a process
to determine BAH and (2) DOD’s
congressionally mandated payments to
projects lessened the effects of BAH
reductions. To conduct this work, GAO
reviewed relevant guidance and other
documents, analyzed key data, and
interviewed cognizant DOD officials.

What GAO Recommends
GAO is making a matter for
congressional consideration to revise
statutory language to ensure payments
to privatized housing projects are
consistent with BAH reductions. GAO
is also making three recommendations,             These distortions occurred because the legal requirements for calculating the
including that DOD review its sampling            BAH reduction and the congressionally mandated payments differ. Specifically,
methodology to increase sample size.              the law requires that the BAH reduction be a set dollar amount, regardless of
DOD concurred with two                            location, while payments to privatized housing projects are required to differ by
recommendations. DOD also partially
                                                  location. This required method of calculating the BAH reduction amounts is
concurred with one recommendation,
                                                  consistent with how prior reductions were calculated. According to DOD, BAH
which GAO continues to believe is
valid, as discussed in the report.                rates were reduced so that servicemembers share a portion of housing costs,
                                                  and that reduction amount was the same for servicemembers with the same pay
                                                  grade and dependency status, regardless of location. Until Congress takes steps
View GAO-21-137. For more information,            to ensure congressionally mandated payment calculations are consistent with
contact Elizabeth A. Field at (202) 512-2775 or
fielde1@gao.gov.
                                                  how BAH reductions are calculated, some privatized housing projects will
                                                  continue to receive more or less than was intended.
                                                                                            United States Government Accountability Office
               Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 41 of 123


Contents


Letter                                                                                                    1
                                Background                                                               6
                                DOD Has Established and Implemented a Process to Determine
                                  BAH Rates, but Has Not Consistently Met Minimum Sample-
                                  Size Targets, Used Current Data, or Fully Documented Its
                                  Process                                                               12
                                DOD Has Taken Some Steps to Monitor the Appropriateness of
                                  BAH Rates, but Could Strengthen Its Efforts through More
                                  Consistent Monitoring                                                 27
                                Congressional Requirements for Calculating Payments to
                                  Privatized Housing Projects Lessened the Financial Effects of
                                  BAH Reductions, but Created Unintended Distortions                    34
                                Conclusions                                                             41
                                Matter for Congressional Consideration                                  42
                                Recommendations for Executive Action                                    42
                                Agency Comments and Our Evaluation                                      43

Appendix I                      Overview of Alternative Federal Government Methods for
                                Collecting Housing Data                                                 45



Appendix II                     Interpolation Table and National Average Basic Allowance for
                                Housing (BAH) Rates for Servicemembers in 2020                          50



Appendix III                    Comments from the Department of Defense                                 53



Appendix IV                     GAO Contact and Staff Acknowledgments                                   56



Related GAO Products                                                                                    57




                                Page i                                           GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 42 of 123




Tables
                           Table 1: The Six-Anchor-Point Housing Types for the Basic
                                   Allowance for Housing and Possible Substitutions              16
                           Table 2: Number and Percentage of the 301 Military Housing
                                   Areas That Did Not Meet Department of Defense’s
                                   Minimum Housing Area Target for the 2019 Basic
                                   Allowance for Housing Data Collection by Housing Type         20
                           Table 3: Number and Percentage of the 301 Military Housing
                                   Areas That Did Not Meet Department of Defense’s
                                   Minimum Threshold of 16 for the 2019 Basic Allowance
                                   for Housing Data Collection by Housing Type                   21
                           Table 4: Topics of Ad-Hoc Studies of Department of Defense’s
                                   Basic Allowance for Housing, by Year                          28
                           Table 5: Reductions in the Monthly and Annual Basic Allowance
                                   for Housing by Pay Grade and Dependency Status, 2020          35
                           Table 6: Amounts of Congressionally Mandated Payments above
                                   or below the Basic Allowance for Housing (BAH)
                                   Reduction in 2019                                             38
                           Table 7: DOD’s Basic Allowance for Housing Process for
                                   Collecting Rental Housing Data Compared to External
                                   Alternative Methods                                           47
                           Table 8: Basic Allowance for Housing Standards and
                                   Interpolation between Anchor Points Performed                 50
                           Table 9: Monthly and Annual National Averages for the Basic
                                   Allowance for Housing (BAH) Rates by Pay Grade and
                                   Dependency Status, Calendar Year 2020                         51


Figures
                           Figure 1: DOD Has Reported Annual Percentage Increases in the
                                    Average Basic Allowance for Housing                           8
                           Figure 2: Typical Funding Structure for a Privatized Housing
                                    Project                                                      10
                           Figure 3: DOD’s Basic Allowance for Housing (BAH) Data
                                    Collection and Rate-Setting Process                          13
                           Figure 4: Number of Privatized Housing Projects and Amounts
                                    That Congressionally Mandated Payments Were above
                                    or below the Basic Allowance for Housing (BAH)
                                    Reduction Estimate in 2019                                   39




                           Page ii                                        GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 43 of 123




                 Abbreviations

                 BAH                        Basic Allowance for Housing
                 DOD                        Department of Defense
                 MHO                        Military Housing Office
                 OSD                        Office of the Secretary of Defense
                 OUSD(P&R)                  Office of the Under Secretary of Defense
                                            for Personnel and Readiness




                 This is a work of the U.S. government and is not subject to copyright protection in the
                 United States. The published product may be reproduced and distributed in its entirety
                 without further permission from GAO. However, because this work may contain
                 copyrighted images or other material, permission from the copyright holder may be
                 necessary if you wish to reproduce this material separately.




                 Page iii                                                      GAO-21-137 Military Housing
             Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 44 of 123

                              Letter




441 G St. N.W.
Washington, DC 20548




                              January 25, 2021

                              Chairman
                              Ranking Member
                              Committee on Armed Services
                              United States Senate

                              The Honorable Adam Smith
                              Chairman
                              The Honorable Mike Rogers
                              Ranking Member
                              Committee on Armed Services
                              House of Representatives

                              The Department of Defense (DOD) spent about $20 billion in fiscal year
                              2019 to pay the basic allowance for housing (BAH) to approximately 1
                              million eligible active-duty servicemembers who live in the United States. 1
                              BAH is often one of the largest components of cash compensation for
                              military personnel, second only to basic pay. 2 BAH is designed to provide
                              fair housing allowances to servicemembers to help cover a portion of the
                              monthly costs of rent and utilities. By law, BAH rates are to be based on
                              the cost of adequate housing for civilians with comparable income levels
                              in the same areas. 3 In an effort to determine appropriate BAH rates, DOD
                              collects data on rental properties that are considered suitable and
                              adequate for servicemembers of the designated rank.

                              Prior to 2002, BAH was calculated to cover the estimated local average
                              housing cost for a given pay grade and dependency status—made up of

                              1DOD    provides servicemembers with other types of housing allowances depending on
                              varying circumstances, like the Overseas Housing Allowance, the BAH differential for
                              servicemembers paying child support, and the partial BAH for unaccompanied
                              servicemembers living in government-owned housing. This report addresses DOD’s
                              process to set the BAH for servicemembers with and without dependents living in the
                              United States, which comprised more than 90 percent of annual housing allowances paid
                              to military personnel in 2019.
                              2DOD   provides active-duty personnel with a comprehensive compensation package that
                              includes a mix of cash, such as basic pay; noncash benefits, such as health care; and
                              deferred compensation, such as retirement pension. Servicemembers, including eligible
                              reserve personnel serving on active duty, are eligible to receive the basic allowance to pay
                              for housing and utilities as a cash payment every month while on active duty.
                              337   U.S.C. § 403(b)(2).




                              Page 1                                                         GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 45 of 123




                 rent, utilities, and renter’s insurance—minus 15 percent of the estimated
                 national average housing cost for that pay grade and dependency status.
                 This approach resulted in servicemembers paying a portion of their
                 housing costs out of pocket. 4 In 2002, DOD began reducing out-of-pocket
                 housing costs for servicemembers. From 2005 through 2014, BAH was
                 calculated to cover 100 percent of local average housing costs. In a
                 subsequent effort to slow the growth of BAH, DOD in 2014 requested that
                 Congress once again require servicemembers to pay a portion of their
                 housing costs out-of-pocket and eliminate renter’s insurance costs from
                 the housing allowance. In response, the National Defense Authorization
                 Acts for Fiscal Years 2015 and 2016 authorized DOD to use a phased
                 approach to reduce BAH rates to cover approximately 95 percent of the
                 estimated average housing costs of servicemembers. 5 Moreover, the
                 renter’s insurance cost was eliminated from the housing allowance
                 starting in 2015.

                 BAH is paid to servicemembers regardless of whether they live in civilian
                 or privatized housing. The vast majority of servicemembers—about two-
                 thirds—rely on the civilian housing market, while the remaining
                 servicemembers live in government housing or privatized housing. 6
                 Privatized housing is owned and managed by private-sector developers
                 who work with the military departments to rebuild and renovate military




                 4While DOD estimates BAH allowance based on local rental market costs,
                 servicemembers may choose to apply their BAH toward purchasing a home or renting a
                 housing unit that could be more or less than their BAH. Servicemembers are permitted to
                 keep any portion of their BAH not spent on housing and conversely will have to use other
                 funds to pay housing costs that exceed their BAH.
                 5The National Defense Authorization Acts for Fiscal Years 2015 and 2016 authorized
                 DOD to reduce each local BAH amount by up to a specified percent of the national
                 average BAH amount for the same rank and dependency status in a phased approach (1
                 percent in 2015, 2 percent in 2016, 3 percent in 2017, 4 percent in 2018 and 5 percent in
                 2019 and beyond). DOD set its annual budgets to reflect the full amount of the authorized
                 reductions.
                 6In 1996, to enable DOD to privatize its housing, Congress provided the department with a
                 variety of authorities to obtain private-sector financing and management to repair,
                 renovate, construct, and operate military housing. See the National Defense Authorization
                 Act for Fiscal Year 1996, Pub. L. No. 104-106, §§ 2801-2802 (1996), codified as amended
                 at 10 U.S.C. §§ 2871-2894a.




                 Page 2                                                        GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 46 of 123




                 housing. 7 These developers operate 99 percent of domestic military
                 family housing, as well as a limited amount of housing for unaccompanied
                 military personnel. The developers rely on servicemembers’ BAH
                 payments as a key revenue source for these privatized housing projects.
                 According to DOD officials, servicemembers who live in privatized
                 housing are not expected to share the housing cost and, therefore, do not
                 pay more than the BAH rate.

                 Since 1998, we have conducted various reviews related to BAH and
                 military housing privatization. In 2011, we reported that DOD uses a data-
                 intensive process to set housing allowance rates, but that enhancements
                 related to quality of data as well as cost estimating for budget estimates
                 could improve the process. 8 We recommended, among other things, that
                 DOD assess the benefits and drawbacks of revising its definition of
                 available housing for data collection purposes, and that it develop a
                 communications process for installations to share information on housing
                 tools. DOD generally concurred with our recommendations and took the
                 necessary steps to implement them. In 2018, we reviewed the financial
                 condition of DOD’s privatized housing projects and found that DOD
                 should take steps to improve monitoring, reporting, and risk assessment. 9
                 We recommended, among other things, that DOD fully assess the effects
                 of reductions in BAH on the projects, define tolerances for project risks,
                 and revise guidance to ensure that financial information on privatized
                 housing projects are consistent and comparable. DOD concurred with our
                 recommendations and has been taking steps to address them. For
                 example, in August 2018, DOD issued revised instructions to the military
                 departments for data submissions for subsequent congressional reports
                 to clarify how debt coverage ratios should be calculated and to clarify the
                 instructions regarding reporting periods. A list of related products is
                 included at the end of this report.



                 7Privatized housing projects are run by a private-sector partner. For the purposes of this
                 report, we refer to this partner as a developer or developers. Developers are alternately
                 referred to by the military departments as project owners, private partners, or managing
                 members. Developers may also be referred to as a lessor of a privatized housing project
                 in their capacity as landlord to the servicemembers who rent the privatized housing.
                 8GAO,  Military Housing: Enhancements Needed to Housing Allowance Process and
                 Information Sharing Among Services, GAO-11-462 (Washington, D.C.: May 16, 2011).
                 9GAO,  Military Housing Privatization: DOD Should Take Steps to Improve Monitoring,
                 Reporting, and Risk Assessment, GAO-18-218 (Washington, D.C.: Mar. 13, 2018).




                 Page 3                                                         GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 47 of 123




                 Senate Report No. 116-48, which accompanied a bill for the National
                 Defense Authorization Act for Fiscal Year 2020, included a provision for
                 us to review DOD’s process for calculating BAH. This report evaluates the
                 extent to which (1) DOD established and implemented a process using
                 complete and current housing information to determine BAH rates; (2)
                 DOD monitors the appropriateness of BAH rates; and (3) DOD’s
                 congressionally mandated payments to privatized housing projects
                 lessened the effects of BAH rate reductions for those projects. 10 In
                 appendix I, we also describe external alternative methods for collecting
                 housing data.

                 To address all three reporting objectives, we reviewed Office of the
                 Secretary of Defense (OSD) policies and guidance for administration of
                 the BAH program and interviewed officials from DOD’s Military
                 Compensation Policy directorate within the Office of the Under Secretary
                 of Defense for Personnel and Readiness (OUSD(P&R)); the Deputy
                 Assistant Secretary of Defense for Facilities Management within the
                 Office of the Assistant Secretary of Defense for Sustainment; the BAH
                 contractor; and BAH and housing representatives from each of the
                 military services, including Military Housing Office (MHO) representatives
                 from six military housing areas, about their roles and responsibilities in
                 the BAH data collection and rate-setting process. 11

                 In addition, for our first objective, we reviewed DOD’s BAH guidance and
                 outputs of the BAH process, including data collected to determine the
                 total housing costs and documentation showing OSD’s calculations. We
                 compared DOD’s implementation of the BAH process to its program
                 goals. We also determined that the information and communication
                 component of internal control was significant to this objective, along with
                 the underlying principles that management should use quality information
                 and communicate the necessary quality information to achieve

                 10Inthe National Defense Authorization Acts for fiscal years 2018, 2019, and 2020,
                 Congress required DOD to make payments to privatized housing projects for a specified
                 percentage based on the local BAH rate.
                 11We  judgmentally selected six military housing areas using the following criteria to guide
                 our selection: (1) each of five services (Army, Navy, Marine Corps, Air Force, and Coast
                 Guard) where the service is a primary MHO representative for one or more locations; (2)
                 each of the four U.S. Census Bureau geographic regions (West, South, Midwest, and
                 Northeast); and (3) small, midsize, and large populations of servicemembers receiving
                 BAH within the military housing area. We selected Norfolk/Portsmouth, VA; Honolulu
                 County, HI; Dover Air Force Base/Rehoboth, DE; Carlisle Barracks, PA; Sault Sainte
                 Marie, MI; and Bridgeport, CA.




                 Page 4                                                          GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 48 of 123




                 objectives. 12 Where appropriate, we compared DOD’s BAH process to
                 determine the extent to which these underlying principles were used. 13 In
                 addition, we compared DOD’s BAH sampling methods to the Office of
                 Management and Budget standards for statistical surveys and the Report
                 of the American Association for Public Opinion Research task force on
                 non-probability sampling. 14

                 For our second objective, we reviewed and analyzed applicable DOD
                 policies and studies to determine the process OUSD(P&R) has in place to
                 monitor BAH rates. We also determined that the information and
                 communication and monitoring components of internal control were
                 significant to this objective, along with the underlying principles that
                 management should use quality information, establish and operate
                 monitoring activities, and remediate identified deficiencies on a timely
                 basis. 15 Where appropriate, we assessed DOD’s process to monitor BAH
                 to determine the extent to which these underlying principles were used on
                 a consistent basis. We met with officials from OUSD(P&R), the BAH
                 contractor, and the services to discuss the processes in place to monitor
                 the program and the extent to which monitoring activities are conducted
                 consistently.

                 For our third objective, we reviewed the extent to which DOD reduced
                 BAH from calendar years 2015 through 2020. 16 We chose calendar year
                 2015 because it was the first year the cost sharing was established and
                 calendar year 2020 because it was the last year of available data. To
                 compare the extent to which the congressionally mandated payments to
                 privatized housing projects lessened the effects of BAH rate reductions
                 for those projects, we chose calendar year 2019 because that was the
                 last full year of payments. To estimate the BAH reduction amount for

                 12GAO,   Standards for Internal Control in the Federal Government, GAO-14-704G
                 (Washington, D.C.: September 2014). Internal control is a process effected by an entity’s
                 oversight body, management, and other personnel that provides reasonable assurance
                 that the objectives of an entity will be achieved.
                 13GAO-14-704G.

                 14Office
                        of Management and Budget Standards and Guidelines for Statistical Surveys
                 (September 2006) and Summary Report of the AAPOR Task Force on Non-probability
                 Sampling (Journal of Survey Statistics and Methodology (2013) 1, 90–143).
                 15GAO-14-704G.

                 16DOD  begins its process to develop BAH rates in the year prior to the calendar year the
                 BAH rates take effect. Thus, calendar year 2020 BAH rates were determined in calendar
                 year 2019.




                 Page 5                                                        GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 49 of 123




                           calendar year 2019, using the congressionally mandated payment data,
                           we first identified the number of servicemembers by pay grade and
                           dependent status in which the privatized housing project received a
                           payment. Using this information, we determined the estimated BAH
                           reduction by multiplying the prorated number of servicemembers for
                           calendar year 2019 by the national average BAH reduction amounts.
                           Based on responses to data reliability questionnaires, including specific
                           questions about our analysis of the data, from OSD and the military
                           services and follow-up interviews as appropriate, as well as our
                           examination of the data, we determined that the data were sufficiently
                           reliable for our purposes to determine the total congressionally mandated
                           payments and estimate the BAH reduction for calendar year 2019.

                           To describe external alternative methods for collecting rental housing
                           data, we reviewed three publicly available government data sources that
                           collect rental housing data: the American Community Survey, the
                           American Housing Survey, and the Consumer Expenditure Quarterly
                           Interview Survey. We also met with officials from the U.S. Census Bureau
                           to better understand each of these surveys, including their purpose, data
                           collected, data collection period, and sample size.

                           We conducted this performance audit from November 2019 to January
                           2021 in accordance with generally accepted government auditing
                           standards. Those standards require that we plan and perform the audit to
                           obtain sufficient, appropriate evidence to provide a reasonable basis for
                           our findings and conclusions based on our audit objectives. We believe
                           that the evidence obtained provides a reasonable basis for our findings
                           and conclusions based on our audit objectives.


Background
DOD Policy for Housing     DOD’s policy is to ensure that eligible active-duty personnel and their
Allowance and Roles and    families have access to affordable, quality housing and services
                           consistent with grade and dependent status, and that the housing should
Responsibilities           generally reflect contemporary community living standards. 17 In its policy,
                           DOD acknowledges that it relies on the local private sector housing
                           market as the primary source of housing for servicemembers, whether
                           unaccompanied or accompanied by family. According to DOD data, about
                           two-third of active-duty servicemembers live in local private sector

                           17DOD Manual 4165.63, DOD Housing Management (Oct. 28, 2010) (incorporating
                           change 2, Aug. 31, 2018).




                           Page 6                                                  GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 50 of 123




                           housing and about a third of active-duty servicemembers live in DOD-
                           owned housing or privatized housing projects.

                           The Military Compensation Policy directorate within the Office of the
                           Deputy Assistant Secretary of Defense for Military Personnel Policy,
                           which supports the Under Secretary of Defense for Personnel and
                           Readiness, develops policy for the housing allowance program and
                           provides associated oversight. The directorate annually sets the housing
                           allowance rates for all personnel who receive the allowance. To do so, it
                           uses a year-long, multistep process that relies on hundreds of officials
                           from installations’ military housing offices and a contractor to collect
                           housing cost data for 301 military housing areas throughout the United
                           States. 18

Trends in BAH Costs and    Based on DOD budget requests for fiscal year 2014 and fiscal year 2019,
Rates                      the department’s costs for BAH for active-duty personnel decreased by 4
                           percent—or $1 billion—to $20 billion, adjusting for inflation. 19 The
                           decrease in obligations is in part due to the following factors: (1) a
                           decrease in active-duty servicemembers receiving BAH during this time
                           frame, from about 963,000 to about 905,000, (2) the elimination of
                           renter’s insurance in DOD’s BAH payment calculation starting in 2015,
                           and (3) the implementation of the National Defense Authorization Acts’
                           authorization to reduce each local BAH rate by up to a specified percent
                           of the national average BAH rate. 20 From 2014 through 2020, the national

                           18In 2020, there were 301 Military Housing Areas in the United States, including Alaska
                           and Hawaii. Military housing areas represent a geographic area in which servicemembers
                           are assumed to look for community housing and are defined by a collection of zip codes.
                           In addition to the military housing areas, there are 39 county cost groups. Although half
                           the U.S. counties are in these county cost groups, these counties contain less than 2
                           percent of military members eligible to receive BAH, according to DOD.
                           19These  total costs were derived from actual costs recorded in DOD’s annual budget
                           requests for fiscal years 2014 and 2019. Total costs of BAH in nominal terms (not
                           adjusted for inflation) was $18.4 billion in fiscal year 2014 and $19.3 billion in fiscal year
                           2019. To convert obligations to constant dollars, we used the series of military personnel
                           deflators for fiscal years 2014 and 2019 listed in DOD’s National Defense Budget
                           Estimates for fiscal year 2020, published by the Office of the Under Secretary of Defense
                           (Comptroller). We chose 2014 to compare BAH rates prior to the first year before the
                           implementation of BAH reduction as authorized in the National Defense Authorization Acts
                           for 2015 and 2016 to current BAH rates. We chose fiscal year 2019 because 2019 is the
                           most current data available for actual BAH obligations.
                           20The  National Defense Authorization Acts for Fiscal Years 2015 and 2016 authorized
                           DOD to reinstate an out-of-pocket cost-sharing element to reduce each servicemember’s
                           local BAH amount by up to a specified percent of the national average BAH amount in a
                           phased-in approach (1 percent in 2015, increased by 1 percent annually to a maximum 5
                           percent in 2019 and beyond). DOD implemented the maximum percentage allowed.




                           Page 7                                                          GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 51 of 123




                 average BAH rate across all locations, pay grades, and dependency
                 status increased each year, according to DOD (see fig. 1).

                 Figure 1: DOD Has Reported Annual Percentage Increases in the Average Basic
                 Allowance for Housing




                 While BAH rates as a whole have, on average, risen each year since
                 2014, individual rates can increase or decrease for a given pay grade,
                 dependency status, and geographic location. For example, BAH for an E6
                 with dependents located in the Johnstown, Pennsylvania, area decreased
                 by 16 percent from 2014 to 2019, while BAH for an enlisted
                 servicemember with dependents and a pay grade of E6 located in the
                 San Francisco, California, area increased by 28 percent in BAH over the
                 same timeframe, after adjusting for inflation. 21 The change in BAH rates
                 reflects the changes in the local rental housing market conditions,
                 according to DOD officials. If BAH rates in an area increase, then a

                 21We  used the Consumer Price Index (CPI-U) to calculate the adjustment to 2019 dollars.
                 The BAH rate for an enlisted servicemember with a pay grade of E6 with a dependent
                 located in the Johnstown, PA, area in 2014 was $942 or $1,017 in 2019 dollars and in
                 2019 was $858. BAH rate for an E6 with a dependent located in the San Francisco, CA,
                 area in 2014 was $3,657 or $3,950 in 2019 dollars and in 2019 was $5,052.




                 Page 8                                                       GAO-21-137 Military Housing
            Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 52 of 123




                               servicemember stationed in that area will receive the increased rate.
                               However, if BAH rates in an area decrease from 1 year to the next, the
                               servicemember retains the higher housing allowance rate, known as “rate
                               protection,” as long as location and dependency status remain
                               unchanged and pay grade does not decrease. This rule protects
                               servicemembers already committed to a long-term commitment, such as
                               a lease or contract. 22

BAH for Civilian and           Servicemembers sign a lease and pay their rent—whether living in civilian
Privatized Housing             or privatized housing—with their monthly BAH. 23 Unlike landlords in the
                               civilian housing market, DOD’s agreements with privatized housing
                               developers prohibit them from charging more for rent than the BAH rate.
                               Therefore, if a servicemember lives in privatized housing, the rent is
                               typically equivalent to the housing allowance. Those servicemembers
                               who choose not to live in privatized housing may apply their allowance
                               toward purchasing a home or renting a housing unit that is more or less
                               than their housing allowance. They are permitted to keep any portion of
                               their housing allowance not spent on housing and, conversely, have to
                               use other funds to pay housing costs that exceed their allowance.

The Military Housing           In 1996, Congress enacted the Military Housing Privatization Initiative in
Privatization Initiative and   response to DOD concerns about the effect of inadequate and poor
                               quality housing on servicemembers and their families. 24 The Military
Privatized Housing Roles
                               Housing Privatization Initiative provided DOD with various authorities to
and Responsibilities           obtain private-sector financing and management to repair, renovate,
                               construct, and operate military housing. Since then, private-sector
                               developers and property management companies have assumed primary
                               responsibility for military family housing, hereafter referred to as privatized
                               housing, in the United States. 25 Each privatized housing project is a
                               separate and distinct entity governed by a series of legal agreements that

                               22Per DOD guidance, rate protection continues unless the status of a servicemember
                               changes due to (1) permanent change of station; (2) reduction in pay grade; or (3) change
                               in dependent status.
                               23Servicemembers    assigned to privatized housing may be required to make their rent
                               payments in the form of an allotment. In these cases, BAH is paid directly to the privatized
                               project developer. Otherwise, BAH is paid directly to servicemembers.
                               24DOD    requires certain key personnel and junior unaccompanied personnel, to live on an
                               installation. As noted, about one-third of active duty servicemembers live on installations—
                               and that includes those required and those who elect to do so.
                               25Almost    all DOD family housing in the United States has been privatized; however, DOD
                               is still responsible for overseas family housing and most housing for unaccompanied
                               military personnel in the United States.




                               Page 9                                                         GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 53 of 123




                 are specific to that project. While each project is distinct, there are some
                 common elements in how projects invest and utilize funds.

                 Every project takes in revenue, which consists mostly of rent payment
                 received from servicemembers. Therefore, privatized housing developers
                 rely on servicemembers’ BAH payments as a key revenue source.
                 Projects use their rental revenue to pay for operating expenses, including
                 administrative costs, day-to-day maintenance, and utilities, among other
                 things. After that, projects generally allocate funds for taxes and
                 insurance, followed by debt payments. Figure 2 shows a typical funding
                 structure for a privatized housing project.

                 Figure 2: Typical Funding Structure for a Privatized Housing Project




                 Page 10                                                   GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 54 of 123




                 In the typical privatized housing project depicted in figure 2, once debt
                 payments are made, funds are allocated to accounts that fund scheduled
                 maintenance. 26 These accounts exist to fund repair and replacement of
                 items such as roofs, heating and cooling systems, and infrastructure.
                 After that, funds are allocated to a series of management incentive fees,
                 such as the property management fee. Finally, the project divides these
                 remaining funds according to a fixed percentage between accounts that
                 fund major renovations and rebuilds on the one hand and go the
                 developer on the other hand. The percentages may vary, but the majority
                 of funds go toward the accounts funding major renovations and rebuilds.

                 The Deputy Assistant Secretary of Defense for Facilities Management,
                 under the authority, direction, and control of the Assistant Secretary of
                 Defense for Sustainment, is responsible for matters related to the military
                 housing privatization Initiative and is the program manager for all DOD
                 housing—DOD-owned, DOD-leased, or privatized. In this capacity, the
                 Deputy Assistant Secretary is to provide programmatic oversight,
                 guidance, and general procedures related to DOD’s housing programs, to
                 include monitoring necessary to ensure that the military departments
                 provide proper oversight of their housing projects under the Military
                 Housing Privatization Initiative, review and coordinate required approvals
                 of new projects or project restructures, and submit required reports to
                 Congress. 27 The military departments provide oversight of Military
                 Housing Privatization Initiative projects to ensure the private developers
                 provide safe, quality housing while protecting long-term project viability.
                 Projects and housing units under the Military Housing Privatization
                 Initiative are owned, managed, developed, maintained and recapitalized
                 under a ground lease and associated legal agreements with the military
                 department.




                 26Ifa project has received a loan from the government—as is the case with many Air
                 Force projects and one Navy and one Marine Corps project—the debt payments are
                 prioritized such that the senior private-sector debt payment is made and then the junior or
                 subordinated direct loan payment is made. This step is not depicted in figure 2 as Army,
                 Navy, and Marine Corps projects generally do not include government loans.
                 27Section  2884(c) of Title 10 of the United States Code requires the Secretary of Defense
                 to report semiannually an evaluation of the status of oversight and accountability
                 measures for military housing privatization projects, including, among other things,
                 information about financial health and performance and the backlog of maintenance and
                 repair. According to DOD officials, although the statute requires semiannual reporting, due
                 to the effort involved, DOD aims to produce one report for each fiscal year rather than two.




                 Page 11                                                        GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 55 of 123




                            DOD has developed and implemented a process for setting BAH that
DOD Has Established         generally meets its BAH program goal of providing housing allowances to
and Implemented a           help servicemembers cover the costs of suitable housing in the private
                            sector. However, DOD has not consistently collected the data on
Process to Determine        available rental units for certain locations and housing types needed to
BAH Rates, but Has          meet its sample size targets and has not always relied on current-year
                            rental housing data. Moreover, DOD has not fully documented this
Not Consistently Met        process in guidance for stakeholders.
Minimum Sample-
Size Targets, Used
Current Data, or Fully
Documented Its
Process
DOD Has Established and     We found that DOD has developed and to a great extent has followed its
Generally Followed Its      year-long, data-intensive process that produces BAH rates for 301
                            military housing areas. 28 By law, housing allowance rates are to be based
Annual Process to Collect
                            on the cost of adequate housing for civilians with comparable income
BAH Data and Set Rates      levels in the same areas. 29 To do this, DOD relies on an established
for Servicemembers’         methodology to estimate the cost of housing in the private sector. Figure
Housing Allowance           3 describes the key steps in DOD’s year-long data collection and rate-
                            setting process.




                            28There   are 301 Military Housing Areas in the United States, including Alaska and Hawaii.
                            Military housing areas represent a geographic area in which servicemembers are
                            assumed to look for community housing and are defined by a collection of zip codes.
                            29See   37 U.S.C. § 403(b)(2).




                            Page 12                                                        GAO-21-137 Military Housing
                Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 56 of 123




Figure 3: DOD’s Basic Allowance for Housing (BAH) Data Collection and Rate-Setting Process




                                        a
                                         There are 301 Military Housing Areas in the United States, including Alaska and Hawaii. Military
                                        housing areas represent a geographic area in which servicemembers are assumed to look for
                                        community housing and are defined by a collection of zip codes. Most MHOs start collecting rental
                                        data in March, but 40 military housing areas are designated to start early so they can begin collecting
                                        rental data in February.



Training, Rental Data                   The BAH contractor offers training to MHOs on the BAH process starting
Collection, and Review                  in January. The goal of the training, according to DOD officials, is to help
                                        standardize the BAH data collection process and educate the MHOs
                                        about what type of housing is suitable and adequate. Based on
                                        documentation provided by DOD of their training materials, MHOs are
                                        trained to collect suitable, appropriate, and available housing data that
                                        capture the median rent for the area.

                                        The rental data collection phase begins in March for the vast majority of
                                        the MHOs. 30 During this phase, which ends in July, rental data are
                                        collected and entered into an online data repository, called the MHO
                                        Portal, by (1) staff at MHOs located throughout the United States who
                                        collect data for their local area and (2) the BAH contractor who collects
                                        data for all military housing areas. Based on our review of data collected
                                        for 2020 rates, of the over 75,000 rental units used to set 2020 BAH
                                        rates, the MHOs collected 26 percent, the BAH contractor collected 19

                                        30Most military housing areas’ data collection starts in March. However, 40 military
                                        housing areas that traditionally have a seasonal, remote, or an otherwise difficult rental
                                        housing market have been designated for an early data collection start date of February.




                                        Page 13                                                                GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 57 of 123




                 percent, and a combination of MHOs and the BAH contractor collected
                 the remaining 55 percent. To collect the necessary data, MHOs and the
                 contractor identify and select rentals from a variety of sources, including
                 local newspaper advertisements, real estate rental listings, and
                 management companies. 31 MHOs have additional sources, such as word
                 of mouth and local onsite advertising.

                 To determine the types of rental units for which rental data are to be
                 collected, MHO staff and the BAH contractor use judgmental sampling to
                 select rental units that are: (1) adequate and located in approved market
                 areas, (2) available, and (3) reflects various “anchor points”—or types of
                 housing. 32

                     Adequate and located in approved market areas. As noted earlier,
                     the law stipulates that servicemembers’ BAH rates must be based on
                     the costs of adequate housing for civilians with comparable income
                     levels in the same area. According to guidance, adequate housing is
                     both suitable (i.e., meets or exceeds minimum standards) and
                     appropriate (i.e., is not unduly extravagant relative to the surrounding
                     area). For the purpose of deciding which rental properties are
                     adequate for BAH purposes, DOD also excludes properties deemed
                     inadequate or unsuitable. Criteria for determining rental units are
                     inadequate, and therefore excluded from the approved samples, can
                     be based on subjective criteria (i.e., the rental unit has deferred
                     maintenance) or objective criteria (i.e., the rental unit is a mobile
                     home). 33 According to DOD guidance, MHOs’ local expertise is critical
                     to ensuring that the sample units included in the data collection
                     represent adequate housing for servicemembers.



                 31Rentaldata are collected for each military housing area in the United States
                 representing areas in which servicemembers are assumed to look for community housing.
                 These housing areas do not include government housing.
                 32Judgmental  sampling, a non-probability sampling approach based on professional
                 knowledge, is used to select sample units that meet these criteria.
                 33DOD’s   definition of “inadequate or unsuitable” includes: Mobile homes, efficiency
                 apartments, apartments located above a business, transient housing, seasonal or weekly
                 rentals, furnished housing, income-subsidized housing, and age-restricted housing. In
                 addition, other subjective conditions that make the property unsuitable include: units with
                 unsuitable physical condition, deferred maintenance, health, safety, crime, or
                 environmental concerns, extremely high prices, lavish amenities, and location near busy
                 streets or industrial properties.




                 Page 14                                                        GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 58 of 123




                     Moreover, MHOs may identify and exclude areas with substandard
                     housing, including high crime areas. These areas within the military
                     housing area are defined by census tracts. 34 Once approved by
                     Military Compensation Policy and BAH service representatives, MHOs
                     can exclude census tracts from rental data collection if any of the
                     underlying reasons for those exclusions render housing in those tracts
                     predominately unsuitable for servicemembers.
                     Available. The MHOs and BAH contractor are responsible for
                     collecting rental data on properties that are available for long term
                     (i.e., 12 months). According to DOD guidance, “available” means that
                     the properties are vacant and currently on the market within the
                     availability window. 35 In addition to submitting available rental units,
                     MHO representatives can submit data from large apartment or
                     townhouse rental complexes that may not have a rental unit currently
                     available, since managers know what they would charge if a unit were
                     available. 36
                     Various anchor points. Rental unit data falls into DOD’s six-anchor-
                     point housing types, ranging from a 1-bedroom apartment to a 4-
                     bedroom single-family house. These anchor points are used to
                     benchmark BAH rates for certain pay grades. Anchor points,
                     according to DOD guidance, match the type of housing normally
                     occupied by civilians with comparable incomes. DOD allows MHOs to
                     substitute an alternative housing type when the anchor-point housing
                     type is not available or is scarce within the military housing area. For
                     example, based on our analysis for 2020 BAH rates, for anchor point
                     3—a 2-bedroom duplex/townhouse—DOD used 3-bedroom
                     apartments for 48 percent of the approved sample units. Similarly, for
                     anchor point 6—a 4-bedroom single-family house—DOD used a 5-
                     bedroom single-family house for 14 percent of the approved sample


                 34According   to DOD guidance, census tracts are defined by the U.S. Census Bureau as
                 “small, relatively permanent statistical subdivisions of a county designed to be
                 homogeneous with respect to population characteristics, economic status, and living
                 conditions.”
                 35The data availability window is different from the data collection period. For example, for
                 2020 BAH rates, while the data availability window for non-early start military housing
                 areas was between March 15 to September 1 the data collection period was between
                 March 15 to July 31. Units that are available during the data availability window can be
                 included.
                 36To  help ensure the sample is representative of all the suitable housing available in the
                 military housing area, the BAH contractor limits the number of units that can be collected
                 at any single property/community to four units per housing type.




                 Page 15                                                         GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 59 of 123




                       units. Table 1 shows the six-anchor-point housing types and permitted
                       substitutions.

                 Table 1: The Six-Anchor-Point Housing Types for the Basic Allowance for Housing
                 and Possible Substitutions

                  Anchor point               Anchor-point housing type                     Substitution housing type
                  1                          1-bedroom apartment                           None
                  2                          2-bedroom apartment                           None
                  3                          2-bedroom duplex/townhouse                    3-bedroom apartment
                  4                          3-bedroom duplex/townhouse                    None
                  5                          3-bedroom single-family house                 None
                  6                          4-bedroom single-family house                 5-bedroom single-family house
                 Source: GAO analysis of Department of Defense information. | GAO-21-137




                 Rental data review is performed by the MHOs and the BAH contractor.
                 The BAH contractor and the MHOs work together to ensure rental units
                 included in the sample are adequate and appropriate and meet DOD’s
                 suitability criteria. As a quality assurance measure, MHOs are responsible
                 for reviewing (assessing suitability) and ultimately flagging rental unit data
                 collected by the contractor if it is determined that a unit is not suitable. 37
                 For additional quality assurance of the data collected, the contactor
                 reviews submitted data and eliminates data errors, any duplicate rental
                 units submitted, and any extreme rent outliers. All sample units collected
                 by the MHOs that are included in the final data set to calculate median
                 local housing cost have been approved by the contractor. 38 For example,
                 MHOs and the contractor in 2019 collected nearly 95,446 data points to
                 set the 2020 BAH rates, but of those, 75,129 or about 79 percent were
                 approved. Of the remaining rental units that were not approved, about
                 two-thirds were unable to be verified or were pending verification, and

                 37The  MHO is responsible for accepting or “flagging” (i.e., marking for attention)
                 contractor-collected data. The contractor then reviews MHO-flagged units and will either
                 uphold or overturn MHO flags based on appropriate reasons. Flag decisions and reasons
                 are visible to both the contractor and MHO in the Portal. In cases where the MHO flags a
                 high percentage of Approved Units, the contractor will investigate to ensure (a) the
                 contractor is following the proper data collection protocols in that area and (b) that the
                 MHO is flagging for appropriate reasons. If needed, disputes are arbitrated by the MHOs’
                 Service Representative.
                 38According to BAH guidance, units are listed as approved when the contractor has
                 confirmed that the unit details are correct, and it is suitable and appropriate for the BAH
                 sample. Only approved units are used in the final BAH sample.




                 Page 16                                                                       GAO-21-137 Military Housing
            Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 60 of 123




                                 about one-third were denied. 39 Of those denied, about half were flagged
                                 by the MHO; the reasons identified for flagging rental units included not
                                 meeting unit size guidelines, being located in a high crime area, and
                                 being in poor condition.

Total Housing Cost Calculation   Once the data collection and review step is complete, the contractor uses
                                 the approved rental data that were collected to calculate the median
                                 monthly rent for each military housing area and housing type. In addition,
                                 the contractor calculates the average monthly utility cost using data from
                                 the American Community Survey. 40 The contractor combines the median
                                 rent and average utility costs to calculate the average monthly housing
                                 costs, which the contractor provides to DOD, specifically the Military
                                 Compensation Policy directorate within the Office of the Deputy Assistant
                                 Secretary of Defense for Military Personnel Policy.

                                 The Military Compensation Policy directorate uses these cost data to edit
                                 or adjust the total housing cost for each anchor point and military housing
                                 area as necessary. While 72 percent of the 2020 total final housing costs
                                 for the 301 MHAs and six anchor points were not adjusted and were
                                 based solely on the rental data collected, adjustments to the median
                                 housing cost were made for the remaining 28 percent. These adjustments
                                 included, but were not limited to, placing caps on large increases or
                                 decreases when compared to prior years to limit rate volatility. 41 Another
                                 adjustment was using a weighted average of the current and previous 2
                                 years of data or using the national average percentage between housing
                                 types when the required sample size had not been met. 42


                                 39According   to BAH guidance, units are listed as unable to be verified or pending
                                 verification when the contractor cannot or has not confirmed the unit information is listed
                                 as denied when the contractor confirms that the unit is not available, suitable, or
                                 appropriate for the BAH sample.
                                 40The American Community Survey is an ongoing survey administered by the Census
                                 Bureau of around 3.5 million households across the United States. The survey collects
                                 data on the economic, social, housing, and demographic characteristics of communities at
                                 various geographic levels, including states and counties.
                                 41Ifrates are 15 percent above or 10 percent below the previous year’s rates, the total
                                 housing cost is reviewed with more scrutiny to determine if such increases or decreases
                                 are warranted. If determined appropriate, a cap is placed on the percentage of increase or
                                 decrease when compared to the prior year.
                                 42To use the national average percentage difference between anchor points (i.e., housing
                                 types), DOD multiplies the lower anchor point total housing cost by the national average
                                 percentage difference between anchor points.




                                 Page 17                                                         GAO-21-137 Military Housing
            Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 61 of 123




BAH Rate Calculation         Military Compensation Policy uses the final total housing cost as the basis
                             for setting the next year’s BAH rates and makes adjustments, as needed,
                             to calculate BAH rates for each pay grade and dependency status. To do
                             this, DOD uses interpolation to calculate the BAH rate for those pay
                             grades that are not assigned to an anchor point. The anchor points and
                             percentage used to fill in between anchor points are found in DOD’s
                             interpolation table. 43

                             DOD performs additional adjustments as needed. For example, DOD
                             adjusts the without-dependent rate when it falls below 75 percent of the
                             with-dependent rate for the same pay grade. In addition, as part of its
                             housing cost-sharing initiative, DOD calculates 5 percent of the national
                             average BAH rate for each pay grade and dependency status. DOD
                             reduces the local BAH rates by this amount.

                             Results of these efforts produce monthly local BAH rates. DOD’s 2020
                             local monthly BAH rates ranged from $585 (BAH rate for an E1-E4
                             without dependents in the Fort Chaffee/Fort Smith Arkansas area) to
                             $6,162 (BAH rate for an O7-O10 with dependents in the Santa Clara
                             County, California, area). See appendix II for (1) DOD’s BAH housing
                             standards and which pay grades have interpolations performed and (2)
                             the 2020 national average monthly BAH rate by pay grade and
                             dependency status.

BAH Rate Review and          Once BAH rates are calculated and all adjustments made, BAH
Approval                     representatives for each of the services review the total housing costs for
                             their area. According to DOD documentation and a senior DOD official,
                             the representatives have an opportunity to inform DOD of any concerns
                             and identify rates that might need to be adjusted. Following service
                             review, the rates are reviewed and approved by the Military
                             Compensation Policy directorate. DOD begins paying new BAH rates in
                             January of the following year.



                             43DOD’s   interpolation table assigns each pay grade to one of the six anchor points,
                             depending on dependency status. Some pay grades use the total median housing cost
                             and no interpolating (or “filling in”) between anchor points is needed. With the exception of
                             E1-E4 with dependents, to interpolate rates, DOD calculates the difference between the
                             assigned anchor point and the next anchor point and adds a percentage of that difference
                             to the assigned anchor point rate. For E1-E4 with dependents, to calculate the total
                             housing cost, DOD uses the midpoint between a 2-bedroom apartment and 2-bedroom
                             townhouse/duplex.




                             Page 18                                                         GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 62 of 123




DOD Did Not Consistently   DOD has met its minimum sample size data collection targets for some
Meet Minimum Sample-       military housing areas for calculating BAH rates, but has not for other
                           military housing areas, and it has not always used current data. First,
Size Targets for Rental
                           military housing areas have a minimum sample size “housing area target”
Housing Data and           for each housing type. 44 The actual target varied by location, ranging from
Sometimes Did Not Use      30 to 75 rental units per housing type for the 2019 BAH data collection. 45
Current-Year Data          While some military housing areas’ housing types were represented by
                           enough approved rental units to meet the minimum target for the area,
                           others were not. The number of approved rental units varied by military
                           housing area and housing type, ranging from sample sizes as low as 0 to
                           as high as 230 for the 2019 BAH data collection. Based on our analysis of
                           data collected in 2019 for the 2020 BAH rates, for all 1,806 data points
                           (i.e., six housing types for each of the 301 military housing areas), 44
                           percent had fewer than the minimum housing area target (see table 2).




                           44To  determine the minimum “housing area target” for each location, the BAH contractor
                           uses bootstrap sampling techniques to create simulated data sets for each military
                           housing area and housing type by re-sampling the data they have to estimate the number
                           of sample units needed to achieve estimates with a 10-percent margin of error on a 95-
                           percent confidence interval. However, DOD’s use of judgmental sampling has statistical
                           limitations, as it does not produce generalizable results and does not allow DOD to reliably
                           measure the precision.
                           45According  to officials, historical samples suggest that a range of 30 to 75 units generally
                           covers the sample size needed to achieve the target level of precision for the estimated
                           median rent in most areas. For large metropolitan areas, generally more than 75 units are
                           required. The actual housing area target was capped at 75 sample units for purposes of
                           our analysis.




                           Page 19                                                          GAO-21-137 Military Housing
                        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 63 of 123




Table 2: Number and Percentage of the 301 Military Housing Areas That Did Not Meet Department of Defense’s Minimum
Housing Area Target for the 2019 Basic Allowance for Housing Data Collection by Housing Type

                                                                                                                      3-bedroom           4-bedroom
                                                                                 2-bedroom         3-bedroom        single-family       single-family
                                             1-bedroom           2-bedroom       townhouse         townhouse            detached            detached
                                              apartment           apartment        or duplex         or duplex             house               house           Total
Number of housing areas with                            116               91               132              195                110                  144          788
sample size below minimum
housing-area target
Number of housing areas with                            185              210               169              106                191                  157        1,018
sample size at or above
minimum housing-area target
Total                                                   301              301               301              301                301                  301        1,806
Percentage (%) of housing                              39%               30%              44%              65%                37%                  48%          44%
areas with sample size below
minimum housing-area target
Source: GAO analysis of Department of Defense (DOD) data. | GAO-21-137

                                                              Note: There are six anchor points that are associated to six main housing types. DOD allows MHOs
                                                              to substitute an alternative housing type when the housing type is not available or is scarce within the
                                                              military housing area. Specifically, a 3-bedroom apartment can be substituted for a 2-bedroom
                                                              duplex/townhouse and a 5-bedroom single-family house can be substituted for a 4-bedroom single-
                                                              family house. Military housing areas have a minimum sample size housing area target for each
                                                              housing type. According to officials, historical samples suggest that a range of 30 to 75 units
                                                              generally covers the sample size needed to achieve the target level of precision for the estimated
                                                              median rent in most areas. For large metropolitan areas, generally more than 75 units are required.
                                                              The actual housing area target was capped at 75 sample units for purposes of our analysis.



                                                              Second, when the number of sample units collected fell below 16 rental
                                                              units, DOD did not rely solely on the data collected to calculate the total
                                                              housing cost. Instead, DOD used other methods, as noted earlier.
                                                              Specifically, to calculate total housing costs for 2020 BAH rates, DOD
                                                              typically used prior years’ data to calculate a weighted average of the
                                                              current and previous 2 years of data when the sample size of 16 or more
                                                              was not met. For all 1,806 data points (i.e., six housing types for each of
                                                              the 301 military housing areas), 16 percent had fewer than 16 sample
                                                              units for the 2020 BAH rates (see table 3).




                                                              Page 20                                                                 GAO-21-137 Military Housing
                        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 64 of 123




Table 3: Number and Percentage of the 301 Military Housing Areas That Did Not Meet Department of Defense’s Minimum
Threshold of 16 for the 2019 Basic Allowance for Housing Data Collection by Housing Type

                                                                                                                   3-bedroom                 4-bedroom
                                                                                     2-bedroom         3-bedroom single-family             single-family
                                                1-bedroom            2-bedroom       townhouse         townhouse     detached                  detached
                                                 apartment            apartment        or duplex         or duplex      house                     house       Total
Number of housing areas with                                 44               21                31                90               32                   62      280
sample size below minimum
threshold of 16
Number of housing areas with                               257               280               270              211               269                  239    1,526
sample size at or above
minimum threshold of 16
Total                                                      301               301               301              301               301                  301    1,806
Percentage of housing areas                               15%                7%               10%              30%               11%                  21%      16%
with sample size below
minimum threshold of 16
Source: GAO analysis of Department of Defense (DOD) data. | GAO-21-137

                                                              Note: There are six anchor points that are associated to six main housing types. DOD allows military
                                                              housing offices to substitute an alternative housing type when the housing type is not available or is
                                                              scarce within the military housing area. Specifically, a 3-bedroom apartment can be substituted for a
                                                              2-bedroom duplex/townhouse and a 5-bedroom single-family house can be substituted for a 4-
                                                              bedroom single-family house.



                                                              This use of prior year data limits DOD from fully meeting its program
                                                              goal—to use current year data—for certain areas and housing types. It
                                                              also can impart bias into rent estimates if rents are changing in a non-
                                                              random way (that is, consistently increasing or decreasing in prior years).
                                                              Based in part on input we provided during the course of our review, DOD
                                                              officials acknowledged that there are issues with using prior year data in
                                                              lieu of current year data and informed us that they will no longer use this
                                                              approach starting with the 2021 BAH rates. Instead of using prior year
                                                              data, DOD plans to use the national average percentage between
                                                              housing types when minimum sample sizes are not met, according to
                                                              DOD officials. 46

                                                              DOD and MHO officials told us that small sample sizes can happen when
                                                              no properties or a limited number of suitable rental units are available for
                                                              rent during the data collection window for certain housing types.
                                                              According to DOD officials, the process of collecting data on available
                                                              rental units (i.e., not occupied) during the data collection period from

                                                              46To use the national average percentage difference between anchor points (i.e., housing
                                                              types), DOD multiplies the lower anchor point total housing cost by the national average
                                                              percentage between anchor points.




                                                              Page 21                                                                GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 65 of 123




                 March through July helps ensure current information is used to determine
                 the next year’s BAH rates. These officials noted that collecting data
                 outside the timeframe that DOD established and collecting data on
                 already occupied rental units creates a potential for collecting outdated
                 rental information. For example, occupied rental units may have been
                 occupied for a long period of time and therefore the rent charged is not
                 reflective of current market rates. Further, because the data collection
                 period occurs during the year before the rates are set, the rates are
                 already a lagging indicator of the current market. Therefore, expanding
                 the start date would make it even less current. When we spoke with MHO
                 representatives, they told us they were concerned about not being able to
                 meet minimum sample sizes for some housing types, and that they would
                 like to use data they have on recently occupied rental units that
                 servicemembers have rented outside the data availability window. In
                 October 2020, DOD officials told us they would consider allowing recently
                 rented properties, specifically by permitting MHOs to include properties
                 that were available 6 weeks before data collection begins.

                 In addition to DOD’s goal in BAH guidance of having a minimum of 30
                 approved rental units in sample sizes, DOD guidance states that current,
                 valid rental costs are crucial to calculating accurate BAH rates. 47
                 Standards for Internal Control in the Federal Government call for
                 management to rely on quality information to design a process that uses
                 the entity’s objectives and related risks to identify the information
                 requirements needed to achieve the objectives and address the risks in
                 order to achieve key objectives. 48

                 DOD has taken some steps to increase sample size for calculating BAH
                 rates, according to the BAH contractor. Further, a significant change in
                 2013 was made to include rental units that leased at market rate that
                 were or would be available within the availability window. In addition to
                 this, in 2014, DOD implemented recommendations from a contracted
                 study to initiate an early start data-collection period for 40 military housing
                 areas. As a result, these efforts increased sample size of approved rental
                 units. Specifically, based on our analysis of historical data collected in
                 2013 for the 2014 BAH rates, for each of the six housing types across all
                 MHAs, 64 percent of the data points fell below 30 approved rental units

                 47Office
                        of the Under Secretary of Defense for Personnel and Readiness, Office of Military
                 Compensation Policy, A Primer on the Basic Allowance for Housing (BAH) for the
                 Uniformed Services (January 2020).
                 48GAO-14-704G.




                 Page 22                                                     GAO-21-137 Military Housing
         Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 66 of 123




                          for calculating BAH rates. For data collected for the 2015 through 2020
                          BAH rates, about a third of the data points fell below 30 approved rental
                          units each year.

                          However, while some progress has been made, DOD has not fully
                          assessed its process and determined ways to better increase the number
                          of collected and approved sample units of current rental housing data
                          used to determine total housing cost. As noted earlier, during the course
                          of our review DOD officials acknowledged that they would consider using
                          recently available rented property as part of the data collection and
                          decided not to use prior year data when calculating the total housing cost.
                          In addition, DOD officials noted that they are considering using external
                          data to identify current rental units, but they have not implemented this
                          approach because they have not found a single source that contains the
                          information needed to determine if such properties meet DOD’s criteria.
                          According to DOD, these approaches are encouraging and could help
                          DOD increase sample sizes. However, given that BAH is the second-
                          largest component of cash compensation for active-duty servicemembers,
                          it is particularly important for DOD to fully explore all options for collecting
                          the necessary rental housing data that would produce rates that are
                          accurate and reflective of current suitable housing costs.

DOD Annually Updates      DOD annually updates its BAH process guidance and training materials,
the BAH Process           but has not accurately and fully characterized the results of the BAH
                          sampling methodology in guidance. Nor has DOD documented and
Guidance but Has Not
                          communicated its minimum sample-size targets to MHO representatives
Accurately and Fully      involved in the data collection process, according to a senior DOD official
Documented Its Sampling   and the BAH contractor.
Methodology and Sample-
Size Targets              Each year DOD updates its BAH Primer to inform servicemembers, MHO
                          representatives, and others, internal and external to DOD, about how
                          BAH rates are determined. This guidance is meant for a broad audience,
                          according to DOD officials, and was most recently updated in January
                          2020. 49 Each year, the BAH contractor updates and issues internal
                          guidance to inform MHO representatives about the data collection
                          process, including how to enter data into the MHO Portal. In addition to
                          these guidance documents, the BAH contractor produces internal training
                          materials for the MHOs that include information on the BAH data
                          collection program. Further, the MHO Portal is used to communicate

                          49Office
                                 of the Under Secretary of Defense for Personnel and Readiness, Office of Military
                          Compensation Policy, A Primer on the Basic Allowance for Housing (BAH) for the
                          Uniformed Services (January 2020).




                          Page 23                                                     GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 67 of 123




                 guidance to the MHOs, such as the minimum unit size for the local
                 housing area.

                 However, we found that DOD guidance does not fully (1) characterize its
                 sampling methodology or (2) document and communicate minimum
                 sample size targets to MHO representatives involved in the data
                 collection process.

                     Characterize sampling methodology. DOD’s BAH Primer, which
                     informs servicemembers, MHO representatives, and others about how
                     BAH rates are determined, does not accurately characterize the
                     department’s sampling methodology. Specifically, the Primer states
                     that DOD gathers enough data to attain a 95 percent statistical
                     confidence that the estimated median rent is within 10 percent of the
                     true median rent when calculating total housing cost. However,
                     instead of using a statistically generalizable sample that would allow
                     DOD to attain a 95 percent confidence level, DOD uses a judgmental
                     sample to identify rental units. Results from judgmental sampling are
                     not generalizable to the entire population and cannot be used to reach
                     specific confidence levels. 50
                     DOD officials told us they use a judgmental sample because they
                     need to rely on the expertise of MHOs to ensure that servicemembers’
                     BAH rates are truly based on the costs of adequate housing for
                     civilians with comparable income levels in the same areas, as
                     required by law. As noted in the Primer, MHOs’ local expertise is
                     critical to ensuring that the sample units included in the data collection
                     represent adequate housing for servicemembers. When we asked
                     DOD officials about the discrepancy between the statement in the
                     Primer about the 95 percent confidence level and the department’s
                     practice of using a judgmental sample, they acknowledged that they
                     needed to amend their guidance. Specifically, they stated that they
                     should remove the incorrect statement regarding the confidence level
                     and clarify how they characterize their sampling methodology.


                 50The  use of judgmental sampling in selecting sample units for rental housing market
                 rates does not provide data for statistically reliable information on true population
                 characteristics. Specifically, without appropriate methods such as model-based estimation
                 techniques designed to account for selection bias, the results from judgmental sampling
                 are not generalizable to the entire population and cannot be used to reach specific
                 confidence levels. Additionally, a judgmental sample does not protect against bias or allow
                 DOD to characterize the preciseness of the BAH estimates as the existing language in the
                 Primer indicates. Thus, the statement that sampling achieves an estimate with a 95-
                 percent confidence interval that is within 10 percent of the true median is not applicable.




                 Page 24                                                       GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 68 of 123




                     Document and communicate sample size targets. DOD’s BAH
                     guidance states that the minimum sample size target for calculating
                     total housing costs is 30 to 75 rental units, with the exception of
                     military housing areas in large metropolitan areas, which generally
                     require more than 75 approved rental units for a statistically
                     satisfactory sample, and military housing areas in rural and resort
                     areas, which might fall short of 30 approved rental units. However, the
                     guidance does not document that a minimum of 16 rental units is
                     necessary to prevent the use of other methods to determine the total
                     housing cost. MHO officials we interviewed from six of the 301 military
                     housing areas stated that they were not aware that if they collected
                     fewer than 16 rental units (or observations) then DOD would not use
                     the data collected for that housing type and instead rely on another
                     method to determine the total housing cost. MHO officials noted that
                     their focus was on collecting rental units of acceptable quality rather
                     than quantity. Also, some MHO officials told us they were unable to
                     replicate BAH rates for their area using the data in the MHO Portal.
                     We found that this was because the MHO officials we interviewed
                     were unaware that DOD performs additional adjustments to calculate
                     BAH rates. A senior DOD official and the BAH contractor
                     acknowledged that they did not directly inform MHO representatives,
                     but instead informed military service representatives about the
                     adjustments to BAH when the sample size of 16 housing rental units
                     was not met. However, according to the officials we spoke with, we
                     found that the service representatives have not informed their MHOs
                     about the process.
                     Moreover, according to a senior DOD official and the BAH contractor,
                     the number of rental units necessary to achieve a satisfactory sample
                     size is not communicated to the MHOs. As noted earlier, for all 1,806
                     data points, 44 percent had fewer than the minimum target that the
                     contractor determined was necessary to achieve an adequate sample
                     size. Further, based on our analysis, of those military housing areas
                     that needed more than 75 rental units (ranging from 16 to 41,
                     depending on housing type), almost all did not collect that many rental
                     units. According to a senior DOD official and the BAH contractor, they
                     chose not to include the sample size housing-area target on the MHO
                     portal in order to avoid confusion.

                 According to DOD’s directive on the responsibilities and functions of the
                 Under Secretary of Defense for Personnel and Readiness (USD(P&R)),
                 information should be shared as broadly as possible so that information
                 produced as a result of the assigned responsibilities is visible and




                 Page 25                                            GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 69 of 123




                 understandable. 51 Also, the Standards for Internal Control in the Federal
                 Government states that management should document responsibilities in
                 policies and communicate quality information to all levels to achieve the
                 entity’s objectives. 52

                 A clear explanation of the sampling methodology and sample-size targets
                 was not fully documented in guidance because DOD has not
                 systematically reviewed the BAH guidance documents to ensure they
                 accurately and fully cover all key elements of the BAH process that
                 stakeholders need to know. Multiple stakeholders, including DOD officials
                 from the Office of Assistant Secretary of Defense for Sustainment, the
                 services, and MHOs told us that the BAH process to set rates is not
                 completely transparent. For example, an official from the Office of
                 Assistant Secretary of Defense for Sustainment stated that the lack of
                 transparency in the BAH rate-setting process contributes to concerns and
                 questions about the BAH, such as the variance in BAH rates that can
                 occur across different geographic locations and across time by pay grade
                 and dependency status. Until DOD reviews and updates key information
                 in its guidance, DOD’s BAH rate-setting process will lack full transparency
                 and servicemembers and others internal and external to DOD may not
                 understand how rates are set. In addition, MHO staff responsible for data
                 collection may not know the minimum housing area target or the full
                 importance of collecting the minimum number of rental units needed to
                 calculate BAH rates using current data.




                 51DOD Directive 5124.02, Under Secretary of Defense for Personnel and Readiness
                 (USD(P&R)) (June 23, 2008).
                 52GAO-14-704G.




                 Page 26                                                   GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 70 of 123




DOD Has Taken
Some Steps to
Monitor the
Appropriateness of
BAH Rates, but Could
Strengthen Its Efforts
through More
Consistent Monitoring
DOD Has Conducted          DOD’s BAH process includes several reviews for quality assurance. As
Reviews for Quality        noted earlier, each year MHOs review rental housing data collected by
                           the contractor; the contactor verifies all approved rental housing data; the
Assurance
                           Military Compensation Policy directorate reviews and edits the total
                           housing costs provided by the BAH contractor, as appropriate, and
                           housing allowance representatives in the compensation offices of each of
                           the services reviews the final total housing costs for their areas.

                           When MHOs have a concern with the BAH program, such as a change in
                           military housing area boundary, DOD has a process for the MHO to
                           submit a request for a site visit in order for a more thorough review of the
                           military housing area. DOD can conduct up to 10 site visits each year. To
                           inform the 2019 BAH rates, five site visits were conducted. Site visits
                           typically involve officials from the Military Compensation Policy
                           directorate, the BAH contractor, and installation officials. The BAH
                           contractor conducts the initial investigation and during the site visit an in-
                           brief, windshield tour, and out-brief is conducted. Following the site visit,
                           the BAH contractor develops a site visit report containing any issues,
                           findings, and recommendations. Following the report, DOD may
                           recommend actions to the services, which the services vote on.

                           In addition to site visits, the BAH contractor conducts annual site reviews
                           (i.e., windshield tours) at 20 to 25 military housing areas. In 2019, 21 site
                           reviews were conducted. The site reviews are selected based on a variety
                           of factors, including current year sample size and margin of error, BAH
                           population, year of last site review or site visit, and the ability to group
                           multiple site reviews on the same trip. The purpose of the site reviews is
                           to evaluate accuracy, suitability, and appropriateness of minimum,
                           median, and maximum priced units for each housing type. The BAH




                           Page 27                                               GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 71 of 123




                           contractor provides DOD a final report showing each unit evaluated and a
                           determination of whether any units should be excluded from the sample.

DOD Has Performed Ad-      Since at least 2009, DOD had the BAH contractor perform ad-hoc
Hoc Studies of the BAH     studies—sometimes several in a year—to review various topics related to
                           the BAH program, as shown in table 4. According to DOD officials, these
Program, but Has Not
                           topics are often based on proposed improvements in the BAH program
Consistently Monitored     that DOD officials believe need to be examined.
Key Data for Assessing
the Appropriateness of     Table 4: Topics of Ad-Hoc Studies of Department of Defense’s Basic Allowance for
BAH Rates                  Housing, by Year

                            Year                Ad Hoc Study Topic
                            2009                Housing Standards
                            2015                Housing Adequacy Standards for Community Housing
                            2015                Military Housing Office Rent Premiums
                            2016                Unit Size Guidelines
                            2017                Alternate Data Sources
                            2017                Effective Market Areas
                            2017                Housing Profiles
                            2018                Income Based Approach to Basic Allowance for Housing Rates
                            2018                Utility Methodology Comparison
                            2019                Using Alternate Utility Costs
                            2019                County Cost Groups Methodology Review
                            2019                New York City Metro Boundary Review
                           Source: GAO Analysis of Department of Defense’s Ad Hoc Studies. | GAO-21-137



                           While DOD has reviewed various topics related to BAH, we found that
                           DOD has not consistently monitored certain key data that could be used
                           to help ensure that BAH rates are appropriate for servicemembers’ rank
                           and that BAH rates accurately reflect rental housing costs. These key
                           data include: anchor points and interpolation table (filling in between the
                           anchor points), external alternative data, and data monitoring for potential
                           bias.

                           Anchor points and the interpolation table: DOD does not consistently
                           monitor (1) anchor points associated with certain pay grades or the (2)




                           Page 28                                                                        GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 72 of 123




                 interpolation table to assess the appropriateness of BAH rates. 53 Both
                 data sources were last updated in 2009, but, as shown above, the BAH
                 contractor performed ad-hoc studies in 2017 and 2018 that examined
                 changes to the anchor points and interpolation table.

                 The 2017 study conducted by the BAH contractor examined the housing
                 choices of civilians and compared them to those of servicemembers in
                 order to determine whether the BAH program’s current linkages between
                 pay grades and housing types remain appropriate. 54 The study found that
                 the American Housing Survey and American Community Survey data
                 generally support the current linkages between pay grade and housing
                 type and they did not anticipate problems with maintaining the current
                 interpolation table. However, the study also noted that changes to the
                 current interpolation table would have repercussions for the BAH program
                 and DOD’s overall budget and recommended that DOD test the
                 robustness of these results under different scenarios and assumptions.
                 According to a DOD official, since the study supported the current
                 linkages between housing types and pay grades, the recommendation
                 was not implemented; thus, these results were not tested under different
                 scenarios and assumptions and this type of review has not been
                 conducted on a consistent basis. When we raised this issue with a senior
                 department official, the official stated that while no changes to the anchor
                 points or interpolation table were made as a result of this study, data
                 should be reviewed periodically to ensure the linkages remain relevant.

                 The 2018 study conducted by the BAH contractor noted that the anchor
                 point methodology relies on two key assumptions about housing
                 preferences: (1) there is a clear link between pay grades and the housing
                 types occupied by comparable civilians for determining anchor points,
                 and (2) civilians’ housing type choices are consistent between military
                 housing areas. However, the 2018 study found that all military housing
                 areas do not have rental units that match the BAH anchor points and that
                 this mismatch was the leading cause of most of the rate-setting issues for
                 military housing areas. Further, the 2018 study noted that DOD has ways

                 53Anchor  points refer to DOD’s six housing types, ranging from a 1-bedroom apartment to
                 a 4-bedroom single-family house. The interpolation table assigns each pay grade to one of
                 the six anchor points, depending on dependency status. Some paygrades use the total
                 median housing cost and no interpolating (or “filling in”) between anchor points is needed.
                 54Federal law stipulates that servicemembers’ BAH rates must be based on the “costs of
                 adequate housing for civilians with comparable income levels in the same area” and
                 prescribes separate rates for accompanied and unaccompanied personnel.




                 Page 29                                                       GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 73 of 123




                 to address these challenges, such as rate capping, but they do not solve
                 the underlying problem of setting BAH rates based on mismatched or
                 non-existent anchor points within local housing areas. 55

                 The BAH contractor in the 2018 study recommended modifying the
                 current anchor point system in place to allow for regional variation in the
                 pay grade, housing-type linkages used to determine BAH rates. It further
                 noted that by incorporating civilians’ housing choices at the military
                 housing area level, the BAH program could avoid pricing housing types
                 that are not available in certain rental markets. However, according to a
                 DOD official, no changes were implemented and this type of study has
                 not been conducted on a consistent basis.

                 When we asked them about the concerns identified in these studies and
                 the associated recommendations, DOD officials acknowledged that the
                 anchor points and interpolation table should have been updated annually
                 since 2010. While that update has not been performed, they stated that
                 DOD’s 5-year plan includes the goal to annually update the anchor points
                 and interpolation table. DOD officials also acknowledged that the anchor
                 points and interpolation table should be consistently monitored.

                 Information from external data sources: DOD does not consistently
                 monitor or rely on information from external data sources, including rental
                 housing costs, to assess the appropriateness of BAH rates. DOD has
                 conducted several studies that used external data sources to monitor the
                 appropriateness of BAH rates, but does not do so consistently. As noted
                 above, DOD’s BAH contractor performed an ad-hoc study in 2017 that
                 included a comparison of DOD’s BAH rates to external alternative data
                 sources, such as the American Community Survey. The study found that
                 BAH rates are higher than external alternative data sources regarding
                 rental housing costs. 56 It suggested it would be helpful for DOD to look at
                 data from the American Community Survey and monitor trends over time.
                 However, according to a DOD official, this work has not been conducted
                 to date. When we asked DOD officials why trends in the American
                 Community Survey were not monitored over time, as recommended in the
                 2017 study, they said that because the study was conducted prior to a

                 55At  the conclusion of the annual data collection process, DOD reviews and edits the total
                 housing costs to minimize volatility in BAH rates from 1 year to the next. This process may
                 involve placing caps on large increases or decreases when compared to prior years to
                 limit rate volatility.
                 56See  appendix I for more information regarding the American Community Survey and
                 other external alternative methods that may be used to collect housing data.




                 Page 30                                                       GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 74 of 123




                 reorganization in their office, they were not sure why this work had not
                 been done.

                 According to DOD officials in 2020, as a result of ongoing reviews of
                 BAH’s effect on military privatized housing, DOD performed another
                 review comparing BAH rates to external data sources and found BAH
                 rates are less volatile when compared to the American Community
                 Survey, but similar to other alternative data sources. Moreover, BAH rates
                 were generally higher than external alternative data sources regarding
                 rental housing costs. DOD officials also stated that while comparing BAH
                 rates to external alternative data sources is not conducted on a consistent
                 basis, external alternative data, such as private sector data, could be
                 helpful if used in the future on a more consistent basis to evaluate BAH
                 rates.

                 Potential for bias in data collection: DOD has taken some steps to
                 monitor for potential sampling bias. 57 In the 2015 ad hoc study that
                 evaluated rent data from 2010-2014, the BAH contractor compared data
                 collected by the MHOs to the contractor-collected data. The study found
                 evidence of bias and noted that MHO-identified rents were 11.6 percent
                 higher than contractor-identified rents, after controlling for anchor point,
                 year, and military housing area. 58 The study further noted while MHO data
                 may be upwardly biased, it is also possible that contractor-added rental
                 units did not accurately capture the cost of adequate housing either.

                 As a result, DOD instituted steps to annually monitor for this potential
                 bias. Specifically, after the data collection period each year, the BAH
                 contractor compares the median rents collected by the contractor and by
                 the MHOs for each anchor point within the military housing area. This
                 analysis is provided to DOD. According to DOD officials, they monitor
                 these data to see how rents by source vary each year. DOD officials
                 stated that based on their annual reviews of the rent by source data, they
                 have found that the rental data collected by MHO officials are often higher
                 than the rental data collected by the BAH contractor. Officials stated that




                 57Sampling bias can occur due to the use of judgmental sampling. Specifically, DOD’s
                 judgmental sampling methodology creates risk for biased estimates of rent.
                 58The  study’s finding was based on its regression model of national BAH rent data. A
                 regression model is a type of statistical model that investigates relationships among
                 variables.




                 Page 31                                                       GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 75 of 123




                 they try to mitigate this potential bias through their annual BAH training
                 program.

                 In addition, they noted that the 2016 ad-hoc study conducted by the BAH
                 contractor that examined unit size guidelines could provide BAH
                 stakeholders a reference point for what is “typical” in their military housing
                 area for each housing type. The absence of clear guidance on unit size
                 led to disagreements among BAH stakeholders, according to the BAH
                 contractor. According to DOD officials, the BAH contractor developed
                 unit-size guidelines based on a combination of five sources of data,
                 including historical BAH data and external alternative data sources, such
                 as the American Housing Survey and private-sector data, to help mitigate
                 bias and to provide criteria about what is too big or too small for unit
                 sizes. Those guidelines have been in use since the 2016 data collection
                 cycle and, according to DOD officials, can help mitigate bias in the data
                 collection process.

                 However, while DOD has taken some steps to monitor for potential bias,
                 department officials with whom we spoke acknowledged that more action
                 is needed to effectively minimize potential bias, as both the BAH
                 contractor and DOD continue to see evidence of bias. We also identified
                 some evidence of bias. Specifically, in our review of approved rental units
                 collected for 2020 BAH rates, we found that rental units identified by
                 MHOs had rents that were typically higher, on average, than those
                 identified by the contractor. DOD officials acknowledged that the
                 information they annually collect, such as the rent by source could be
                 better used to help determine ways to minimize potential bias. Moreover,
                 while DOD trains MHOs to use substitution of anchor points only when
                 main housing types are not available, we found that substitution was used
                 even when the main anchor point allowed DOD to meet its target.

                 Substitution of housing types can impart bias into rent estimates if the
                 types of housing being substituted are not equivalent in rent. In the 2015
                 ad-hoc study that evaluated rent data from 2010-2014, DOD’s BAH
                 contractor analyzed the effect of anchor point substitution. The study
                 noted that rents were significantly higher when substitution was used.
                 Based on our review of 2020 BAH rate collection data for a 2-bedroom
                 townhome or duplex, we found that the average rent for the substituted
                 housing type (i.e., 3-bedroom apartment) was higher for 84 percent of the
                 military housing areas than the average rent for the 2-bedroom townhome
                 or duplex.




                 Page 32                                              GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 76 of 123




                 DOD Directive 5124.02 requires the Under Secretary of Defense for
                 Personnel and Readiness to develop policies, plans, and programs for
                 compensation of DOD personnel and to ensure that policies and
                 programs are designed and managed to improve standards of
                 performance, economy, and efficiency. 59 Standards for Internal Control in
                 the Federal Government requires that management establish and operate
                 monitoring activities and remediate identified deficiencies on a timely
                 basis. 60 Additionally, these standards call for management to use and rely
                 on quality information from reliable internal and external sources to make
                 informed decisions and evaluate the entity’s performance in achieving key
                 objectives. 61 Moreover, these standards state that these activities should
                 be performed routinely and consistently.

                 However, our review found that DOD has not developed a process for
                 DOD to use quality information to consistently monitor anchor points,
                 interpolation table, external alternative data, and potential bias. Nor does
                 DOD have a process to ensure timely remediation of any identified
                 deficiencies to help ensure that BAH rates are appropriate for
                 servicemembers. By establishing and implementing a process that allows
                 for consistent monitoring of anchor points, interpolation table, external
                 alternative data, and potential bias, as well as timely remediation of any
                 identified deficiencies, DOD will help ensure that BAH rates are
                 appropriate for servicemembers’ rank and that rates accurately reflect the
                 current costs of housing in the private sector.




                 59DOD     Directive 5124.02.
                 60GAO-14-704G.

                 61Quality information is appropriate, current, complete, accurate, accessible, and provided
                 on a timely basis.




                 Page 33                                                        GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 77 of 123




                           DOD followed statutory requirements when it reduced BAH rates and
Congressional              made payments to privatized housing projects to offset the negative
Requirements for           financial effects of BAH rate reductions. Specifically, as required by law,
                           DOD used the national average BAH to calculate the BAH reduction
Calculating Payments       amount and the local BAH to calculate the congressionally mandated
to Privatized Housing      payments. This difference in calculations resulted in some privatized
                           projects receiving congressionally mandated payments that more than
Projects Lessened          offset the BAH reduction in 2019, while other projects received payments
the Financial Effects      that did not fully offset their BAH reductions.
of BAH Reductions,
but Created
Unintended
Distortions
DOD’s Reduction to the     For 2015 through 2020, as part of its housing cost-sharing initiative, DOD
BAH Complied with          reduced BAH rates by the maximum percentage allowed for each year. 62
Congressional              As the law required, DOD used a percentage of the national average
                           monthly housing cost, by pay grade and dependency status, to reduce
Requirements               the BAH rates. Specifically, DOD first took all local BAH rates for each
                           given pay grade and dependency status and calculated the weighted
                           national average of those rates to determine the monthly housing cost for
                           each pay grade and dependency status. 63 DOD then used these weighted
                           national average rates to determine how much each BAH rate should be
                           decreased.

                           For example, for the 2020 BAH, DOD determined that the weighted
                           national average monthly housing cost for an enlisted servicemember
                           with a pay grade of E6 and with dependents was $2,036 per month. DOD
                           then calculated that 5 percent of $2,036 was $102. As such, DOD
                           determined that the BAH rate for each servicemember with a pay grade of
                           E6 and with dependents, regardless of location, should be reduced by


                           62DOD    requested changes to statutory authority to allow for a reduction to the BAH so that
                           it could reinvest savings generated into the force for training and readiness. The National
                           Defense Authorization Acts for Fiscal Years 2015 and 2016 authorized DOD to reduce
                           each local BAH rate by up to a specified percent of the national average BAH rate by 2019
                           in a phased-in approach (a maximum of 1 percent in 2015, 2 percent in 2016, 3 percent in
                           2017, 4 percent in 2018, and 5 percent in 2019 and beyond).
                           63Once  local BAH amounts are determined, using information on the number of
                           servicemembers located within each of the military housing areas, DOD annually
                           calculates the weighted national average BAH for each pay grade and dependency.




                           Page 34                                                         GAO-21-137 Military Housing
                        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 78 of 123




                                                              $102 per month. See table 5 for monthly and annual amounts by which
                                                              the 2020 BAH was reduced for each pay grade and dependency status.

Table 5: Reductions in the Monthly and Annual Basic Allowance for Housing by Pay Grade and Dependency Status, 2020

                                                                          Monthly reductions                  Annual reductions
                                                                                             Without                              Without
                                                                   With dependents        dependents   With dependents         dependents
 Enlisted members
 E01-E04                                                                       $84               $69            $1,008                $828
 E05                                                                            92                83             1,104                 996
 E06                                                                           102                87             1,224               1,044
 E07                                                                           104                89             1,248               1,068
 E08                                                                           109                96             1,308               1,152
 E09                                                                           116                97             1,392               1,164
 Commissioned officers
 O01                                                                            86                78             1,032                 936
 O02                                                                            96                87             1,152               1,044
 O03                                                                           110               100             1,320               1,200
 O04                                                                           127               112             1,524               1,344
 O05                                                                           138               118             1,656               1,416
 O06                                                                           143               127             1,716               1,524
 O07-O10                                                                       148               132             1,776               1,584
 Commissioned officers with over 4 years active service as enlisted members
 O01E                                                                          106                91             1,272               1,092
 O02E                                                                          112               100             1,344               1,200
 O03E                                                                          120               105             1,440               1,260
 Warrant officers
 W01                                                                            88                68             1,056                 816
 W02                                                                           105                89             1,260               1,068
 W03                                                                           111                98             1,332               1,176
 W04                                                                           116               104             1,392               1,248
 W05                                                                           119               103             1,428               1,236
Source: GAO analysis of Department of Defense data. | GAO-21-137




                                                              Because BAH rates were reduced by a set dollar amount, regardless of
                                                              where the servicemember was stationed, the actual percentage of
                                                              reduction varied. Those servicemembers who lived in higher-cost areas
                                                              (i.e., areas where the local BAH was greater than the national average)



                                                              Page 35                                            GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 79 of 123




                           experienced lower percentage decreases than those who lived in lower-
                           cost areas (i.e., areas where the local BAH was less than the national
                           average). For example, the $102 per month reduction was equivalent to
                           about a 2-percent BAH reduction for an E6 with dependents living in San
                           Francisco, California, and about a 10 percent BAH reduction for an E6
                           with dependents living in Johnstown, Pennsylvania.

                           This method of calculating the BAH-reduction amounts is consistent with
                           legal requirements, as well as with how prior reductions to the BAH were
                           calculated. For example, as noted previously, prior to 2002, the BAH was
                           calculated to cover the estimated local-average housing cost for a given
                           pay grade and dependency status, minus 15 percent of the estimated
                           national average housing cost for that pay grade and dependency status.
                           In addition, as DOD noted, implementing reductions in this way is
                           equitable, because it ensures that the amount of the reduction (i.e., the
                           amount that comes “out of pocket” from servicemembers’ total
                           compensation) is the same across any given pay grade and dependency
                           status, regardless of where in the United States a servicemember is
                           stationed.

Congressional              We found that congressional requirements related to how DOD should
Requirements Led to        calculate payments meant to offset the loss of BAH-based rental income
                           for privatized housing projects created some unintended distortions. As
Payments for Privatized
                           noted earlier, privatized housing projects rely on servicemembers’ rent as
Housing Projects That      their primary revenue source. 64 Unlike landlords in the civilian housing
Exceeded or Were Less      market, privatized housing developers are not able to charge
than the BAH Reduction     servicemembers more than the BAH rate. Therefore, just as BAH rates
                           were reduced based on the national average, so, too, were rents paid to
                           privatized housing projects. 65

                           In the National Defense Authorization Acts for fiscal years 2018, 2019,
                           and 2020, Congress required the military departments to make payments


                           64Every project takes in revenue, which consists mostly of rent payments. Privatized
                           housing developers use rents to pay for operating expenses, including administrative
                           costs, day-to-day maintenance, and utilities, among other things. After that, projects
                           generally allocate funds for taxes and insurance, followed by debt payments. According to
                           DOD, the congressionally mandated payments made to developers would likely flow
                           through the financial waterfall like a typical revenue receipt to a privatized housing project.
                           65The rent amount received by the privatized housing projects may not have been
                           reduced for some servicemembers. Specifically, some of these servicemembers’ BAH
                           may be exempt from the reduction due to DOD’s rate protection policy.




                           Page 36                                                          GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 80 of 123




                 to privatized housing projects. The initial impetus for these payments was
                 to lessen the effect of the BAH reduction on the projects. However,
                 Congress stipulated that the payments should be based on a specified
                 percentage of the local BAH rate, rather than the national average. This
                 difference in calculation caused some distortions. Specifically, we found
                 that, for some projects, the congressionally mandated payments to
                 privatized housing projects exceeded the estimated BAH reductions,
                 while for others, the payments fell short. 66

                 For example, in 2019, DOD was authorized to reduce BAH rates by up to
                 5 percent. DOD did so, using the national average, as required by law.
                 DOD was also required to make payments to the privatized housing
                 projects to offset the reduction in the BAH. DOD did so, using a
                 calculation based on 5 percent of the local BAH amount, as required by
                 law.

                 Specifically, to calculate the payment for each eligible privatized housing
                 project in 2019, DOD took 5 percent of the monthly housing cost in the
                 military housing area in which that project was located for each given pay
                 grade and dependency status, as determined through the regular BAH
                 rate-setting process. 67 DOD then multiplied those amounts by the number
                 of servicemembers at each pay grade and dependency who resided at
                 the housing project and totaled them together. For example, for the 2019
                 payment for a housing project located in Santa Clara County, California,
                 DOD took the local monthly housing cost for an enlisted servicemember
                 with a pay grade of E6 and with dependents in that county ($4,590 per
                 month) and calculated that 5 percent of $4,590 was $230 per month.
                 DOD then multiplied $230 by about 374 (the number of servicemembers
                 at the project with a pay grade of E6 and with dependents), and
                 determined that the monthly payment to that project for its E6

                 66The   congressionally mandated payments are made by the military departments to
                 privatized housing projects. These payments are in addition to the rents paid by
                 servicemembers. The actual BAH reduction amount for a project may be under the
                 estimated amount because the estimated amount does not account for those
                 servicemembers whose BAH was not reduced due to rate protection, per DOD guidance,
                 and it includes payments made to the Military Housing Privatization Initiative’s
                 unaccompanied housing projects, which have residents who received only partial BAH
                 payments. Moreover, per DOD guidance, DOD did not make payments for non-
                 servicemembers and for non-married servicemembers who shared a lease in which both
                 members were on the lease. In these cases, the rent may have been reduced as a result
                 of the BAH reduction, but no payment was made.
                 67To calculate the congressionally mandated payment, DOD used the monthly total
                 housing cost prior to the BAH reduction.




                 Page 37                                                    GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 81 of 123




                 servicemembers with dependents was about $86,000 per month or $1.03
                 million in calendar year 2019. DOD followed the same process for each
                 group of servicemembers living in the project and totaled them together,
                 resulting in the final payment to the project for that year.

                 We reviewed Army, Marine Corps, Navy, and Air Force congressionally
                 mandated payments to privatized housing projects in 2019 and found that
                 the Army’s and Air Force’s overall payments to privatized housing
                 projects on their installations were $3.4 million and $3.5 million less,
                 respectively, than the total BAH reduction. By comparison, the Navy’s and
                 Marine Corps’ overall payments were greater than the BAH reduction, by
                 $9 million and $2.7 million, respectively (see table 6).

                 Table 6: Amounts of Congressionally Mandated Payments above or below the Basic
                 Allowance for Housing (BAH) Reduction in 2019
                 In Millions of Dollars

                                             Congressionally                 BAH reduction          Payment above or below
                     Service               mandated payment                      estimatea                   BAH reduction
                     Army                                     $80.26                       $83.70                       $-3.43
                     Navy                                     $45.17                       $36.14                       $9.03
                     Marine Corps                             $24.19                       $21.46                       $2.73
                     Air Force                                $48.00                       $51.52                       $-3.52
                     Total                                  $197.63                       $192.82                       $4.80
                 Source: GAO analysis of Department of Defense (DOD) data. | GAO-21-137
                 a
                  BAH reduction estimate was calculated based on number of servicemembers by pay grade and
                 dependent status in which the privatized housing project received a payment. The actual reduction for
                 a project may be under the estimated amount because it does not account for those servicemembers
                 whose BAH was not reduced due to rate protection, per DOD guidance, and it includes payments
                 made to the unaccompanied housing projects of the Military Housing Privatization Initiative, which
                 has residents who received only partial BAH payments. Moreover, per DOD guidance, payments are
                 not to include non-servicemembers and non-married servicemembers who shared a lease in which
                 both members are on the lease. In these cases the rent may have been reduced as a result of the
                 BAH reduction, but no payment was made.



                 In our review of individual privatized housing projects, we found some
                 large variances between the congressionally mandated payment amounts
                 and the BAH reduction estimate. For example, six privatized housing
                 projects’ payments were more than $1 million greater than the estimated
                 amount by which BAH rates were reduced. Conversely, the payments to
                 six other privatized housing projects were more than $1 million lower than
                 the estimated amount by which BAH rates were reduced (see figure 4).




                 Page 38                                                                            GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 82 of 123




                 Figure 4: Number of Privatized Housing Projects and Amounts That
                 Congressionally Mandated Payments Were above or below the Basic Allowance for
                 Housing (BAH) Reduction Estimate in 2019




                 Note: The BAH reduction estimate was calculated based on number of servicemembers by pay grade
                 and dependent status in which the privatized housing project received a payment. The actual
                 reduction for a project may be under the estimated amount because it does not account for those
                 servicemembers whose BAH was not reduced due to rate protection, per DOD guidance, and it
                 includes payments made to the unaccompanied housing projects of the Military Housing Privatization
                 Initiative, which has residents who received only partial BAH payments. Moreover, per DOD
                 guidance, payments are not to include non-servicemembers and non-married servicemembers who
                 shared a lease in which both members are on the lease. In these cases the rent may have been
                 reduced as a result of the BAH reduction, but no payment was made.



                 As noted above, the original purpose of the congressionally mandated
                 payments was to lessen the effect of the BAH reduction on the projects.
                 Specifically, Congress noted in a 2017 conference report accompanying a
                 bill for the National Defense Authorization Act for Fiscal Year 2018 that
                 the BAH reduction would have an effect on the long-term recapitalization
                 effort for privatized housing and called for payments to be made to
                 lessors of privatized housing projects to effectively nullify the effect of the
                 reduction for those projects. 68 Starting in 2018, Congress required that
                 DOD pay lessors of privatized housing projects a percent of the local BAH



                 68H.R.   Rep. No. 115-404 (2017) (Conf. Rep.).




                 Page 39                                                            GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 83 of 123




                 rate. 69 For 2019, as explained above, Congress required DOD to make
                 payments to privatized housing projects equal to 5 percent of the local
                 BAH rate. 70

                 The purpose of the payments was then broadened. 71 Specifically, for
                 2020, Congress required DOD to pay all privatized housing projects equal
                 to 2.5 percent of the local BAH rate to partially offset the 5 percent BAH
                 reduction. Congress also required the services to pay an additional 2.5
                 percent of the local BAH rates to underfunded privatized housing projects
                 for the purposes of future sustainment, recapitalization, and financial
                 sustainability of the projects.

                 However, because of the distortions described above, we determined that
                 DOD may be paying projects by amounts that are greater than the
                 estimated BAH reduction, even if those projects have not been deemed
                 by DOD to be underfunded. When we raised the issue that BAH
                 reductions may be more or less than the congressionally mandated
                 payments, depending on the location of the privatized housing projects,
                 DOD officials acknowledged that these variances between the BAH
                 reductions and the congressionally mandated payments have occurred,
                 but stated that they calculated each in accordance with legal
                 requirements.

                 To date, Congress has not revised the National Defense Authorization
                 Act provisions to require DOD’s payments to privatized housing projects
                 to be calculated based on the national average BAH rate. Doing so would
                 be consistent with how DOD has been required, by law, to calculate the


                 69As required in the National Defense Authorization Acts for Fiscal Years 2018 and 2019,
                 the percentage of local BAH used to calculate the congressionally mandated payment was
                 1 percent from January through December of 2018, plus another 5 percent from
                 September through December of that year. In calendar year 2018, the percentage of the
                 BAH reduction was not the same as the percentage used for the congressionally
                 mandated payment. Specifically, the BAH reduction in calendar year 2018 was 4 percent.
                 70Incalendar year 2019, the percentage of the BAH reduction was the same as the
                 percentage used for the congressionally mandated payment.
                 71Underfunded    projects are to be identified by the Chief Housing Officer of the Department
                 of Defense, in conjunction with the Secretaries of the military departments. The
                 responsibilities of the DOD Chief Housing Officer include the creation and standardization
                 of policies and processes regarding housing units, and the oversight of the administration
                 of any DOD-wide policies regarding housing units to include, in coordination with the
                 military departments, the Military Housing Privatization Initiative Tenant Bill of Rights and
                 Military Housing Privatization Initiative Tenant Responsibilities document.




                 Page 40                                                         GAO-21-137 Military Housing
        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 84 of 123




                         BAH reduction and which, as discussed earlier, allows DOD officials to
                         ensure that the reduction in BAH affects servicemembers equitably.

                         Unless Congress take steps to ensure that payments to privatized
                         housing projects are calculated using the national BAH rate, some
                         privatized housing projects will continue to receive payments that are less
                         than intended, thereby potentially hindering those projects’ ability to
                         maintain quality housing for servicemembers. Conversely, some
                         privatized housing projects will continue to receive payments that are
                         more than intended, thereby increasing revenue more than is warranted,
                         in some cases by $1 million or more.

                         DOD has long provided BAH to servicemembers as one of the largest
Conclusions              parts of their cash compensation. To that end, DOD spends billions of
                         dollars each year to pay BAH to approximately 1 million servicemembers.
                         The process for setting BAH is essential to help ensure that DOD
                         provides suitable housing for servicemembers and their dependents. We
                         found that DOD generally has met its goal of providing housing
                         allowances to help cover costs of suitable housing in the private sector,
                         but has not collected the required number of sample units for all locations
                         to help ensure BAH rates are accurate. If DOD does not assess its
                         process for collecting sample units, the department will continue to be
                         limited in its ability to set accurate BAH rates. Additionally, we found that
                         guidance documents on the BAH process do not accurately reflect or
                         include details about key elements of the department’s sampling
                         methodology. By reviewing and updating its guidance, DOD will help
                         ensure that all stakeholders involved in the process, including the MHOs,
                         understand how BAH rates are determined, as well as better appreciate
                         the importance of collecting the minimum number of units needed to
                         calculate BAH rates using current data.

                         We also found that DOD has taken some steps to collect and monitor
                         data used for setting BAH rates; however, DOD has not consistently
                         relied on certain key types of data used in monitoring to set accurate BAH
                         rates. Housing cost trends have not been consistently monitored over
                         time and compared against the BAH. In addition, DOD does not have a
                         process that uses quality information to monitor external alternative data
                         sources and other data known as anchor points or the interpolation table,
                         and does not effectively mitigate the potential bias that can occur when
                         selecting rental housing data to include in its data collection. By
                         establishing and implementing a process that allows for consistent
                         monitoring of key data, consistent use of quality information, and timely
                         remediation of any identified deficiencies, DOD would help ensure that


                         Page 41                                              GAO-21-137 Military Housing
        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 85 of 123




                         BAH rates are appropriate for servicemembers’ rank and that rates reflect
                         the current costs of housing in the private sector.

                         BAH is significant, not only as a core component of servicemembers’
                         cash compensation, but also as the primary revenue source for privatized
                         housing projects. Privatized housing developers rely on servicemembers’
                         BAH payments, in part, to maintain quality housing. As such, Congress
                         authorized DOD to make payments to privatized housing projects to offset
                         a reduction in BAH. However, by requiring BAH reductions to be reduced
                         by the national BAH rate and the congressionally mandated payments to
                         privatized housing projects be based on the local BAH rate, Congress
                         created unintended distortions in payments to the projects. Until
                         Congress takes steps to ensure that payments are calculated based on
                         the national average, consistent with BAH reductions, these distortions
                         will continue.

                         Congress should consider revising the calculation for payments for
Matter for               privatized housing projects so that the payments are based on national
Congressional            average rates, consistent with the calculation for the BAH rate reduction.
Consideration
                         We are making three recommendations to DOD.
Recommendations for
Executive Action         The Secretary of Defense should ensure that the Military Compensation
                         Policy directorate within the Office of the Deputy Assistant Secretary of
                         Defense for Military Personnel Policy, in coordination with the military
                         services, (1) assesses its process for collecting rental property data to
                         determine ways to increase sample size of current representative data
                         and (2) ensures sample size targets are met. (Recommendation 1)

                         The Secretary of Defense should ensure that the Military Compensation
                         Policy directorate within the Office of the Deputy Assistant Secretary of
                         Defense for Military Personnel Policy, in coordination with the military
                         services, reviews and updates BAH guidance to ensure that information
                         about the BAH rate-setting process, including its sampling methodology
                         and use of minimum sample-size targets, is accurately and fully reflected.
                         (Recommendation 2)

                         The Secretary of Defense should ensure that the Military Compensation
                         Policy directorate within the Office of the Deputy Assistant Secretary of
                         Defense for Military Personnel Policy, in coordination with the military
                         services, establishes and implements a process for consistently
                         monitoring anchor points, the interpolation table, external alternative data,


                         Page 42                                              GAO-21-137 Military Housing
        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 86 of 123




                         and any indications of potential bias by using quality information to set
                         BAH rates and ensuring timely remediation of any identified deficiencies.
                         (Recommendation 3)

                         We provided a draft of this report to DOD for review and comment. In its
Agency Comments          written comments, reprinted in their entirety in appendix III, DOD
and Our Evaluation       concurred with two recommendations (Recommendations 2 and 3) and
                         partially concurred with Recommendation 1. DOD also provided technical
                         comments, which we incorporated in the report as appropriate.

                         DOD partially concurred with our recommendation that the department (1)
                         assess its process for collecting rental property data to determine ways to
                         increase sample size of current representative data and (2) ensure
                         sample size targets are met. In its comments, DOD stated it is evaluating
                         aspects of its data collection to increase sample sizes where is it possible
                         to do so; however, DOD stated it disagrees that sample size targets
                         should be met in every case. Specifically, DOD stated that low sample
                         sizes often reflect the limited availability of housing stock of a particular
                         housing type within a military housing area rather than a failure of data
                         collection. As noted in our report, we acknowledge that the lack of
                         adequate housing may prevent DOD from meeting sample size targets in
                         certain military housing areas; however, we continue to believe that DOD
                         should take steps to increase its sample size to help ensure sample size
                         targets are met. In doing so, DOD will be better positioned to produce
                         rates that are accurate and reflective of current suitable housing costs,
                         consistent with the stated goals of the program.

                         We are sending copies of this report to the appropriate congressional
                         committees, the Secretary of Defense, the Secretary of Homeland
                         Security, and the Under Secretary of Defense for Personnel and
                         Readiness. In addition, the report is available at no charge on our website
                         at https://www.gao.gov.




                         Page 43                                              GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 87 of 123




                 If you or your staff have any questions about this report, please contact
                 me at (202) 512-2775 or FieldE1@gao.gov. Contact points for our Offices
                 of Congressional Relations and Public Affairs may be found on the last
                 page of this report. Key contributors to this report are listed in appendix
                 IV.




                 Elizabeth A. Field
                 Director, Defense Capabilities and Management




                 Page 44                                            GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 88 of 123


Appendix I: Overview of Alternative Federal
                           Appendix I: Overview of Alternative Federal
                           Government Methods for Collecting Housing
                           Data

Government Methods for Collecting Housing
Data
The Federal Government     We found the following three sources of nationally representative and
Has Sources for Housing    publicly available housing data that is produced by federal government
                           agencies excluding the Department of Defense (DOD).
Data That Is Nationally
Representative and         American Community Survey: The U.S. Census Bureau conducts this
Publicly Available         annual survey that is designed to provide communities with reliable and
                           timely data on social (citizenship status, educational attainment, language
                           spoken at home, marital status), economic (class of worker, employment
                           status, health insurance coverage, income and earnings, place of work)
                           housing (occupancy/vacancy status, rent, rooms/bedrooms), and
                           demographic characteristics (age and sex, race, total population). The
                           survey has an annual sample size of about 3.5 million addresses, with
                           survey information collected continuously throughout the year and
                           released annually for all areas by combining the latest 5 years of data.

                           The Census Bureau uses data collected in the American Community
                           Survey to provide estimates on a broad range of population, housing unit,
                           and household characteristics for states, counties, cities, school districts,
                           congressional districts, census tracts, block groups, and many other
                           geographic areas. The federal government uses American Community
                           Survey information to evaluate the need for federal programs and to run
                           those programs effectively. For example, the U.S. Department of Housing
                           and Urban Development uses the Census Bureau’s American Community
                           5-year gross-rent data collected for two-bedroom units as the base rents
                           for its Fair Market Rents calculations.

                           American Housing Survey: The U.S. Census Bureau conducts this
                           survey for the U.S. Department of Housing and Urban Development every
                           odd-numbered year. The purpose of the American Housing Survey is to
                           provide up-to-date information about the nation’s housing and measures
                           changes in housing stock as it ages, including looking at the physical
                           condition of homes and neighborhoods, the cost of maintaining homes,
                           and the demographics of the individuals who occupy these homes. The
                           American Housing Survey surveys the same housing units each period,
                           adding new units to the sample each survey to adjust for new
                           construction and the changing demographic characteristics of the United
                           States. The survey samples approximately 115,000 housing units each
                           odd-numbered year, and includes geographic identifiers for Census
                           Division and the 15 largest Core-based Statistical Areas.

                           American Housing Survey data can be used to monitor supply and
                           demand, as well as changes in housing quality and housing costs, to
                           assess the housing needs of homeowners and renters, and to design and


                           Page 45                                              GAO-21-137 Military Housing
         Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 89 of 123


                          Appendix I: Overview of Alternative Federal
                          Government Methods for Collecting Housing
                          Data




                          administer housing policies and laws. For example, the U.S. Department
                          of Housing and Urban Development uses the American Housing Survey
                          to create a biennial Worst Case Needs report to Congress, improve the
                          efficiency and effectiveness of housing programs, and design programs
                          appropriate for different target groups, such as low-income families, first-
                          time home buyers, and the elderly. The U.S. Department of Housing and
                          Urban Development also uses the data to allocate funds to resolve
                          housing problems, determine qualifications for low-income housing
                          assistance programs, and plan community development, such as roads
                          and schools.

                          Consumer Expenditure Quarterly Interview Survey: The U.S. Census
                          Bureau is the data collection agent for the U.S. Bureau of Labor Statistics
                          Consumer Expenditure Survey. The survey is administered quarterly and
                          collects information on U.S. households’ incomes, expenditures, and
                          demographics. The U.S. Bureau of Labor Statistics primarily uses these
                          data to update the Consumer Price Index. The Consumer Expenditure
                          Quarterly Interview Survey targets large, recurring expenditures (such as
                          rent, utilities, and mortgage payments). Each household is interviewed for
                          four consecutive quarters. Data are also collected on a rolling basis so
                          that annual data will include households that have been interviewed one
                          to four times. The Consumer Expenditure Quarterly Interview Survey
                          surveys a nationally representative sample of approximately 50,400
                          households each year.

Alternative Federal       DOD’s Basic Allowance for Housing (BAH) process is similar to the other
Government Housing Data   federal agencies surveys described above in that they all collect housing
                          cost data. However, each has different purposes and methodologies for
Sources Have Different
                          doing so. For example, the purpose of DOD’s BAH process is to provide
Purposes and              fair housing allowances to servicemembers. The purpose of the American
Methodologies than the    Community Survey is to provide communities with reliable and timely
Department of Defense’s   social, economic, housing, and demographic data. However, the purpose
Basic Allowance for       of the American Housing Survey is to provide up-to-date information
                          about the nation’s housing and it measures changes in housing stock as it
Housing                   ages. Lastly, the purpose of the Consumer Expenditure Quarterly
                          Interview Survey is to find out how Americans spend their money.

                          DOD’s BAH process collects rental housing costs data as part of its
                          methodology; however, the external alternative methods have not
                          collected data solely about rental housing costs. The American
                          Community Survey, the American Housing Survey, and the Consumer
                          Expenditure Quarterly Interview Survey collect information on the housing
                          unit and some of these units may be rentals or owned. Table 7 below


                          Page 46                                              GAO-21-137 Military Housing
                Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 90 of 123


                                              Appendix I: Overview of Alternative Federal
                                              Government Methods for Collecting Housing
                                              Data




                                              describes DOD’s BAH process for collecting rental-housing data
                                              compared to external alternative methods.

Table 7: DOD’s Basic Allowance for Housing Process for Collecting Rental Housing Data Compared to External Alternative
Methods

                                                                                                               Consumer
              Basic Allowance                        American                     American                     Expenditure Quarterly
              for Housing                            Community Survey             Housing Survey               Interview Survey
Purpose       To provide fair housing                To provide communities       To provide up-to-date      To find out how
              allowances to servicemembers,          with reliable and timely     information about nation’s Americans spend their
              determined by DOD to enable            social, economic,            housing and measures       money.
              members to afford suitable rental      housing, and                 changes in housing stock
              housing near their duty location       demographic data.            as it ages.
              based on geographic duty
              location, pay grade, and
              dependent status.
Data          Rental housing and utilities.          Social, economic,            Wide range of housing        Large, recurring
Collected                                            housing, and                 subjects.                    expenditures and
                                                     demographic                                               expenditures that occur
                                                     characteristics.                                          on a regular basis.
Timeframe     Annually in the spring and             Data collected               Biennially between May       Quarterly survey
              summer.                                continuously throughout      and September in odd-        conducted on a rolling
                                                     the year.                    numbered years.              basis.
Geographic    Includes about 300 Military      5-year estimates include           Includes national data and Sample of 91 selected
Location      Housing Areas; which are defined nearly all geographic              35 metropolitan areas.     metropolitan and rural
              by sets of zip codes.            areas, census tracts and                                      areas.
                                               block groups. However,
                                               1-year data are produced
                                               for geographic areas with
                                               at least 65,000 people.
Housing       Rental costs are collected for six     Data are collected for all   Data are collected for all   Data are collected for all
types         standard housing types used as         housing units.               housing units.               housing units.
              anchor points.a
Sample Size   For each anchor point in each          Annual sample size of        The 2017 sample was          Annual sample size of
              Military Housing Area, the goal is     about 3.5 million selected   comprised of 114,860         approximately 50,400 or
              to have a minimum of 30                by complex random            housing units selected by    4,200 units each month
              approved units. Samples are            sampling methodology.b       complex random sampling      selected by complex
              judgmentally selected.                                              methodology.c                random sampling
                                                                                                               methodology.d
Available     Data obtained on available/vacant Data obtained from unit           Data obtained from unit      Data are obtained from
              rental units.                     occupant or from other            occupant or from other       occupant.
                                                sources if vacant.                sources if vacant.




                                              Page 47                                                          GAO-21-137 Military Housing
                        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 91 of 123


                                                              Appendix I: Overview of Alternative Federal
                                                              Government Methods for Collecting Housing
                                                              Data




                                                                                                                                      Consumer
                      Basic Allowance                                   American                       American                       Expenditure Quarterly
                      for Housing                                       Community Survey               Housing Survey                 Interview Survey
Suitable              Unsuitable/Out of Scope:                          Unsuitable/Out of Scope:       Unsuitable/Out of Scope:       Unsuitable/Out of Scope:
                           Mobile home                                       units that have been           group quarters                 living on base
                           Seasonal units                                    demolished                     railroad cars                  nursing homes
                           One-room units                                    business or non-               business storage or            prisons
                                                                             residential unit               non-residential unit
                           Furnished units                                                                                                 under construction
                                                                        Census tracts are not               units unfit for human
                           Low-income                                   excluded from rental data                                          non-residential
                                                                                                            habitation
                           Lavish units                                 collection.                                                   Census tracts are not
                                                                                                       Census tracts are not          excluded from rental data
                      The military housing offices                                                     excluded from rental data
                      identify census tracts to be                                                                                    collection.
                                                                                                       collection.
                      excluded from rental data
                      collection based on reasons such
                      as high crime rate, and
                      environmental concerns. The
                      military housing offices and the
                      BAH contractor should follow unit
                      size guideline specific to each
                      Military Housing Area and housing
                      type. The military housing offices
                      can deem units unsuitable based
                      on judgment.
Source: GAO analysis of Department of Defense and Census Bureau data. | GAO-21-137
                                                              a
                                                               There are six anchor points that are associated to six main housing types: 1-bedroom apartment; 2-
                                                              bedroom apartment; 2-bedroom townhouse/duplex; 3-bedroom townhouse/duplex; 3-bedroom single-
                                                              family detached house; and 4-bedroom single-family detached house. DOD allows some housing
                                                              types to be substituted for an alternative housing type when the standard housing type is not
                                                              available or is scarce within the military housing area. Specifically, a 3-bedroom apartment can be
                                                              substituted for a 2-bedroom duplex/townhouse and a 5-bedroom single-family house can be
                                                              substituted for a 4-bedroom single-family house.
                                                              b, c, d
                                                                    These surveys each include data collected on housing units that could be rentals or owned.




Alternative Approach to                                       The 13th Quadrennial Review of Military Compensation was directed in its
Military Compensation                                         charter to determine whether the structure of the current military
                                                              compensation system, as a system of basic pay, housing and
That Does Not Include
                                                              subsistence allowances, and tax advantage remains appropriate, or
Rental Housing Data                                           whether an alternate compensation structure, such as a salary system,
                                                              would enhance readiness and better enable DOD to recruit and retain
                                                              tomorrow's military force. Such an alternative compensation structure
                                                              would not rely on local rental housing data. However, based on the




                                                              Page 48                                                                GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 92 of 123


                 Appendix I: Overview of Alternative Federal
                 Government Methods for Collecting Housing
                 Data




                 analysis performed, DOD recommended in its December 2020 report that
                 that the current compensation system be retained. 1




                 1DOD, Report of the Thirteenth Quadrennial Review of Military Compensation Volume I.
                 Main Report (December 2020).




                 Page 49                                                    GAO-21-137 Military Housing
                        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 93 of 123


Appendix II: Interpolation Table and National                  Appendix II: Interpolation Table and National
                                                               Average Basic Allowance for Housing (BAH)
                                                               Rates for Servicemembers in 2020

Average Basic Allowance for Housing (BAH)
Rates for Servicemembers in 2020
                                                               The Department of Defense (DOD) established separate housing types
                                                               that are associated with six anchor points for servicemembers with and
                                                               without dependents and established a method to ensure that allowance
                                                               rates would increase with each pay grade. Each of the six anchor points
                                                               are assigned to a pay grade and dependency status. For example, an
                                                               enlisted E5 with dependent is the anchor point for a 2-bedroom
                                                               townhouse or duplex. For those pay grades that are not assigned to an
                                                               anchor point, DOD uses interpolation (or “filling in” between anchor
                                                               points) to calculate the BAH rate. With the exception of E1-E4 with
                                                               dependents, to interpolate rates, DOD calculates the difference between
                                                               the assigned anchor point and the next anchor point and adds a
                                                               percentage of that difference to the assigned anchor point rate. For E1-E4
                                                               with dependents, to calculate the total housing cost, DOD uses the
                                                               midpoint between a 2-bedroom apartment and 2-bedroom
                                                               townhouse/duplex. See table 8 for DOD’s BAH housing standards,
                                                               anchor points, and whether interpolation is performed for each pay grade
                                                               and dependency status.

Table 8: Basic Allowance for Housing Standards and Interpolation a between Anchor Points Performed

 Housing type (anchor point)                                       With dependent pay grade                              Without dependent pay grade
                                                      Enlisted          Warrant       Commissioned             Enlisted        Warrant         Commissioned
                                                      members           officers      officersb                members         officers        officersb
 1-bedroom apartment (1)                                 ——                ——           ——                       E1-E4           ——              ——
                                                                                                                 E5*
 2-bedroom apartment (2)                                E1-E4*             ——           ——                       E6-E7*          W1*             O1
                                                                                                                                                 O2*
 2-bedroom townhouse or duplex (3)                      E5                 ——           O1-O2*                   E8-E9*          W2-W3*          O1E
                                                                                                                                                 O2E*
                                                                                                                                                 O3*
 3-bedroom townhouse or duplex (4)                      E6                 W1-W2*       O1E-O2E*                  ——             W4-W5*          O3E
                                                        E7-E8*                          O3*                                                      O4-O5*
 3-bedroom single family detached                       E9*                W3           O3E*                     ——              ——              O6
 house (5)                                                                 W4-W5*       O4*                                                      O7-O10*
 4-bedroom single family detached                       ——                 ——           O5                       ——              ——              ——
 house (6)                                                                              O6-O10*
Legend:

   = anchor point
* = requires interpolation
—— = not applicable, does not exist for the housing type
Source: GAO analysis of Department of Defense (DOD) information. | GAO-21-137
                                                               a
                                                                Interpolating is the filling in between anchor points. With the exception of E1-E4 with dependents, to
                                                               interpolate rates, DOD calculates the difference between the assigned anchor point and the next




                                                               Page 50                                                                 GAO-21-137 Military Housing
               Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 94 of 123


                                        Appendix II: Interpolation Table and National
                                        Average Basic Allowance for Housing (BAH)
                                        Rates for Servicemembers in 2020




                                        anchor point and adds a percentage of that difference to the assigned anchor point rate. To calculate
                                        BAH rate for E1-E4 with dependents, DOD uses the midpoint between a 2-bedroom apartment and 2-
                                        bedroom townhouse/duplex.
                                        b
                                         Pay grades of O1E, O2E, and O3E represent commissioned officers with over 4 years active service
                                        as enlisted members.



                                        Results of these efforts produce monthly local BAH rates for all pay
                                        grades by dependency status. See table 9 for the 2020 national
                                        averages—monthly and annual—for the BAH rate and BAH amount by
                                        pay grade and dependency status.

Table 9: Monthly and Annual National Averages for the Basic Allowance for Housing (BAH) Rates by Pay Grade and
Dependency Status, Calendar Year 2020

                                               Monthly national average BAH rate              Annual national average BAH amount
                                                                                Without                                          Without
                                              With dependents                dependents        With dependents                dependents
Enlisted members
E01                                                        $1,519                  $1,177                 $18,226                  $14,129
E02                                                        $1,561                  $1,361                 $18,732                  $16,336
E03                                                        $1,642                  $1,324                 $19,708                  $15,882
E04                                                        $1,589                  $1,306                 $19,070                  $15,673
E05                                                        $1,741                  $1,575                 $20,893                  $18,904
E06                                                        $1,934                  $1,659                 $23,208                  $19,911
E07                                                        $1,980                  $1,694                 $23,754                  $20,331
E08                                                        $2,074                  $1,838                 $24,887                  $22,054
E09                                                        $2,200                  $1,854                 $26,399                  $22,243
Commissioned officers
O01                                                        $1,629                  $1,484                 $19,552                  $17,805
O02                                                        $1,830                  $1,660                 $21,957                  $19,920
O03                                                        $2,101                  $1,902                 $25,206                  $22,828
O04                                                        $2,410                  $2,134                 $28,917                  $25,606
O05                                                        $2,615                  $2,245                 $31,380                  $26,941
O06                                                        $2,717                  $2,426                 $32,603                  $29,112
O07-O10                                                    $2,818                  $2,503                 $33,813                  $30,040
Commissioned officers with over 4 years active service as enlisted members
O01E                                                       $2,014                  $1,725                 $24,167                  $20,699
O02E                                                       $2,126                  $1,902                 $25,506                  $22,824
O03E                                                       $2,276                  $2,006                 $27,313                  $24,072
Warrant officers
W01                                                        $1,675                  $1,283                 $20,105                  $15,396




                                        Page 51                                                              GAO-21-137 Military Housing
                         Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 95 of 123


                                                               Appendix II: Interpolation Table and National
                                                               Average Basic Allowance for Housing (BAH)
                                                               Rates for Servicemembers in 2020




                                                                          Monthly national average BAH rate      Annual national average BAH amount
                                                                                                     Without                                 Without
                                                                          With dependents         dependents      With dependents         dependents
 W02                                                                               $1,991               $1,688            $23,888             $20,256
 W03                                                                               $2,105               $1,858            $25,263             $22,292
 W04                                                                               $2,201               $1,970            $26,408             $23,640
 W05                                                                               $2,265               $1,962            $27,178             $23,549
Source: GAO analysis of Department of Defense information. | GAO-21-137




                                                               Page 52                                                      GAO-21-137 Military Housing
     Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 96 of 123


Appendix III: Comments from the
                       Appendix III: Comments from the Department
                       of Defense


Department of Defense




             Page 53                                                GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 97 of 123


                  Appendix III: Comments from the Department
                  of Defense




        Page 54                                                GAO-21-137 Military Housing
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 98 of 123


                  Appendix III: Comments from the Department
                  of Defense




        Page 55                                                GAO-21-137 Military Housing
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 99 of 123


Appendix IV: GAO Contact and Staff
                        Appendix IV: GAO Contact and Staff
                        Acknowledgments


Acknowledgments

                        Elizabeth A. Field, Director, (202) 512-2775 or FieldE1@gao.gov.
GAO Contact
                        In addition to the contact above, the following are key contributors to this
Staff                   report: Lori Atkinson (Assistant Director), Stephanie Santoso (Analyst in
Acknowledgments         Charge), Vincent Buquicchio, Christopher Gezon, Cynthia Grant, Dawn
                        Godfrey, Terence Lam, Stephanie Moriarty, Richard Powelson, Terry
                        Richardson, Khristi Wilkins, and John Van Schaik.




                        Page 56                                              GAO-21-137 Military Housing
    Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 100 of 123


Related GAO Products  Related GAO Products




                      Military Housing: DOD Needs to Strengthen Oversight and Clarify Its Role
                      in the Management of Privatized Housing. GAO-20-281. Washington,
                      D.C.: March 26, 2020.

                      Military Housing: Preliminary Recommendations to Strengthen DOD’s
                      Oversight and Monitoring of Privatized Housing. GAO-20-471T.
                      Washington, D.C.: March 3, 2020.

                      Military Housing Privatization: Preliminary Observations on DOD’s
                      Oversight of the Condition of Privatized Military Housing. GAO-20-280T.
                      Washington, D.C.: Dec. 3, 2019.

                      Military Housing Privatization: DOD Should Take Steps to Improve
                      Monitoring, Reporting, and Risk Assessment. GAO-18-218. Washington,
                      D.C.: March 13, 2018.

                      Defense Infrastructure: Army Has a Process to Manage Litigation Costs
                      for the Military Housing Privatization Initiative. GAO-14-327. Washington,
                      D.C.: April 3, 2014.

                      Military Housing: Information on the Privatization of Unaccompanied
                      Personnel Housing. GAO-14-313. Washington, D.C.: March 18, 2014.

                      Military Housing: Enhancements Needed to Housing Allowance Process
                      and Information Sharing among Services. GAO-11-462. Washington,
                      D.C.: May 16, 2011.

                      Military Personnel: Military and Civilian Pay Comparisons Present
                      Challenges and Are One of Many Tools in Assessing Compensation.
                      GAO-10-561R. Washington, D.C.: April 1, 2010.

                      Military Housing Privatization: DOD Faces New Challenges Due to
                      Significant Growth at Some Installations and Recent Turmoil in the
                      Financial Markets. GAO-09-352. Washington, D.C.: May 15, 2009.

                      Military Housing: Management Issues Require Attention as the
                      Privatization Program Matures. GAO-06-438. Washington, D.C.: April 28,
                      2006.

                      Military Housing: Further Improvements Needed in Requirements
                      Determinations and Program Review. GAO-04-556. Washington, D.C.:
                      May 19, 2004.



                      Page 57                                            GAO-21-137 Military Housing
           Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 101 of 123


                             Related GAO Products




                             Military Housing: Better Reporting Needed on the Status of the
                             Privatization Program and the Costs of Its Consultants. GAO-04-111.
                             Washington, D.C.: October 9, 2003.

                             Military Housing: Opportunities That Should Be Explored to Improve
                             Housing and Reduce Costs for Unmarried Junior Servicemembers.
                             GAO-03-602. Washington, D.C.: June 10, 2003.

                             Military Housing: Management Improvements Needed as the Pace of
                             Privatization Quickens. GAO-02-624. Washington, D.C.: June 21, 2002.

                             Military Housing: DOD Needs to Address Long-Standing Requirements
                             Determination Problems. GAO-01-889. Washington, D.C.: August 3,
                             2001.

                             DOD Personnel: Improvements Made to Housing Allowance Rate-Setting
                             Process. GAO-01-508. Washington, D.C.: April 16, 2001.

                             Military Housing: Continued Concerns in Implementing the Privatization
                             Initiative. GAO/NSIAD-00-71. Washington, D.C.: March 30, 2000.

                             Military Housing: Privatization Off to a Slow Start and Continued
                             Management Attention Needed. GAO/NSIAD-98-178. Washington, D.C.:
                             July 17, 1998.




(103937)
                             Page 58                                           GAO-21-137 Military Housing
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 102 of 123




                            The Government Accountability Office, the audit, evaluation, and investigative
GAO’s Mission               arm of Congress, exists to support Congress in meeting its constitutional
                            responsibilities and to help improve the performance and accountability of the
                            federal government for the American people. GAO examines the use of public
                            funds; evaluates federal programs and policies; and provides analyses,
                            recommendations, and other assistance to help Congress make informed
                            oversight, policy, and funding decisions. GAO’s commitment to good government
                            is reflected in its core values of accountability, integrity, and reliability.

                            The fastest and easiest way to obtain copies of GAO documents at no cost is
Obtaining Copies of         through our website. Each weekday afternoon, GAO posts on its website newly
GAO Reports and             released reports, testimony, and correspondence. You can also subscribe to
                            GAO’s email updates to receive notification of newly posted products.
Testimony
Order by Phone              The price of each GAO publication reflects GAO’s actual cost of production and
                            distribution and depends on the number of pages in the publication and whether
                            the publication is printed in color or black and white. Pricing and ordering
                            information is posted on GAO’s website, https://www.gao.gov/ordering.htm.
                            Place orders by calling (202) 512-6000, toll free (866) 801-7077, or
                            TDD (202) 512-2537.
                            Orders may be paid for using American Express, Discover Card, MasterCard,
                            Visa, check, or money order. Call for additional information.

                           Connect with GAO on Facebook, Flickr, Twitter, and YouTube.
Connect with GAO           Subscribe to our RSS Feeds or Email Updates. Listen to our Podcasts.
                           Visit GAO on the web at https://www.gao.gov.

                           Contact FraudNet:
To Report Fraud,
                           Website: https://www.gao.gov/fraudnet/fraudnet.htm
Waste, and Abuse in
                           Automated answering system: (800) 424-5454 or (202) 512-7700
Federal Programs
                           Orice Williams Brown, Managing Director, WilliamsO@gao.gov, (202) 512-4400,
Congressional              U.S. Government Accountability Office, 441 G Street NW, Room 7125,
Relations                  Washington, DC 20548

                           Chuck Young, Managing Director, youngc1@gao.gov, (202) 512-4800
Public Affairs             U.S. Government Accountability Office, 441 G Street NW, Room 7149
                           Washington, DC 20548

                           Stephen J. Sanford, Acting Managing Director, spel@gao.gov, (202) 512-4707
Strategic Planning and     U.S. Government Accountability Office, 441 G Street NW, Room 7814,
External Liaison           Washington, DC 20548




                               Please Print on Recycled Paper.
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 103 of 123




                          Exhibit F
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 104 of 123




      A Primer on the Basic Allowance for Housing (BAH)
                 for the Uniformed Services




The purpose of this Basic Allowance for Housing (BAH) primer is to explain to members how their
housing allowances are determined. We have sought to write for a broad audience and to cover
the entire process. We have focused on what we believe to be the most important aspects of the
program based on feedback obtained from service members and housing office professionals
during our visits to installations throughout the country. We welcome comments on how this
document can be more useful to both members and housing officials.




                                                                                          January 2022
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 105 of 123




Table of Contents

Basic Allowance for Housing .............................................................................................. 1
  1. Purpose and Goal .................................................................................................................1
  2. Design of the Basic Allowance for Housing Program ...........................................................1
  3. Individual Rate Protection ....................................................................................................1
Data Collection .................................................................................................................. 2
  4. Types of Data Collected ........................................................................................................2
  5. Rental Data Sources & Validation.........................................................................................2
      5.1 Utilities ...........................................................................................................................3
      5.2 Quality Assurance ..........................................................................................................3
Local Input in the Data Collection Process .......................................................................... 4
  6. Tapping Local Expertise ........................................................................................................4
  7. Typical Data Collection Timeline ..........................................................................................4
  8. Geographically Separated Activities .....................................................................................4
  9. Individual Service Member Input .........................................................................................5
Rate Computations ............................................................................................................ 5
  10. Housing Profiles and Standards ..........................................................................................5
  11. BAH Housing Standards & Interpolation Between Anchor Points .....................................6
  12. Setting the Rates.................................................................................................................6
  13. Absorption…………………………………………………………………………………………………………………….7
Frequently Asked Questions .............................................................................................. 7
  14. Why doesn’t BAH cover all my housing costs, or my mortgage payment? .......................7
  15. How will the out of pocket impact service members? .......................................................8
  16. Why is BAH based on my duty station rather than where I live?.......................................8
  17. Why can I get a bigger or better residence on-base/post? ................................................8
  18. What is the basis for the current definition of my MHA? ..................................................9
  19. What method do you use to calculate BAH in locations that are not in an MHA? ............9
Obtaining More Information .............................................................................................. 10
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 106 of 123
BAH Primer                                                                                January 2022




                                     Basic Allowance for Housing

1. Purpose and Goal
The purpose of the Basic Allowance for Housing (BAH) program is to offset private sector housing
costs for Service members living off-base on the local market economy. Therefore, private sector
rental housing costs are the basis for BAH rates. When government quarters are unavailable, BAH
rates serve as an equitable allowance helping members afford adequate rental housing near their
duty location. The allowance is set based on geographic duty location, pay grade, and dependency
status (whether or not a member has at least one dependent).

2. Design of the Basic Allowance for Housing Program
The Department of Defense and the Services designed the BAH program to reflect the market price
of rental housing rather than member-reported rents. The BAH program measures the cost of
available, adequate rental housing in the local civilian market each year rather than measuring the
housing consumption patterns of Service members. This method ensures BAH rates reflect and
react to annual trends in rental markets, rather than to changes in Service member preferences or
other non-housing related factors.

BAH rates are also based exclusively on rental markets, not home purchase markets. While
members are free to use BAH for mortgage payments, BAH is not intended to track or reflect home
purchase markets as they are distinct markets that fluctuate on a variety of additional factors such
as individual credit history and interest rate changes. While rental and home purchase markets are
correlated, it is not a 1:1 relationship; the two markets may fluctuate at different times, and at
different rates, over a given period.

3. Individual Rate Protection
Individual rate protection prevents a member from receiving a lower BAH rate than the previous
year, as long as the BAH eligibility status of a service member remains unchanged. This ensures that
members who have made long-term commitments in the form of a lease or contract are not
penalized when area housing costs decrease. Service members are entitled to the BAH rates
published 1 January or the amount of housing allowance they received on 31 December, whichever
is larger. Rate protection continues unless the status of a service member changes due to:

      x   Permanent Change of Station (PCS)
      x   Reduction in paygrade
      x   Change in dependency status

BAH distinguishes between with-dependents and without-dependents, not the number of
dependents.

After a service member arrives at a new duty station, rate protection applies. The service member
will receive any published increase, but no decrease, in BAH if their status remains the same.




                                                                                                     1
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 107 of 123
BAH Primer                                                                                January 2022




 The definition of change in status does not include promotions. If a service member is promoted,
and is in a location where the current published BAH rate for the new grade is lower than the BAH
              amount received before, they continue to receive the higher BAH amount.


                                               Data Collection

4. Type of Data Collected
In computing BAH, DoD includes local price data for:
      x rental housing
      x utilities (including electricity, heating fuel, water, & sewer)


We employ a contractor to collect this data annually for approximately 300 military housing areas
(MHAs) in the United States, including Alaska and Hawaii. DoD and the Services define these MHAs
by sets of ZIP Codes. Nation-wide data collection occurs during peak PCS season in the spring and
summer when housing markets are most active. Rental costs are collected for apartments,
townhouses/duplexes, and single-family rental units of varying bedroom sizes. The different types
of units are referred to as “housing profiles” or “anchor points.” DoD uses housing profiles to link
rental costs with particular pay grades. The six standard housing profiles used as anchor points for
BAH are:

                                                     Grade With           Grade Without
                Housing Profile
                                                     Dependents            Dependents
 1 Bedroom Apartment                                                           E-4
 2 Bedroom Apartment                                                           O-1
 2 Bedroom Townhouse/Duplex                              E-5                  O-1E
 3 Bedroom Townhouse/Duplex                              E-6                  O-3E
 3 Bedroom Single Family Detached House                  W-3                   O-6
 4 Bedroom Single Family Detached House                  O-5

5. Rental Data Sources and Validation
Current, valid rental costs are crucial to accurate BAH rates. We use data from a wide variety of
sources to provide a "checks and balances" approach to collecting the BAH data sample. We obtain
current residential vacancies from online multiple listing services (MLS), subscription-based
commercial rental housing datasets, real estate property management companies, and landlords.

We also consult with real estate professionals in each MHA to confirm market rental prices and
obtain additional data. Where available, we also contact fort/post/base housing referral offices and
installation leadership. We tap into local housing office knowledge and gain insights into the
concerns of our members.

Each property used in the annual BAH sample undergoes additional screening and validation
processes. Rental property data submitted from the above sources is confirmed by an independent
housing contractor. The contractor validates the data by:
     x Establishing the availability and location of each unit in the survey sample
     x Verifying the current rental rates


                                                                                                     2
         Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 108 of 123
BAH Primer                                                                                    January 2022



     x   Identifying any utility inclusions in the rental rates
     x   Determining if discounts are available when signing a year’s lease

To ensure BAH rates do not reflect the cost of housing unavailable to, or inadequate for, Service
members, BAH does not collect prices for the following types of housing units:
     x Mobile homes
     x Efficiency apartments
     x Furnished units
     x Income-subsidized complexes
     x Age-restricted facilities
     x Seasonal units
     x Housing in high-crime neighborhoods


The target goal of the BAH program is to gather enough data to attain a 95% statistical confidence
that the estimated median rent is within 10% of the true median rent in the local market. This
typically represents about 30 to 75 sample housing units per anchor point in each MHA. The
majority of MHAs meet this target goal. However, in remote or low-housing stock MHAs that have
few available rental properties, the number of housing units collected for the sample will be
correspondingly lower.

In these cases, the DoD uses a number of methods to determine accurate BAH rates, including the
adoption of rent estimates (e.g., asking local landlords to price seasonal rental units as if their units
were available year round) and using housing cost trends throughout the MHA to estimate the cost
of a specific housing type (e.g., estimating the cost of 2-bedroom apartments using cost data for
1-bedroom apartments and 2-bedroom townhomes).

This enhanced process ensures data is collected in a consistent manner across the entire United
States, while allowing for greater flexibility in responding to the unique challenges of remote or
otherwise challenging markets.

   5.1 Utilities
The Bureau of the Census conducts an annual American Community Survey (ACS). DoD uses data
from the ACS to determine average expenditures for utilities specific to each dwelling type in each
MHA. All data is sensitive to local housing conditions, geography, and climate.

   5.2 Quality Assurance
We recognize the importance of accurate rates and optimize effort to obtain maximum reliability at
each step of the BAH data collection and rate-setting process.

For example, we use a multi-tiered screening process when selecting specific units for the BAH
sample.
    x  We ensure each unit is adequate (meets building code safety standards, is in good repair,
       etc…) and is geographically distributed in approximately the same manner as the local
       population.
    x  We exclude the BAH contractor from collecting data in high-crime areas so BAH rates reflect
       the cost to live in safe neighborhoods.

                                                                                                         3
        Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 109 of 123
BAH Primer                                                                                 January 2022



    x   We use an income screening process to identify appropriate neighborhoods and eliminate
        locations where the typical civilian income is not comparable to members’ incomes. Civilian
        salary equivalents are compared to each pay grade’s Regular Military Compensation, which
        consists of basic pay, average BAH, Basic Allowance for Subsistence (BAS), and the tax
        advantage that comes with BAH and BAS being untaxed.

As another quality assurance step, DoD and the Services conduct on-site evaluations at select
locations. These reviews confirm the reliability and accuracy of the rental data. During these visits,
we also evaluate the criteria used for screening neighborhoods and areas.

                            Local Input in the Data Collection Process

6. Tapping Local Expertise
DoD and the Services value local expertise in the data collection process. We contact the local
military housing office (MHO) and command leadership at each installation to provide them the
opportunity to contribute to the BAH data collection effort.

Housing referral offices and installation leadership have the opportunity to:
    x Provide local rental housing referrals
    x Review and, if necessary, flag any rental properties collected by the contractor deemed
       unsuitable for inclusion

7. Typical Data Collection and Rate-setting Timeline




8. Geographically Separated Activities
In some instances, a geographically isolated command (such as a recruiting office or a Military
Entrance Processing Station in a remote location) does not have a housing referral office. If located
within an MHA, these remote offices may submit data on their own behalf during the data
collection process. They may also collaborate with the closest MHO. However, they should request
approval to do so through their chain of command to Service headquarters. Final approval is
obtained from each Service’s Military Compensation office. (Refer to the Obtaining More
Information section for contact information.)



                                                                                                      4
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 110 of 123
BAH Primer                                                                                 January 2022



9. Individual Service Member Input
The BAH process does not require input from individual service members. Service members with
questions or issues regarding BAH rates should submit questions to their MHO or through their
chain of command to their Service compensation representative. Housing offices are the best
resources for BAH questions. They can provide information quickly and efficiently, as well as
escalate questions to the appropriate representatives.

                                          Rate Computations

10. Housing Profiles and Standards
DoD uses housing standards that allow members a BAH that correlates to what civilians who earn
comparable amounts typically pay for housing. That is, we use housing standards to link housing
costs with a particular paygrade. The standards are necessary to enable the Services to forecast
BAH costs for budgeting purposes; however members are free to choose where to live and in what
type of dwelling.

DoD determines standard profiles for each anchor point as shown below. For these anchor point
pay grades, the local median housing cost of that profile is the local median housing cost for the
particular pay grade. Local median costs for other pay grades, that are not anchor points, are
determined by interpolating (or ‘filling in’) between the anchor points. The standards for E-4
personnel (both with and without dependents) are the minimum and apply to grades E-1 to E-3. To
interpolate rates for non-anchor pay grades, we calculate the difference between anchors and add
a percentage of that difference to the lower anchor rate.

For example: From the housing standards table, we can determine that an E-7 with dependents
should receive an allowance for a three-bedroom townhouse, plus 36% of the difference between
the next lowest profile, a 3 bedroom townhouse (TH), and the next higher, a 3-bedroom single
family dwelling (SFD). To calculate the BAH for an E-7 with dependents, we first identify the rate for
the neighboring anchor points: the E-6 with dependents and the W-3 with dependents. Second, we
calculate the dollar difference between the two anchor points. Next, we apply the specified
percentage to the lower anchor point to determine the dollar difference, which we add to the lower
anchor point.

 Description                                                          Formula             Example
 E-6 with dependents local housing cost (3br TH):                        A                  1000
 W-3 with dependents local housing cost (3br SFD):                       B                  1200
 Difference:                                                          C: B – A        1200 - 1000 = 200
 36% of that difference:                                              D: C x %         200 x .36 = 72
 E-7 with dependents interpolation:                                    A+D            1000 + 72 = 1072

Effective 1 January 2008, the Quadrennial Review of Military Compensation recommended that the
Without Dependent rate be at least 75% of the With Dependent rate. The Without Dependent rate
may be higher than the floor percentage for any given pay grade and MHA, and the floor
percentage increment does not imply a mandatory percentage increase in all Without Dependent
rates each year.
                                                                                                      5
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 111 of 123
BAH Primer                                                                               January 2022



11. BAH Housing Standards & Interpolation between Anchor Points
                                                                                 Calculate local cost
                             Calculate local cost                                difference between
                             difference between                                  anchors. Add % of
   With Dependents                 anchors.            Without Dependents            difference to
                             Add % of difference                                  anchor. Raise to
                                  to anchor.                                      With rate floor if
                                                                                         lower.
               Housing                                               Housing
   Grade                      BAH Interpolation        Grade                      BAH Interpolation
                 Type                                                  Type
    E-1           2br                                   E-1          1br APT         Same as E-4
    E-2           2br        Midpoint of 2br APT        E-2          1br APT         Same as E-4
    E-3           2br            and 2br TH             E-3          1br APT         Same as E-4
    E-4           2br                                   E-4          1br APT           Anchor
    E-5         2br TH             Anchor               E-5          1br APT            67%
    O-1         2br TH              11%                 O-1          2br APT           Anchor
    O-2         2br TH              98%                 E-6          2br APT             7%
    E-6         3br TH             Anchor               W-1          2br APT            31%
    W-1         3br TH               1%                 E-7          2br APT            53%
    E-7         3br TH              36%                 O-2          2br APT            83%
    O-1E        3br TH              44%                 O-1E          2br TH           Anchor
    W-2         3br TH              52%                 W-2           2br TH            19%
    E-8         3br TH              75%                 E-8           2br TH            20%
    O-2E        3br TH              93%                 O-2E          2br TH            44%
    O-3         3br TH              98%                 E-9           2br TH            51%
    W-3        3br SFD             Anchor               W-3           2br TH            54%
    E-9        3br SFD              16%                 O-3           2br TH            64%
    W-4        3br SFD              22%                 O-3E          3br TH           Anchor
    O-3E       3br SFD              26%                 W-4           3br TH             9%
    W-5        3br SFD              48%                 O-4           3br TH            40%
    O-4        3br SFD              58%                 W-5           3br TH            45%
    O-5        4br SFD             Anchor               O-5           3br TH            63%
    O-6        4br SFD               1%                 O-6          3br SFD           Anchor
    O-7        4br SFD               2%                 O-7          3br SFD             2%
* APT – Apartment; TH – Townhouse/Duplex; SFD – Single Family Dwelling

12. Setting the Rates
After rental and utility data are collected and median housing costs are calculated, DoD and the
Services:
x   Review the local median housing costs for each MHA
x   Evaluate MHA and profile-specific utility data
x   Prescribe BAH rates based on data input and DoD housing standards policy




                                                                                                    6
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 112 of 123
BAH Primer                                                                               January 2022



To calculate BAH rates, we:
     1) Determine the total housing costs (median rent + average utilities) for each MHA for all the
        anchor points.
     2) Calculate (using the Housing Standards table above) a separate BAH rate for each of twenty-
        seven distinct pay grades that correspond to military ranks for members with and without
        dependents.

13. Absorption
In an effort to continue balancing the growth in compensation costs, the BAH program incorporated
a change in BAH rates in 2015.

Based on authority provided in the Fiscal Year 2015 and Fiscal Year 2016 National Defense
Authorization Acts, a member cost-sharing element (out-of-pocket expense) of one percent was
introduced into the BAH rates in 2015. This out-of-pocket expense increased by one percent
annually until it was capped at 5%. Out-of-pocket expenses were 2% in 2016, 3% in 2017, 4% in
2018 and have been consistent at 5% since 2019 (including in 2022). The out-of-pocket is
administered using an absorption rate, which is computed to ensure members of a similar pay
grade/dependency status pay the same amount out-of-pocket regardless of their location.
However, depending on members’ actual housing choices, they may or may not actually have to pay
out of pocket for their housing. (Refer to the Frequently Asked Questions section for more
information on the implementation of these changes.)

DoD is committed to the preservation of a compensation and benefit structure that provides
members with a suitable and secure standard of living to sustain a trained, experienced, and ready
force now and in the future.

                                   Frequently Asked Questions

14. Why doesn’t BAH cover all my housing costs, or my mortgage payment?
One of the common misconceptions regarding BAH is that it is intended to cover all of a service
member’s housing costs. The original BAH law stated that the allowance could cover no more than
80% of calculated housing costs. Accordingly, the average service member had at least 20% of out-
of-pocket expenses subtracted from their allowance calculation. In 2000, the Secretary of Defense
committed to reducing the planned average out-of-pocket expense for the median member to zero
by 2005. In 2015, the planned out-of-pocket expense was reintroduced at a rate of 1% of national
average costs per grade. In 2022, it is 5%.

As previously noted, the actual out-of-pocket expense for an individual may be higher or lower than
the typical, based on his/her actual choice of housing. For example, if a service member chooses a
bigger or more costly residence than the median, he or she will have larger out-of-pocket expenses.
The opposite is true if a service member chooses to occupy a smaller or less costly residence. Only
for the member with median costs do we say that the out-of-pocket expense is the same for a given
pay grade and dependency status in any location in the United States.




                                                                                                     7
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 113 of 123
BAH Primer                                                                                January 2022



By design, BAH does not consider mortgage costs. Homeowners' monthly mortgage payments do
not necessarily relate directly to rent, so we do not use them in the calculations. Mortgage
payments are affected by:
x   Expected appreciation in the value of the residence
x   Amount of down payment
x   Opportunity costs of interest from down payments
x   Settlement costs
x   Tax savings due to the deduction of interest payments

In contrast, BAH reflects current rental market conditions, not the historical circumstances
surrounding existing mortgage loans.

15. How will the out of pocket impact service members?
The actual impact of the changes to BAH computations will vary depending on a member’s housing
choices. Members who rent a median-priced property will have to pay a small amount above their
BAH rate. Members who choose to economize in their housing choices may have all their housing
expenses covered by BAH. Some members, renting properties above the median price for the area,
have already been paying some housing costs out of pocket.

16. Why is BAH based on my duty station rather than where I live?
BAH compensates members for typical housing costs surrounding their duty station. Once the duty
station is known, the BAH is fixed, regardless of where the member chooses to live. If the location
of the member's residence were used as a basis for the entitlement, members who commute from
lower cost areas would have lower BAH rates, even though their commuting expenses were higher.
The BAH rate is determined by the duty station so that members may live near their duty location,
but they remain free to live where they choose. Actual member choices, remember, do not
influence the calculation of rates.

The opportunity for service members to choose their off-base housing is important to DoD. Each
member has the freedom to decide how to allocate his or her income (including the housing
allowance) without a penalty for deciding to conserve some dollars on rent to pay other expenses.

One such choice that members frequently make is to “trade-off” a longer commute to work for
either a larger or less expensive house in an outlying area. For example, two members assigned to
a downtown duty station may make drastically different housing choices. One member may choose
to use all of his or her housing allowance to rent an apartment in the city, with a commute time of
only 10 minutes to the downtown duty station. The second member might prefer to rent a less
expensive three-bedroom house in an outlying neighborhood and commute to that same
downtown duty station from 20 or 30 miles away. Both members are free to choose the situation
that best suits them.

17. Why can I get a bigger or better residence on-base/post?
Two reasons. First, government housing (especially privatized housing) often surpasses typical local
community housing in quality and size. Second, family size is the basis for on-base housing
assignment. That is, Services house families with more dependents in units with enough bedrooms
to meet their family needs. The BAH approach is based on comparing a member’s compensation

                                                                                                     8
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 114 of 123
BAH Primer                                                                                      January 2022



with that of civilians who earn the same. Members at higher grades receive BAH based on more
bedrooms and larger dwelling types. The only distinction is with or without dependents, not the
number of dependents.

18. What is the basis for the current definition of my MHA?
MHAs were originally defined using the Defense Enrollment Eligibility Reporting System (DEERS)
data. DEERS data provided information on where members at each installation were living. This
created a data set that naturally excluded undesirable neighborhoods, which members had already
avoided. However, DoD and the Services realize that populations, neighborhoods, and housing
conditions can change over time. Periodic re-examining of MHA boundaries is an important and on-
going part of the BAH process.

19. What method do you use to calculate BAH in locations that are not in an MHA?
BAH is defined for every location in the United States, even though some locations may have no
military population, because we must be prepared to pay BAH in case a member or dependent ever
establishes eligibility in that location. Collecting rental data for all such locations is not practical. To
handle these situations, we combine these areas with other MHAs of similar cost for which we have
sufficient rental cost data. Pooling the data in this manner gives us sufficient data to establish
statistically reliable housing costs and BAH rates.

We determine comparable housing costs using Fair Market Rents published annually for all counties
by the Department of Housing and Urban Development. After grouping or pooling the data, the
result is a set of counties with comparable housing costs and BAH rates called a County Cost Group
(CCG). There are 39 CCGs. We then calculate average housing costs by size and type of dwelling for
each CCG using the BAH rates associated with MHA-based counties in each group. Although half
the U.S. counties (about 1,500) are in CCGs, these counties contain less than 2 percent of military
members eligible to receive BAH.




                                                                                                           9
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 115 of 123
BAH Primer                                                                            January 2022



                                  Obtaining More Information

For an overview of BAH, visit https://www.defensetravel.dod.mil/site/bah.cfm. You can look up
individual rates using the BAH Calculator and review additional Frequently Asked Questions
regarding the program.

To review the BAH regulations, refer to the DoD Financial Management Regulation, Volume 7A,
Chapter 26 at https://comptroller.defense.gov/Portals/45/documents/fmr/Volume_07a.pdf.

To review the BAH Law, refer to Title 37 USC § 403 at http://uscode.house.gov.

For issues regarding your BAH, contact your Service Compensation Representative THROUGH YOUR
CHAIN OF COMMAND:




                                                                                                10
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 116 of 123




                         Exhibit G
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 117 of 123




 DoD Releases 2022 Basic Allowance for Housing Rates
The Department of Defense has released the 2022 Basic Allowance for Housing rates. Basic Allowance
for Housing rates will increase an average of 5.1 percent when the new rates take effect on
January 1, 2022. An estimated $25.6 billion will be paid to approximately one million Service members.
The temporarily increased BAH rates DoD authorized effective October 1, 2021 for 56 military housing
areas across the country will expire on December 31, 2021 and will be replaced by the 2022 BAH rates.

The 2022 Basic Allowance for Housing rates, as part of a robust military compensation package, continue
the member cost-sharing element at five percent of the national average housing cost by pay grade.
These amounts Housing rates vary by grade and dependency status and range from $74 to $168 monthly
for the 2022 rates. Even with this cost-sharing element, the overall military pay and benefits package
remains competitive and healthy.

The Department collects rental housing cost data annually for approximately 300 military housing areas
in the United States, including Alaska and Hawaii. An important part of the Basic Allowance for Housing
rate setting process is cooperation from the Services and local military housing offices in the data
collection effort. Local commands provide input, which is used to determine neighborhoods and
locations where data is collected.

Median current market rent and average utilities (including electricity, heat, and water/sewer) comprise
the total housing cost for each military housing area and are included in the Basic Allowance for Housing
computation. Total housing costs are developed for six housing profiles (based on dwelling type and
number of bedrooms) in each military housing area. Basic Allowance for Housing rates are then
calculated for each pay grade, both with and without dependents.

An integral part of the Basic Allowance for Housing program is the provision of individual rate protection
to all members. No matter what happens to measured housing costs – including the out-of-pocket
expense adjustment – an individual member who maintains uninterrupted Basic Allowance for Housing
eligibility in a given location will not see his/her Basic Allowance for Housing rate decrease. This ensures
that members who have made long-term commitments in the form of a lease or contract are not
penalized if the area's housing costs decrease.

The Department is committed to the preservation of a compensation and benefit structure that provides
members with an adequate standard of living to sustain a trained, experienced, and ready force now and
in the future.

For more information on the Basic Allowance for Housing, including the 2022 Basic Allowance for Housing
rates and 2022 Basic Allowance for Housing rate component breakdown, visit
https://www.defensetravel.dod.mil/site/bah.cfm. Service members can calculate their BAH payment by
using the Basic Allowance for Housing calculator at: http://www.defensetravel.dod.mil/site/bahCalc.cfm.
Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 118 of 123




                         Exhibit H
         Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 119 of 123


                                 2022 BAH Frequently Asked Questions

1. Why are average overall rates increasing this year?

    No one factor is responsible for the average increase in Basic Allowance for Housing (BAH) rates. BAH
    rates are based on local costs for rent and utilities for various housing types. Any fluctuation of one or
    more of these factors in a given location will affect BAH rates for that location. Because BAH rates are
    set for every zip code in the United States, average overall changes in BAH rates simply reflect a general
    trend. However, housing rate changes between different metropolitan areas can differ substantially.

2. How many BAH recipients will see a decrease in their BAH rates because median rents in their area
   decreased?

    Average BAH rates will decrease for 12 percent of military housing areas (MHA) across the country (37
    MHAs). However, the large majority of Service members already stationed in those locations will not
    see a decrease in their monthly BAH payment. No matter the change to measured housing costs,
    individual members already assigned and living in a given location will not see a BAH rate decrease, if
    they do not experience a change in dependency status or a reduction in pay grade. Individual rate
    protection ensures members who have made long-term commitments in the form of a lease or
    contract are not penalized if the area's housing costs decrease. It is primarily those members who are
    relocating to an area who will receive the new, lower rate, but they also have the ability to pursue
    housing commensurate with their BAH rate.

3. How do national housing statistics compare to the average increase in BAH?

    BAH data collection areas are specifically defined for Service members by the Department of Defense,
    and are based on the available housing in geographic areas surrounding major military installations. As
    such, these areas vary greatly from metropolitan and local statistical areas defined by other
    government and commercial organizations. Additionally, the BAH program is designed by law to
    compensate members for “adequate” housing in their local community. This means housing in high
    crime areas or restricted housing where Service members cannot live (e.g., student, retirement,
    subsidized housing) is excluded from the BAH program housing data sample. For these reasons, it is
    not practical to compare average changes in BAH rates with local or national statistics on rental housing
    costs.

4. What areas experienced the largest BAH rate increases?

    Based on an unweighted average of BAH rates for each pay grade and dependency status in each MHA,
    the locations with the largest increases are:

Largest Increases
                                                                            2022       2021       2020
                                                                BAH
     MHA                    Location              % Change                 Average    Average    Average
                                                             Population
                                                                            BAH        BAH        BAH
 CA032          TWENTY NINE PALMS MCB, CA           21%      4,084        $1,698     $1,402     $1,078
 WA310          SPOKANE, WA                         21%      3,473        $1,921     $1,589     $1,433
 ID084          BOISE, ID                           20%       737         $1,917     $1,595     $1,353
 ID086          MOUNTAIN HOME AFB, ID               20%      3,004        $1,997     $1,664     $1,415
 CA033          BEALE AFB, CA                       20%      3,901        $2,661     $2,221     $2,017
 FL056          EGLIN AFB, FL                       19%      44,308       $2,182     $1,828     $1,614
 CA393          BRIDGEPORT, CA                      16%       173         $2,034     $1,756     $1,440
 FL423          FORT PIERCE, FL                     15%       138         $2,114     $1,831     $1,691
 CA034          SACRAMENTO, CA                      15%       958         $2,662     $2,316     $2,165
       Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 120 of 123


 CA041          RIVERSIDE, CA                           15%        1,371        $2,615        $2,277     $2,132



    $3,000

    $2,500

    $2,000

    $1,500

    $1,000

      $500

          $0
                CA032    WA310       ID084    ID086     CA033      FL056       CA393        FL423   CA034      CA041

                          2022 Average BAH           2021 Average BAH           2020 Average BAH


    Based on an unweighted average of BAH rates for each pay grade and dependency status in each MHA,
    the locations with the largest decreases are:

Largest Decreases
                                                                                   2022         2021         2020
                                                           %         BAH
    MHA                         Location                                          Average      Average      Average
                                                         Change   Population
                                                                                   BAH          BAH          BAH
 HI409         HAWAII COUNTY, HI                         -10%       58           $2,066       $2,301     $2,409
 CA044         SANTA CLARA COUNTY, CA                    -10%       952          $4,070       $4,531     $4,427
 IL089         ROCK ISLAND, IL                           -9%        458          $1,648       $1,817     $1,746
 LA117         SHREVEPORT/BARKSDALE AFB, LA              -8%       4,714         $1,499       $1,634     $1,597
 NY222         ROME/GRIFFISS AFB, NY                     -7%        376          $1,741       $1,872     $1,782
 TX273         BEAUMONT, TX                              -5%        232          $1,556       $1,642     $1,679
 OH227         AKRON, OH                                 -5%        349          $1,501       $1,590     $1,506
 TX277         DALLAS, TX                                -5%       1,535         $2,102       $2,231     $2,245
 GA071         ATLANTA, GA                               -5%       3,018         $2,185       $2,292     $2,305
 CA027         MARIN/SONOMA, CA                          -4%        581          $3,414       $3,564     $3,428


  $5,000

  $4,000

  $3,000

  $2,000

  $1,000

      $0
               HI409    CA044      IL089     LA117     NY222      TX273    OH227         TX277      GA071     CA027

                         2022 Average BAH        2021 Average BAH              2020 Average BAH
          Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 121 of 123



5. What are the areas with the highest BAH rates?

   Based on an unweighted average of BAH rates for each MHA, the locations with the highest average
   rates are:

Highest Average BAH Rates (MHAs with BAH populations greater than 800)
                                                   Average BAH rate
     MHA                    Location               (with and without
                                                     dependents)
 CA019          SAN FRANCISCO, CA                      $4,852
 CA044          SANTA CLARA COUNTY, CA                 $4,070
 NY218          LONG ISLAND, NY                        $4,047
 FL069          FLORIDA KEYS, FL                       $3,537
 CA018          OAKLAND, CA                            $3,425
 MA120          BOSTON, MA                             $3,408
 CA037          LOS ANGELES, CA                        $3,401
 CA039          MONTEREY, CA                           $3,255
 MA377          HANSCOM AFB, MA                        $3,248
 HI408          HONOLULU COUNTY, HI                    $3,075

 $6,000

 $5,000

 $4,000

 $3,000

 $2,000

 $1,000

     $0




6. Explain the Basic Allowance for Housing legislative proposal approved in the Fiscal Year 2015 and
   2016 National Defense Authorization Acts?

    The 2015 National Defense Authorization Act (NDAA) included a change to the Basic Allowance for
    Housing program that allows the Department to reintroduce an out-of-pocket component (member
    cost-sharing), not to exceed one percent of national average housing costs by grade. The 2016 NDAA
    expands the cost-sharing amount by one percent each year until it reached a maximum of five percent,
    in 2019. For 2022, the authorized out-of-pocket amount remains at five percent of national average
    housing costs by grade.

7. Why did DoD decide to reduce the rate of growth of the Housing Allowance?
      Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 122 of 123



   The DoD faces significant budget challenges given the implications of the Budget Control Act (also
   known as sequestration). The one-third of the defense budget consumed by military personnel and
   health care costs must be considered in determining how savings could be gleaned. Mindful of this
   context, the Department requested authorization to slow annual BAH growth by reintroducing a
   member cost-sharing element from the housing rate calculation. Even with these modest adjustments
   to the computation method for setting BAH rates, members will still have sufficient means to obtain
   suitable housing.

8. Has an out-of-pocket ever been used in the Basic Allowance for Housing program?

   An out-of-pocket amount was incorporated early in the Basic Allowance for Housing program to limit
   Basic Allowance for Housing rates to a defined budget. These out-of-pocket costs were reduced from
   nearly 20% in 2000 to elimination in 2005.

9. What is the cost-sharing amount and how will it be administered?

   For 2022, a typical member will need to absorb five percent of the national average housing costs. The
   cost-sharing will be administered by using an absorption rate. An absorption rate is a defined
   percentage computed so that similar pay grades in every military housing area have a Basic Allowance
   for Housing rate set at the same dollar amount below the median cost. This ensures members of the
   same pay grade/dependency status pay a similar amount out-of-pocket regardless of their location;
   however, depending on members’ actual housing choices, they may or may not actually have to pay
   out-of-pocket for their housing.

10. How will the cost-sharing (out-of-pocket) impact service members?

   The cost-sharing amounts incorporated in the 2022 BAH rates vary by grade and dependency status
   and range from $74 to $168 monthly. The higher-than-average increase in BAH rates (5% average
   increase across all 300 MHAs) for the 2022 rates means BAH rate levels are now substantially higher, on
   average, than in 2021. As such, the 5% BAH cost sharing dollar amount increased from a range of $70-
   $158 in 2021 to the current range. The absorption percentage did not change.

   The actual member impact of the changes to Basic Allowance for Housing computations will vary
   depending on a member’s housing choices. Members who rent a median-priced property will have to
   pay a small amount above their Basic Allowance for Housing rate. Members who choose to economize
   in their housing choices may have all their housing expenses covered by Basic Allowance for Housing.
   Some members, renting properties above the median price for the area, have already been paying
   some housing costs out of pocket.

11. Does rate protection apply with these methodology changes?

   Yes, members currently receiving the Basic Allowance for Housing for a location will be rate protected
   at the previous year’s Basic Allowance for Housing rate (if higher). If BAH rates decrease (whether due
   to the expansion of the member cost-sharing element, declining rental/utility prices in the area, or any
   combination), members already receiving Basic Allowance for Housing for the area will be rate
   protected at the previous year’s Basic Allowance for Housing rate.

   No matter what happens to measured housing costs, an individual member already assigned and living
   in a given location will not see his/her BAH rate decrease as long as he/she does not have a reduction in
   pay grade or change in dependency status. This ensures members who have made long-term
   Case 1:22-cv-00345-MBH Document 31 Filed 11/18/22 Page 123 of 123


commitments in the form of a lease or contract are not penalized if the area's housing costs decrease.
It is primarily members who are relocating to an area who will receive the new BAH rate.
